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  1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
  2                           WEST PALM BEACH DIVISION
                             CASE NO. 9:18-cv-80176-BB
  3
       IRA KLEIMAN, as the personal representative
  4    of the Estate of David Kleiman, and W&K Info
       Defense Research, LLC,
  5
                   Plaintiffs,                                       November 2, 2021
  6                                                                  9:59 a.m.
                  vs.
  7
       CRAIG WRIGHT,
  8
                 Defendant.                    Pages 1 THROUGH 197
  9    ______________________________________________________________
                          TRANSCRIPT OF TRIAL DAY 2
10                     BEFORE THE HONORABLE BETH BLOOM
                        UNITED STATES DISTRICT JUDGE
11                            And a Jury of 10

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  1         (Call to order of the Court, 9:59 a.m.)

  2         (Jury not present.)

  3               THE COURT:    Go ahead and have a seat.

  4               I hope everyone is well this morning.                      Ready to get

  5    back to work?

  6               Do we have Mr. Antonopoulos?

  7               MR. ROCHE:    We do, Your Honor.

  8               THE COURT:    Sir, if you'll come over here, sir.                   We

  9    are waiting for one more juror.

10                Is there anything we need to take up before we

11     proceed?

12                MR. ROCHE:    Nothing from Plaintiffs.

13                MR. RIVERO:    Nothing from the Defense, Your Honor.

14                THE COURT:    I do wish to advise the parties that

15     Docket Entry 759 has been filed.                  It's a non-party motion, but

16     I'm waiting for sealed filings before we can address it.

17                With regard to this afternoon, or I'm assuming this

18     afternoon with Mr. Antonopoulos on the stand now, can you

19     advise, Mr. Roche, the lineup of the witnesses for the day?

20                MR. BRENNER:     Your Honor, just for Your Honor's

21     information, we have an agreement between counsel that we've

22     been notifying each other -- I call it 36 hours, but

23     essentially the night before the day before, so Sunday night

24     would be Tuesday's witnesses.

25                We have informed counsel -- and for live witnesses,

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  1    we've all agreed that we'll fit in videos where we can, time

  2    permitting, so our next live witness is Patrick Paige.

  3               THE COURT:    And will that witness take us through the

  4    day?

  5               MR. BRENNER:     With videos, I believe so.                   The wild

  6    card.    And obviously, they're going to do what they're going to

  7    do.    We don't know the cross of Antonopoulos, so we'll just see

  8    where it is.     But right now, assuming that Mr. Antonopoulos

  9    goes to lunch, I think that the two videos and Patrick Paige

10     will take us through the day.

11                MR. RIVERO:    And Judge, if I can very briefly comment.

12     I really appreciate that we have a gentlemen's agreement and

13     Mr. Brenner has been informing either Amanda McGovern or me,

14     and it's been working well so far.

15                THE COURT:    All right.             What I would like to avoid is

16     taking time away from the jury.                 So to the extent that you are

17     aware that a witness or witnesses will be testifying on the

18     next day and there's an issue with regard to a particular

19     document or a portion of the testimony that we have not already

20     addressed that needs to be addressed, I don't want to take time

21     sidebar when we can take care of it in the morning.

22                As you know, we're accommodating the Court's schedule,

23     but I want to further accommodate your schedule and we can

24     certainly address those issues in the morning at 9:30, 9:45 so

25     that at 10:00 we're ready to proceed.                       All right?

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  1               MR. BRENNER:     Understood.

  2               THE COURT:    Are there any other issues to address?                 We

  3    do have all the jurors present.

  4               On behalf of the Plaintiffs?

  5               MR. BRENNER:     Nothing, your Honor.

  6               MR. RIVERO:    Your Honor, I don't believe so.                  But may

  7    I have one moment to confirm?

  8               THE COURT:    Yes.       Of course.              And just for

  9    housekeeping, I do want to let you know the courtroom deputy

10     did provide the jurors with the written schedule so they're

11     aware of the schedule moving forward.

12                MR. BRENNER:     Thank you.

13                MR. RIVERO:    No, ma'am.

14                THE COURT:    All right.             Let's bring in the jury.

15          (Before the Jury, 10:03 a.m.)

16                THE COURT:    Hi.      Good morning, Ladies and Gentlemen.

17     Please be seated.      It's good to see each of you.                  Thank you for

18     being so prompt.

19                I know that my courtroom deputy did provide you with

20     the written schedule for this month.                      Moving forward, that will

21     be the schedule.

22                I would suggest, as you did this morning, to make your

23     way here and be in the jury room by 9:45 so we can start

24     precisely at 10:00.

25                Now, moving forward, I want you to be as comfortable

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  1    as possible.     As you can see, I have water and I have coffee

  2    and tea throughout the day.             Please feel free to bring in a

  3    beverage so that you are comfortable.                       At the same time, we

  4    will also take comfort breaks.                We'll take a comfort break in

  5    the morning and then certainly an hour for lunch and then a

  6    comfort break in the afternoon at the appropriate time, given

  7    the witness's testimony.

  8         Now, we all are different individuals and to the extent

  9    that you need a comfort break before that time, all you need to

10     do is just raise your hand, let me know, and we'll all take a

11     break just to accommodate each of you.                        So welcome, once again.

12          As you recall yesterday, Andreas Antonopoulos was beginning

13     his direct testimony.

14          Mr. Antonopoulos, let me remind you that you were

15     previously placed under oath.

16          As well, let me advise those of you in the gallery, as well

17     as the attorneys who know, and Mr. Antonopoulos knows, that we

18     are following CDC guidelines.               So regardless of your

19     vaccination status, if you are in the gallery, you must wear

20     your mask at all times.

21          For those in the well, the attorneys and the parties, and

22     the witness, if you are speaking directly to the witness, you

23     may certainly -- if you are fully vaccinated and you feel

24     comfortable, you are permitted to take your mask off.                       And that

25     also applies to the witness who is providing testimony.

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  1         With that said, we're ready to proceed, Mr. Roche.

  2                MR. ROCHE:   Yvette, are we good today?

  3                All right.

  4                Dorian, can you put up the slide we were looking at

  5    yesterday?     The lockbox slide.

  6                Can everyone see it on their screens?

  7                Andreas, good?

  8                THE WITNESS:     Yes.        Thank you.

  9                MR. ROCHE:   All right.

10                         DIRECT EXAMINATION [CONTINUED]

11     BY MR. ROCHE:

12     Q.   So Mr. Antonopoulos, remember yesterday when we were

13     discussing the -- what happens to somebody's Bitcoin when they

14     share their private key?

15     A.   Yes.

16     Q.   And can you briefly refresh -- what happens when -- if I

17     give out my PIN, my private key, to somebody else?

18     A.   So if you share your private key, you are sharing control,

19     access to the money.       You're sharing access to the money.

20          If there are two copies, then two people can use those

21     copies to access the money independently of each other.                     And

22     they may make more copies.

23          Essentially, it's a shared control situation.                     Unlike a

24     transaction, when Alice constructs a transaction to pay Bob,

25     she is not only giving access to Bob, but by taking it out of

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  1    her own Bitcoin address, she's also removing her own access.

  2         So that is a transfer of control, rather than a sharing of

  3    control.

  4    Q.   And are you familiar with the phrase:                            "Not your keys, not

  5    your coin?"

  6    A.   Yes.

  7    Q.   And can you provide some -- what does that phrase mean?

  8    A.   It's a security quip.          It's a way of reminding people that

  9    control of their funds is all about controlling their keys.

10          Especially, in the early days of Bitcoin, we had some

11     unscrupulous exchanges.         And some of them collapsed, causing a

12     great loss of money for many people.

13          And so when people were depositing money into these

14     exchanges, they no longer controlled these funds.                            They no

15     longer had the keys.      Essentially, the funds were no longer in

16     their lockbox; they were in the exchange's lockbox.                            And as a

17     security mechanism, it's important to remember that in Bitcoin,

18     control over keys is entirely equivalent to control over the

19     money.

20          So "not your keys, not your money" means if you don't

21     control your keys, you don't control your money.

22     Q.   But if two people control keys, then they each have control

23     over those keys and the Bitcoin?

24     A.   Yes.   And you have to absolutely trust the other person.

25     It's the kind of situation where you are directly sharing,

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  1    without any limitation, control over those funds.

  2    Q.   Thank you.

  3               MR. ROCHE:    Dorian, can we go back to the slide we

  4    left off yesterday, the Bitcoin?                  Let's go back to the title

  5    slide.

  6    BY MR. ROCHE:

  7    Q.   So I think we stopped sort of in the middle of our

  8    discussion of mining, so just so we level set, can you

  9    describe -- at the end of yesterday, we discussed Alice and Bob

10     sending each other Bitcoin.

11          How did Satoshi Nakamoto receive their first Bitcoin?

12                MR. RIVERO:    Objection.

13                THE COURT:    And the basis of the objection?

14                MR. RIVERO:    Judge, the predicate, the foundation for

15     that question.

16                THE COURT:    Sustained.

17                Let's rephrase, please.

18     BY MR. ROCHE:

19     Q.   Mr. Antonopoulos, how did the first Bitcoin -- how were

20     they first issued?

21     A.   So Bitcoin is issued -- brand-new Bitcoin is issued in

22     blocks.    So blocks are recorded on the blockchain.                       And within

23     every new block that is recorded, there is new Bitcoin.

24          If you remember, I showed a slide of the first block, Block

25     0, the Genesis Block, which birthed Bitcoin.                          And in there,

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  1     there were 50 Bitcoin issued for the first time.                      And that's

  2     brand-new Bitcoin.

  3               MR. ROCHE:    And Dorian, if we could go to the next

  4     slide, please.

  5     BY MR. ROCHE:

  6     Q.   So does that mean all new blocks -- and we will discuss the

  7     term "block" in a minute -- but do all new blocks have

  8     50 Bitcoin?

  9     A.   They do not.    Bitcoin is issued in a diminishing curve.

 10     Essentially, you have 50 Bitcoin issued every 10 minutes and

 11     every block in the beginning.               And this process continues for

 12     210,000 blocks, approximately four years, because each block is

 13     approximately every 10 minutes.

 14          At the end of this period, every computer on the network

 15     changes its expectation for the very next block, Block 210,001.

 16     And we call this event the halving because the reward is cut in

 17     half.

 18          So it starts at 50, the first 210,000 blocks have 50 each,

 19     and then the next block is 25.                And then that continues for

 20     another era of 210,000 blocks, approximately four years.

 21          So that happened.      From 2009 to 2012, we had the first era,

 22     50 Bitcoin per block.       Then in 2012, we had the first halving.

 23          From 2012 to 2016, we had 25 Bitcoin per block.                    Then we

 24     had another halving.      12 and a half Bitcoin per block until

 25     recently, July 2020.      Then we had the third halving.

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  1          And we are currently in the fourth era.                          If you look at a

  2     block today, you'll see there are 6.25, six and a quarter, new

  3     Bitcoin issued with that with every block in this era.                          And

  4     that will continue until sometime in 2024, but precisely after

  5     another 210,000 blocks, and then we'll cut it again.

  6          It will be halved and every computer on the network will

  7     expect the very next block to have three and an eighth, so

  8     3.125 Bitcoin.

  9          And so on and so forth.

 10               MR. ROCHE:    Dorian, could we go to the next slide,

 11     please.

 12     BY MR. ROCHE:

 13     Q.   Does that mean that at some point no new Bitcoin will be

 14     issued?

 15     A.   That is correct.     If you follow this progression and you

 16     keep cutting it in half every 210,000 blocks, eventually the

 17     last block, which contains a fraction, a tiny, tiny, fraction

 18     of a Bitcoin, in the year approximately 2140, will be mined,

 19     will be issued.

 20          And then the next block, because blocks will continue to

 21     happen -- the next block will contain zero new Bitcoin.                          And

 22     that's it.    All of the Bitcoin that will ever exist will have

 23     been issued.

 24     Q.   And as of today, approximately, how many of the 21 million

 25     Bitcoin have been issued?

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  1     A.   So over 18 million of the total have already been issued.

  2     Q.   And we talked on the previous slide about the halvings.

  3          In that first four-year period, then, in roughly 2012, how

  4     many of the 21 million Bitcoin were issued in those first four

  5     years?

  6     A.   So if you wanted to figure that out, it's a simple

  7     multiplication.     210,000 blocks times 50 Bitcoin per block, 10

  8     and a half million Bitcoin until the moment of the first

  9     halving.     So half, effectively, of all Bitcoin will have been

 10     issued -- were issued by 2012.

 11     Q.   Okay.

 12                 MR. ROCHE:   And Dorian, if we could go to the next

 13     slide.

 14     BY MR. ROCHE:

 15     Q.   We've used this term quite a bit yesterday and this

 16     morning, the term "block."

 17     A.   Yes.

 18     Q.   What is, in the context of Bitcoin, a "block"?

 19     A.   In simple terms, a block is a container of transactions.

 20     And imagine that Alice makes a transaction to pay Bob.                        That

 21     transaction doesn't get recorded immediately.                         We don't record

 22     individual transactions as they come.

 23          Instead, when Alice makes that transaction, that

 24     transaction will be propagated across the Bitcoin network and

 25     then it will sit in a queue waiting to be included in a block.

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  1          So transactions queue up.              And every 10 minutes, a batch of

  2     those transactions is aggregated in this container called a

  3     block.

  4     Q.   And that happens every 10 minutes?

  5     A.   On average, every 10 minutes, yes.

  6     Q.   Is that why it's called the blockchain?

  7     A.   Well, the word "the blockchain" comes from the fact that

  8     there's another part to the block.                     It's not just the container

  9     part.    If you like the top of the block -- it's not actually

 10     the top, but one part of the block is what we call the block

 11     header.    Here it's shown at the top of the box.

 12          And in the block header, there's other information about

 13     the block, a timestamp and some other technical characteristics

 14     of the block.    And something very important.                        There is a

 15     reference inside every block to the block that came before.

 16          We call that block, the one that came before, its parent,

 17     to identify the sequence in which they're issued.

 18          So every block has a reference which is a fingerprint of

 19     its parent in the header.           So Block 1, as you see here, has the

 20     fingerprint of Block 0 in its header as a reference and says:

 21     "That's my parent.     Block 0 is my parent."

 22          Block 2 has a reference in the fingerprint of Block 1.                        So

 23     Block 2 has within it a reference saying Block 1 is my parent.

 24     Block 3 has Block 2's reference, et cetera.

 25          Today, right now, as we speak, we have some 707,000 blocks.

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  1     If you were to take a block that came out just now, and you

  2     looked at that block, you would see a link to its parent, the

  3     previous one.    And then you click on that, you go back one

  4     more.   If you did that 707,000 times, you'd end up at the

  5     Genesis Block, January 3rd, 2009.

  6          And so this reference that is in the header essentially

  7     links the blocks together in an unbroken chain of blocks going

  8     all the way back to the genesis.                  And that's why we call it the

  9     "blockchain."

 10     Q.   So you mentioned that each of these blocks is a

 11     fingerprint.

 12          Is there any relationship between that fingerprint and what

 13     we discussed earlier, the concept of mining new blocks?

 14     A.   Yes.   So the fingerprint of the block serves a number of

 15     different purposes.     We use fingerprints, digital fingerprints,

 16     in Bitcoin to identify and reference things.

 17          So if I have a fingerprint, I can find which block that

 18     refers to, or if I have a fingerprint, which transaction it

 19     refers to.

 20          But the fingerprints that are in the blocks have a special

 21     pattern that -- that shows us that in order to produce that

 22     block, the miner had to do some computation, some work.

 23          So miners are those who produce these blocks and record

 24     them on the blockchain.         And they have to do some work in order

 25     to produce a fingerprint that has a specific pattern.

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  1     Q.   And is it -- so do the miners compete to find that

  2     fingerprint?

  3     A.   They do.   This is another function in the system that is

  4     decentralized.     So anyone can make their computer participate

  5     in this process.     And all they have to do to win this

  6     competition is find a valid solution for that fingerprint

  7     faster than everybody else.

  8          Essentially, it becomes a mini race that happens every 10

  9     minutes.    As soon as a block is recorded, the race begins to

 10     construct and record the next block.                      All of the miners then

 11     take transactions from the queue that is waiting, put them in a

 12     candidate for a new block, and immediately try to compute a

 13     valid fingerprint.

 14          The one who achieves that result first announces it to the

 15     rest of the network.      And their block is recorded on the

 16     blockchain, and they, as a result, win a reward, which is the

 17     newly issued Bitcoin.

 18          And that essentially creates a competition between miners,

 19     which restarts every 10 minutes with every new block.

 20     Q.   So the miners are competing for that newly issued Bitcoin?

 21     A.   Yes.   It's often misunderstood that the purpose of mining

 22     is to create the new Bitcoin.               That's almost like a side

 23     effect.

 24          The purpose of mining is to secure the Bitcoin system.                    So

 25     when miners are engaging in this competition, they're taking

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  1     transactions from the queue, they are putting them in a new

  2     block and they're making sure that everything in that block is

  3     correct.

  4          They check the transaction.                Does Alice have the money?         Is

  5     Alice sending to Bob less than she has or equal?                      Because if

  6     Alice is sending more than she actually has, then money's being

  7     created out of thin air.          That's not good.

  8          Is the block that just came out -- does it have the correct

  9     reward in it?    Say, 6.25 Bitcoin?                 Otherwise, no, it's invalid.

 10          So they check this list of rules.                      This long list of rules

 11     ensure that only valid transactions that get included in valid

 12     blocks actually get recorded on the blockchain.

 13          So what the miners are doing is they're doing security for

 14     the whole system.     And if they do that security right, they

 15     have the chance of winning a reward that is the newly issued

 16     Bitcoin, as well as other transaction fees that may occur.

 17          If they don't do it right, they've used up all of this

 18     electricity to try to find the correct fingerprint.                      They don't

 19     get a reward, but they still have to pay for the electricity,

 20     which acts almost like a punishment.                      So effectively, that

 21     keeps them honest.

 22          So the entire system works on this balance where miners do

 23     security for the chance of getting a reward, but they have to

 24     do a lot of work to do it.            And if they don't do it right, they

 25     essentially still have to pay the electricity.

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  1     Q.   So how is it -- so how does the Bitcoin protocol determine

  2     how difficult it is to mine the new Bitcoin?                           I imagine if more

  3     people are competing, the Bitcoin protocol has to do something

  4     to account for that?

  5     A.   So the way it works is if more people are competing, what

  6     is going to happen is they're going to find solutions faster.

  7          Now, we're trying to have blocks come out on average every

  8     10 minutes.    The miners are running computers to do this.

  9     They're not doing it by hand, of course.                          And if they use more

 10     computers or faster computers, or more miners joined in the

 11     competition, and there are effectively more computers trying to

 12     find the solution for a block, they might do it faster.

 13     They're going to start finding blocks, let's say, every eight

 14     minutes.

 15          And so the system has a dynamic mechanism where after 2016

 16     blocks, which is approximately two weeks, every two weeks, all

 17     of the participant computers in the network look back at the

 18     last 2016 blocks and go:          "Okay.          How fast were we generating

 19     blocks?"    It should be every 10 minutes.                        2016 blocks times 10

 20     minutes, it should take 20,160 minutes from the first to the

 21     last block.    That's how long this should have taken if we were

 22     sticking to 10-minute blocks.

 23          It only took 19,000 minutes.                 So blocks were coming out

 24     faster, every eight minutes, not every 10.                            We will then say

 25     that all of the computers will then set the expectation that

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  1     for the next block, it has to be more difficult.

  2          If the blocks are coming out too fast, that means the

  3     problem is too easy and the problem is changed to be made more

  4     difficult for the next block.

  5          And then we go another two weeks.                      After two weeks, let's

  6     say we look back.     The computers measure the time it took.

  7     Turns out on average we were getting blocks every 12 minutes.

  8          All right.    That means the problem was too difficult or

  9     there were not enough computers trying.                         And all of the

 10     computers will change that parameter to make it 20 percent

 11     easier so that we go back to 10 minutes.

 12          So the standard is 10-minute blocks.                         How many are trying

 13     and how many blocks are being found and how fast, these two

 14     things vary to keep the heartbeat of Bitcoin at 10 minutes.

 15          And that means that the difficulty goes up when more miners

 16     try or put more computers to the problem.                             And the difficulty

 17     goes down when fewer miners are trying or put fewer computers

 18     to the problem.

 19               MR. ROCHE:    Dorian, can we go to the next slide,

 20     please?

 21     BY MR. ROCHE:

 22     Q.   So how has that difficulty changed over time?

 23     A.   Well, this is a chart that shows the first year and a half,

 24     approximately, of Bitcoin mining.                   And we can calculate the

 25     amount of difficulty or the amount of hashing, mining, that is

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  1     going on from the blocks themselves.

  2          And this shows the amount of mining that was going on and,

  3     of course, every two weeks, the difficulty adjusts to reflect

  4     this.    So difficulty and how much mining is happening go hand

  5     in hand every two weeks.

  6          As you can see in the beginning here, all the way up to

  7     January 2010, it doesn't change much.                       It's pretty stable.   And

  8     after that, we start seeing more miners join and participating,

  9     more mining power being applied to solve this problem.

 10          So that's why the chart goes up.

 11     Q.   Does this mean that -- I see a -- prior to January 2010, it

 12     was relatively easy to mine new Bitcoin?

 13     A.   Yes.

 14     Q.   Okay.   And I see the date on this demonstrative is

 15     January 9, 2009 to June 9, 2010.

 16          Did you prepare a demonstrative to show a larger time

 17     frame?

 18     A.   Yes.    I have.

 19                 MR. ROCHE:   Dorian, could we go to the next slide,

 20     please.

 21     BY MR. ROCHE:

 22     Q.   Okay.   So I see this is January 2009 to six years later,

 23     2015.

 24          Why does -- it looks like there's a long flat line and then

 25     a jump right around July 2013.

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  1          What explains that jump?

  2     A.   This chart really shows us a significant change in the way

  3     mining was done, which marks essentially the end of the

  4     hobbyist era and the beginning of the industrial-scale mining

  5     era.

  6          In the beginning of 2013, those who were interested in

  7     mining started designing and manufacturing chips

  8     semiconductors, specifically to do mining.

  9          These are not chips like the ones you have in your computer

 10     that can do many different things: browsing, playing movies,

 11     et cetera.

 12          These chips can only do one thing.                       They can do the hash

 13     function for mining for Bitcoin.                  And because they only do one

 14     thing, they do it much, much faster.                      Thousands of times

 15     faster.   Tens of thousands of times faster.

 16          These were designed in the beginning of 2013.                      They were

 17     manufactured in semiconductor facilities, mostly in China, and

 18     then gradually they started making their way into the hands of

 19     miners who put them to work to try to mine Bitcoin.

 20          And once that happened, the mining power ramped up, as you

 21     can see here, almost like a cliff.                     And this started the new

 22     era of mining, an industrial-scale application of mining, with

 23     highly specialized chips.

 24          We call these chips Application-Specific Integrated

 25     Circuits, or ASICs is the acronym.                     And the era of ASICs

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  1     started in 2013 and you can see the effects in 2014.

  2     Q.   Does this mean that prior to July 2013, roughly when these

  3     ASICs came on to market, it was much easier to mine Bitcoin

  4     than after July 2013?

  5     A.   Yes, much, much easier.            Orders of magnitude.             In fact,

  6     meaning more than 10 times.             A hundred times, a thousand times

  7     easier.

  8          In fact, not only was it easier; it was also more

  9     productive.

 10          May I remind you that until 2012, every time you get a

 11     block, you gain 50 Bitcoin.             So not only are you mining blocks

 12     easier, but the reward is twice as much as you would get after

 13     2012.   And then it also starts getting much harder as these

 14     specialized chips come into market.

 15     Q.   And are you aware when Dave Kleiman passed away?

 16     A.   I'm not precisely.       No.

 17     Q.   If I represented to you that Dave Kleiman passed away

 18     roughly in April 2013, does that mean it was easier prior to

 19     his passing away to mine Bitcoin?

 20     A.   Yes.    And that would be visible on this chart.

 21                 MR. ROCHE:   Dorian, could we go to the next slide,

 22     please.

 23     BY MR. ROCHE:

 24     Q.   Okay.    What are we seeing in this photo?

 25     A.   This is what we call a mining farm.                        And essentially this

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  1     is what mining looks like after 2013 and to this day, more or

  2     less.   Each one of these black boxes that are about a

  3     shoebox-sized black box, all they contain is a power supply, a

  4     connection to the Internet, one of these specialized chips that

  5     just does mining.     And that little silver thing you see in

  6     front is a massive fan sucking air through because these things

  7     get very hot as they use up electricity to do mining.

  8          And so this is the specialized equipment being used today.

  9     These are, as you can see on an industrial scale, thousands of

 10     them, racked up in lines in giant warehouses, hundreds of

 11     warehouses around the world.

 12     Q.   And these devices did not exist prior to July 2013?

 13     A.   They did not.

 14                 MR. ROCHE:   Dorian, could you go to the next slide,

 15     please.

 16     BY MR. ROCHE:

 17     Q.   Prior to 2013, was it possible to mine new Bitcoin from a

 18     normal computer?

 19     A.   Yes.   People used the kind of computer that you would have

 20     in your office or your home.              A desktop PC, the kind of beige

 21     tower that we all grew up familiar with.                          And that's the

 22     computer that was applied for mining starting in 2009.

 23     Q.   And we mentioned -- we were talking earlier yesterday about

 24     Satoshi Nakamoto mining the first block.

 25          Was Satoshi Nakamoto's mining important?

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  1     A.   Yes, we've got to understand that on the launch of this

  2     network, in order for the blockchain to progress, in order for

  3     a block to come out every 10 minutes, the creator or creators,

  4     who use the name Satoshi Nakamoto, would have had to apply

  5     mining power in the absence of other miners -- there's no one

  6     else to do that yet -- in order to progress the chain.

  7          If they didn't, there wouldn't be a block every 10 minutes.

  8     The chain wouldn't move forward.                  So it was absolutely critical

  9     to apply that mining power to keep the chain moving forward.

 10     Q.   We've used this term "mining" a number of times this

 11     morning.

 12          Does mining actually require any physical exertion?

 13     A.   No.   It's an ironic choice of word because the word

 14     "mining" conjures up, you know, a soot-covered face with one of

 15     those little lamps, a pickaxe or some back-breaking manual

 16     effort.

 17          Mining is done by computers.                 There is no physical effort

 18     involved in it.     There's the equipment, the computers, there's

 19     the technical knowledge.          Of course, there's the foresight and

 20     vision you have to have to know that this is going to be worth

 21     something.    But it's not a physical activity that is strenuous

 22     in any way.

 23     Q.   If somebody was paralyzed from the waist down, would it be

 24     difficult for them to participate in the process of Bitcoin

 25     mining?

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  1     A.   No.    Not at all.

  2     Q.   So prior to 2000 -- so once the computer is set up, what

  3     physical exertion is required?                What physical work is needed?

  4     A.   There's no physical work needed.                     Basic computer

  5     maintenance, updating the code every now and then.

  6          You know, operating a Bitcoin computer that participates in

  7     the system doesn't require any physical effort at all.

  8                 MR. ROCHE:    Dorian, could we go to the next slide.

  9     BY MR. ROCHE:

 10     Q.   So we've talked about mining new Bitcoin.

 11          Is there any other way that people can acquire Bitcoin?

 12     A.   Yes.   Absolutely.

 13          One way is to work for it and that's the way I've acquired

 14     some of my Bitcoin, is I get paid in Bitcoin to do my job, to

 15     teach, to go to conferences.              I sell some things on a web shop

 16     for Bitcoin.    So you get paid for your work just like you earn

 17     your dollars; you do your work, you get paid in Bitcoin.

 18          Many people probably wouldn't do it that way because you

 19     have to find someone who wants to pay you in Bitcoin and has

 20     Bitcoin.

 21          So the other way you would acquire Bitcoin is by exchanging

 22     dollars for Bitcoin.      So to give you an analogy:                  You want to

 23     go to France on vacation to visit Disneyland Paris.                        They don't

 24     use dollars there; they use euros.                     How do you get euros?

 25          Well, even at the airport when you show up, there's a

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  1     currency exchange kiosk.          You go, you give them a hundred

  2     dollars, they give you 80 euros or so.                        So they will calculate

  3     an exchange rate, a price in dollars for the euros and give you

  4     the corresponding amount.

  5          Now, those same currency exchanges at the airport, they

  6     won't sell you Bitcoin yet, but many other companies will.                       So

  7     there are specialized companies that act as Bitcoin exchanges

  8     where you can buy and sell Bitcoin for dollars or for any other

  9     national currency in different countries.

 10          And even companies like PayPal, nowadays you can buy

 11     Bitcoin from them in exchange for dollars.

 12     Q.   And how is the price in dollars or some -- another

 13     currency?    How is it determined on each of these individual

 14     exchanges?

 15     A.   The price is determined in the same way that the price is

 16     determined in exchanges for any other market's tradeable good

 17     commodity.    For example, how is the price determined of stocks,

 18     bonds?   How is the price of oil or gold determined?                      Basically,

 19     supply and demand.

 20          At any moment in time, there will be someone who wants to

 21     sell Bitcoin.    There will be someone else who wants to buy

 22     Bitcoin.    When the prices that they want to do these things

 23     match, the two will be matched on an exchange and an exchange

 24     will take place.

 25          So at that moment, that is the price of Bitcoin, the price

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  1     at which supply and demand met.                 But, of course, that changes

  2     with every trade.     It goes up a bit; it goes down a bit.

  3          For the exchange, these trades represent an opportunity to

  4     collect this information and what they'll do is they'll

  5     calculate the average.        And they'll calculate a rolling

  6     average.     So as more trades are happening, they're rolling the

  7     average forward, adding more information to the calculation of

  8     the price.

  9          And they take into account big transactions more than small

 10     transactions.     So if I, let's say, buy 10 Bitcoin, and someone

 11     else only buys one, they're going to count the price at which I

 12     bought 10 Bitcoin 10 times more in the average than the other

 13     transaction.     And that's called a volume-weighted average.

 14          So a rolling volume-weighted average is how the industry

 15     calculates the price.       Every exchange will show you on their

 16     website a current price of Bitcoin, let's say in US dollars.

 17     And as you're looking at it, the numbers are going to flick and

 18     change every second or so as new trades happen and the price is

 19     updated.

 20     Q.   Okay.    So you said there's a number of different exchanges

 21     where you can buy Bitcoin.            You said PayPal and others?

 22     A.   That's correct.

 23     Q.   Does that mean the price on the different exchanges can be

 24     different?

 25     A.   Yes.    Just like the price between someone buying and

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  1     selling Bitcoin now and someone doing it a minute from now may

  2     be different.    Someone buying Bitcoin here, and someone buying

  3     Bitcoin in Japan at the same time or buying Bitcoin in Seattle

  4     at the same time on a different exchange may be different at

  5     that moment.

  6     Q.   So is it possible, then, to determine a single price, then,

  7     for Bitcoin on a given day on a given time?

  8     A.   Yes.   If I may clarify.           While I said the price may differ

  9     between exchanges, I want to clarify to say it doesn't differ

 10     by much.    You're not going to see a very big gap between the

 11     price of Bitcoin on one exchange and another.

 12          And the reason for this is not because they're coordinating

 13     or anything like that.        It's because of market forces.

 14          If I can explain in practical terms, let's say you find an

 15     exchange where Bitcoin is cheap, it's at a lower price, and you

 16     see at another exchange it's expensive.                         You might think:

 17     "Huh.   If I buy Bitcoin at the cheap place and then I move it

 18     and I sell it to the expensive place, I can make the difference

 19     as profit," and that's called arbitrage and it's something that

 20     happens in every market for anything, not just Bitcoin.

 21          And the result of that market process is:                        Well, when you

 22     buy it in the cheap place, that drives the price up a tiny bit

 23     and when you sell it where it's more expensive, you drive it

 24     down.

 25          So, effectively, your profit opportunity moves the prices

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  1     closer together, which is why they can't really go very far

  2     apart.   They stay pretty close because any time there's a gap

  3     that opens up, people profit from that gap and close it again.

  4     Q.   And so if you wanted to find a single market-wide price,

  5     what would an expert or somebody do to get a single market-wide

  6     price?

  7     A.   The same exact thing that exchanges do to get an average

  8     price across multiple trades that are happening on their

  9     platform, you would do that on a broader basis.

 10          So you would connect to several exchanges, pull information

 11     about the trades that are happening, and then calculate a

 12     rolling volume-weighted average across all of the exchanges and

 13     that would be called a reference rate.

 14          And, in fact, that's what the Chicago Mercantile Exchange

 15     does based on the rules that we design as an oversight

 16     committee where I serve.

 17          So it takes information from multiple exchanges and

 18     publishes a once-a-day reference rate for Bitcoin.

 19     Q.   And were you asked by Plaintiffs in this case to look up

 20     the price for Bitcoin on certain dates?

 21     A.   Yes.

 22                 MR. ROCHE:    Dorian, can we go to the next slide.

 23     BY MR. ROCHE:

 24     Q.   So what does this slide show?

 25                 MR. RIVERO:    Your Honor, objection.                      He is not a

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  1     damages expert.

  2               MR. ROCHE:    Your Honor, this is what we discussed

  3     yesterday.    I think Your Honor has already ruled on this, has

  4     ruled on this in the Daubert.               I'm happy to show where this was

  5     disclosed in his expert report.

  6               THE COURT:    The objection is noted.                       It's overruled.

  7               You may continue.

  8               THE WITNESS:      What this slide shows is the average

  9     daily price on specific dates as retrieved from the CoinCap

 10     price aggregator.     So this aggregates prices for many

 11     exchanges.

 12               And what it shows here is that on April 26th, 2013,

 13     the average daily price across several exchanges was $133.03

 14     per Bitcoin.    Simply put, if you had 133 bucks, you could buy

 15     yourself a Bitcoin.

 16               On February 14th, 2018, $9,025.88 per Bitcoin.

 17               The next date, October 20th, 2021, coincides with the

 18     highest price shown ever, what we call the all-time high.

 19     Bitcoin reached $64,947.44.

 20               And I guess this is three days ago, October 30th,

 21     2021, the price was showing at $61,637.76 per Bitcoin.

 22               MR. ROCHE:    Thank you.

 23               Dorian, could we go to the next slide.

 24     BY MR. ROCHE:

 25     Q.   Were you also asked by Plaintiffs to analyze and explain

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  1     the concept of a Bitcoin fork?

  2     A.   Yes.    I was.

  3     Q.   What is a "Bitcoin fork"?

  4     A.   A Bitcoin fork is when a change in the rules may cause a

  5     split in the blockchain resulting into -- in two different

  6     chains moving forward.

  7     Q.   Okay.    So is this -- could you give an example, not using

  8     Bitcoin, of what a Bitcoin fork is like?

  9     A.   Well, one example would be when a company spins off one of

 10     its subsidiaries and turns it into a new company and then

 11     shareholders who had shares in the original company now have

 12     shares in both the old company moving forward and the spin-off

 13     company.

 14          So that's called a stock split in that context.                  It's one

 15     type of stock split.      And there are other ways that companies

 16     might split their stocks and you would, therefore, own both of

 17     the stocks going forward.

 18     Q.   You explained in the context of a Bitcoin fork it's a

 19     change in the rules.

 20          What are -- what's an example of some of the rules that

 21     could change that would result in a Bitcoin fork?

 22     A.   Yes.    So as I mentioned, miners validate the rules in order

 23     to keep the system secure.            So they check every transaction and

 24     every block by a long list of rules.

 25          One of the rules, for example, is how much Bitcoin is

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  1     issued with a new block.          You count how many blocks have

  2     elapsed, you divide it by 210,000, and you figure out that,

  3     right now, a block should have 6.25.

  4          If you change that rule, and you allow for blocks to have

  5     more than 6.25 new Bitcoin issued, that's going to cause a

  6     split in the chain.

  7          Another example is blocks are limited in size.                      So if a

  8     block has a specific size in bytes, how much space it takes up

  9     on the disk, and you change that rule and say:                        "Well, we're

 10     going to allow blocks that are bigger, maybe twice that size,"

 11     again, that's the kind of change in a rule that is likely to

 12     cause a split.

 13     Q.   Have you prepared a demonstrative to help explain to the

 14     jury and illustrate what a fork looks like?

 15     A.   Yes, I have.

 16               MR. ROCHE:    Dorian, could we go to that slide, please.

 17     BY MR. ROCHE:

 18     Q.   What does this slide show?

 19     A.   So this shows the blockchain, and until Block 22,

 20     everything is the same as what we've described so far.                       One

 21     block follows another.        They are linked to their parent.                 They

 22     form a chain.

 23          After Block 22 is recorded and before Block 23 is recorded,

 24     some of the participants in the system changed the rules.                       And

 25     what happens when some of the participants change the rules is

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  1     that if the rules by which they go forward are invalid,

  2     according to the rules that existed before, you have the

  3     possibility of a split like this.

  4          So let's say, for example that, at this point, half the

  5     participants decide instead of one-megabyte blocks, we'll allow

  6     two-megabyte blocks.      And on that basis, they mine or record a

  7     new block.    Block 23, at the bottom, you see with the light

  8     blue, that is two megabytes big.

  9          All of those will accept that, according to the new rules,

 10     and continue that chain.          However, those who have not changed

 11     the rules, all of the computers participating in this that have

 12     not changed the rules, will see this new block at two megabytes

 13     and say:    "That's not valid.            That exceeds the limit."          And

 14     they'll reject it.     They'll ignore it.

 15          And they'll also continue mining, so they'll also produce a

 16     Block 23 according to the old rules, one less than or equal to

 17     one megabyte in size, that was valid before, and they'll

 18     continue building that chain.

 19          They can never accept any of the light-blue blocks because

 20     those blocks are built on one that exceeds the size they

 21     expect.

 22          And as the two sides of the network, the participants who

 23     go by the new rule, the participants who go by the old rules,

 24     continue building, they can no longer converge.                       And that's a

 25     split, a fork.

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  1     Q.   Are there any notable examples in bitcoin's history of a

  2     fork happening?

  3     A.   Yes.   This exact thing happens in August of 2017.

  4          In August of 2017, Bitcoin split into two forks, one which

  5     accepted larger blocks, two-megabyte blocks, and one which

  6     remained at one-megabyte blocks.                  And as a result, the chain

  7     split from that point on.

  8     Q.   And what was the -- what are the two splits called?

  9     A.   So the -- one of the splits continued to be called Bitcoin

 10     and continued to use the symbol BTC, and the other split, the

 11     other fork, was called Bitcoin Cash and adopted the symbol BCH.

 12     Q.   And so if I owned Bitcoin BTC prior to July 2017, what

 13     happened to my Bitcoin after the fork?

 14     A.   Well, very much like in a stock split, you now own the same

 15     amount, but in both of the chains.

 16          So, let's say, for example, that you were sent Bitcoin and

 17     that was recorded in a transaction in Block 22, before the

 18     split.   Block 22 would record the fact that your Bitcoin

 19     address contains one Bitcoin.

 20          After the split, you would have one Bitcoin BTC in the

 21     original chain.     You would have one Bitcoin Cash BCH in the

 22     other chain.    So essentially, your money gets cloned into both

 23     of the forks.    Because for both of these forks, Block 22 is in

 24     their past.    It is their past history.                      So they will continue

 25     to honor that moving forward and you now own two currencies,

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  1     Bitcoin and Bitcoin Cash, and you own the same amount in both.

  2          After that moment, you can now transact independently on

  3     the two chains and spend the Bitcoin on the Bitcoin chain, you

  4     can spend the Bitcoin Cash on the Bitcoin Cash chain.

  5     Q.   We'll get into the specifics in a minute.

  6          But does that mean that there can be a different price for

  7     Bitcoin and a different price for Bitcoin Cash?

  8     A.   Absolutely.    In fact, there almost always is an entirely

  9     different price because these are now different assets.                        And

 10     they're listed on exchanges under different names and symbols.

 11     And they can be traded independently of each other.

 12          And so they acquire a new price based on the same mechanism

 13     of price discovery I described, of supply and demand and all of

 14     that.

 15     Q.   We discussed the Bitcoin to Bitcoin Cash for July of 2017.

 16          Were there any other forks during the history of Bitcoin?

 17     A.   Yes.   Many, in fact.

 18          So as of last count, there are some 40 forks of Bitcoin.

 19     After this first fork, Bitcoin Cash itself split again into two

 20     forks.   One of them was named Bitcoin Cash after the fork; the

 21     other one was named Bitcoin Satoshi Vision with the symbol BSV.

 22          So BCH split into BCH and BSV further down the line.                       And

 23     Bitcoin itself had other forks as well.                         Like, for example,

 24     Bitcoin Gold and Bitcoin Private and Bitcoin Green and

 25     Bitcoin -- many, many, some 40.                 I've lost track.

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  1     Q.   So if I was mining Bitcoin, prior to any of these forks in

  2     2009 or 2010, in the early days of Bitcoin, does that mean I

  3     have -- would own Bitcoin on all the different forks?

  4     A.   Oh, yes.   Absolutely.         So all of the Bitcoin that existed

  5     before that moment now exists on all of the forks.                         So anything

  6     that exists before the moment of the fork exists on all of the

  7     forks from that moment on.

  8     Q.   And were you asked to prepare a demonstrative to show some

  9     of the prices of these different forks?

 10     A.   Yes, I was.

 11               MR. ROCHE:    Dorian, could we go to the next slide,

 12     please.

 13               MR. RIVERO:     Your Honor, same objection.

 14               THE COURT:    The objection is noted.                       It's overruled.

 15               You may continue.

 16     BY MR. ROCHE:

 17     Q.   Mr. Antonopoulos, what does this slide show?

 18     A.   So this slide shows the price aggregated across multiple

 19     exchanges through the CoinCap service.                        It's the daily average

 20     for three of Bitcoin's forks: BCH, Bitcoin Cash; BTG, which

 21     stands for Bitcoin Gold; and BSV, which stands for Bitcoin

 22     Satoshi Vision.

 23          And as you can see on April 26th, 2013, none of these forks

 24     exist, so they don't have listed prices.

 25          On December 20th, 2017, Bitcoin Cash is worth $3,476.84.

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  1     And Bitcoin Gold is worth $387.06.                     And BSV does not yet exist.

  2          Subsequently, on February 14th, 2018, Bitcoin Cash is worth

  3     $1,294.78.    Bitcoin Gold is worth $125.61.                          And Bitcoin SV does

  4     not yet exist.

  5          On May 6th, 2021, Bitcoin Cash is worth $1,408.82.                          Bitcoin

  6     Gold is worth $151.33.        And Bitcoin SV is worth $416.47.

  7          Finally, three days before -- three days ago, on

  8     October 30th, 2021, Bitcoin Cash was worth $590.30.                           Bitcoin

  9     Gold was worth $64.11.        And Bitcoin SV was worth $162.58.

 10     Q.   Thank you for that.

 11          In your expert opinion, are the prices of those Bitcoin

 12     forks that you have read into the record and the price of

 13     Bitcoin that we looked at earlier -- are those reliable prices?

 14     A.   Yes, they are.

 15               MR. RIVERO:     Same objection, Judge.

 16               THE COURT:    The objection is overruled.

 17               MR. ROCHE:    Your Honor, may I just have one minute

 18     with my co-counsel?

 19          (Pause in proceedings.)

 20               MR. ROCHE:    Nothing further for Mr. Antonopoulos at

 21     this time.

 22               THE COURT:    All right.

 23               Cross-examination.

 24

 25

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  1                                 CROSS-EXAMINATION

  2     BY MR. RIVERO:

  3     Q.   Good morning, sir.

  4     A.   Good morning.

  5     Q.   You and I have not met before this moment, have we?

  6     A.   I don't believe so.

  7     Q.   Yeah.    Mr. Antonopoulos, you'll agree with me that you did

  8     not start to learn about Bitcoin until the middle to the end of

  9     2012; isn't that right?

 10     A.   That's correct.

 11     Q.   And so, sir, when you come to testify to the jury, you

 12     cannot on personal knowledge talk about events -- about the

 13     release of the whitepaper; isn't that right?

 14     A.   It's on the public record, so I can read about it.

 15     Q.   Mr. Antonopoulos, let me be more precise.

 16          On personal knowledge, not what you can read after the

 17     fact, you don't have personal knowledge of how the whitepaper

 18     came to be released?

 19     A.   That's correct.

 20     Q.   Right.   You don't have -- but the whitepaper marks the

 21     invention of Bitcoin; isn't that right?

 22     A.   It marks the announcements of Bitcoin.

 23     Q.   Well, you've written a book called "Mastering Bitcoin,"

 24     right?

 25     A.   Yes, I did.

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  1     Q.   And don't you say in your book that the release of the

  2     whitepaper marks the invention of Bitcoin?

  3     A.   I don't recall what I said precisely in that book.

  4     Q.   Okay.    But it is your book, right?

  5     A.   Yes.

  6     Q.   Sir, don't you say at Page 4 of your book:                       "Bitcoin was

  7     invented in 2008, with the publication of a paper titled,

  8     quote, 'Bitcoin, a Peer-to-Peer Electronic Cash System',"

  9     unquote?

 10     A.   Yes --

 11     Q.   Did you say that?

 12     A.   Yes.    If you're reading from my book, yes, I did.

 13     Q.   Do you need to see your book?

 14     A.   No.    I take your word for it.

 15     Q.   Now, sir, the blockchain went operational on January 3,

 16     2009; isn't that right?

 17     A.   The first block was mined on or after January 3rd, 2009.

 18     Q.   It was not operational before January 3, 2009?

 19     A.   That's correct.

 20     Q.   Okay.    And again, you don't know anything about how that

 21     Bitcoin blockchain went into operation on your personal

 22     knowledge?

 23     A.   No.

 24     Q.   And sir, you are not here, you don't have an expert opinion

 25     about whether there was any business relationship between Craig

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  1     Wright and David Kleiman at all?

  2     A.   No.

  3     Q.   And you don't know whether Craig Wright and David Kleiman

  4     cooperated at all in any regard with regard to the writing and

  5     release of the whitepaper?

  6     A.   I do not.

  7     Q.   And you have no personal knowledge and cannot opine about

  8     whether David Kleiman and Craig Wright did anything about

  9     making the blockchain operational on January 3rd, 2009?

 10     A.   No.

 11     Q.   And you don't know if Craig Wright, who is here -- in fact,

 12     you don't know Craig Wright, right?

 13     A.   No.

 14     Q.   You've never met him?

 15     A.   I don't believe so.        Not until today.

 16     Q.   You don't know if Craig Wright has ever mined a single

 17     Bitcoin?

 18     A.   I do not.

 19     Q.   Whether he's ever possessed a Bitcoin, you don't have any

 20     knowledge?

 21     A.   No.

 22     Q.   You don't know whether today or ever he's controlled a

 23     Bitcoin; isn't that right?

 24     A.   No.

 25     Q.   Same applies to David Kleiman during the course of his

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  1     life; isn't that right?

  2     A.   Yes.    That's correct.

  3     Q.   Okay.   And so you have no opinion on who Satoshi Nakamoto

  4     is; isn't that right?

  5     A.   I'm sorry?

  6     Q.   You have no opinion -- you're not stating an opinion in

  7     this case about who Satoshi Nakamoto is?

  8     A.   No.

  9     Q.   You don't know -- I think what you say is Satoshi Nakamoto

 10     is one or more persons?

 11     A.   That's correct.

 12     Q.   Sometimes you call Satoshi Nakamoto, "they."

 13     A.   I often try to use "they," "them," to distinguish that from

 14     any knowledge of Satoshi Nakamoto.

 15     Q.   But there are other times where you have said "he" or

 16     "she"?

 17     A.   Habit, yes.

 18     Q.   But what it really is a reflection of is, you, like -- you

 19     don't -- you simply don't know about whether it's an individual

 20     or plural group?

 21     A.   I don't know.

 22     Q.   You have no opinion whether David Kleiman is Satoshi?

 23     A.   I do not.

 24     Q.   And you have no opinion whether Craig Wright is Satoshi?

 25     A.   I do not.

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  1     Q.   But you do say -- it is your expert opinion -- and by the

  2     way, sir, what you have done is you have studied very intensely

  3     from whenever in 2012 forward the history of Bitcoin; isn't

  4     that right?

  5     A.   I've studied everything about Bitcoin, the technology, the

  6     history, yes.

  7     Q.   I was just asking about the history.

  8          But you've also studied the technology, right?

  9     A.   Yes.

 10     Q.   And you run the history of the blockchain on your computer

 11     at home, right?

 12     A.   I run a Bitcoin node and I have a full copy of the

 13     blockchain, yes.

 14     Q.   We'll talk about nodes in a minute.

 15          But you have a copy of the blockchain at home?

 16     A.   I do.

 17     Q.   Yeah.

 18          And it is your expert opinion that Satoshi announced --

 19     that it was Satoshi Nakamoto that announced the invention of

 20     Bitcoin in a post dated Halloween day, October 31st, 2008,

 21     right?

 22     A.   Sorry.   You're a bit muffled with your microphone.

 23          Could you repeat the question, please.

 24     Q.   I certainly will.

 25                 MR. RIVERO:   Madam court reporter, can you hear me?

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  1                 COURT REPORTER:       (No verbal response.)

  2                 MR. RIVERO:   Thank you.

  3                 Sorry, Mr. Antonopoulos.

  4     BY MR. RIVERO:

  5     Q.   You would agree with me that Satoshi Nakamoto, whoever that

  6     may be, announced the invention of Bitcoin in a post dated

  7     Halloween day, October 31, 2008?

  8     A.   Yes.    Almost exactly 13 years ago.

  9     Q.   It was 13 years ago Sunday?

 10     A.   Sunday.   Correct.

 11     Q.   Okay.   Now, he attached to the post the Bitcoin Whitepaper,

 12     right?

 13     A.   Yes.

 14     Q.   And he used the email address -- this is important, sir --

 15     satoshi@vistomail.com to be able to do that post, right?

 16     A.   That's the email that it was sent from, according to the

 17     mailing list, yes.

 18     Q.   And you don't doubt that.              You believe that emails at the

 19     satoshi@vistomail.com address are legitimate until 2010 -- let

 20     me restate that.     Sorry.

 21          To this point in your review of emails from the

 22     satoshi@vistomail.com email address, those emails up until the

 23     end of 2010, as far as you know, you've seen them, you opine

 24     that they are legitimate?

 25     A.   Yes.

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  1     Q.   And Satoshi, in fact, in your view, in your opinion,

  2     continued to post messages from satoshi@vistomail.com all the

  3     way until December 2010, correct?

  4     A.   No.    I said that Satoshi continued to post from a number of

  5     known aliases belonging to Satoshi all the way through 2010.

  6     Q.   Well, that's a broader answer.                    But I'm not disagreeing

  7     with you.     I just wanted to know that one part, though.

  8          He may have used other addresses, but he certainly used

  9     satoshi@vistomail.com, in your sworn testimony, until December

 10     2010; isn't that right?

 11     A.   To my knowledge, yes.

 12     Q.   Okay.    And you have stated that all the emails you have

 13     seen from that email address during that time period are, in

 14     your opinion, emails from Satoshi Nakamoto, right?

 15     A.   I don't know that I've seen all emails from that address.

 16     It's -- I've seen many emails that were public, but of course,

 17     you know, I'm not privy to emails sent to private individuals

 18     and I don't know how many emails were sent.

 19     Q.   I don't think you heard my question correctly.                   Let me just

 20     state it again.

 21     A.   Okay.

 22     Q.   You have said:    "All the emails I have seen from that email

 23     address, in my opinion, are emails from Satoshi Nakamoto," have

 24     you not?

 25     A.   Yes.

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  1     Q.    Okay.    Now, you know that the Plaintiffs here -- I should

  2     say Plaintiffs' counsel here -- say that Craig Wright asked

  3     David Kleiman, he invited David Kleiman to help him edit the

  4     whitepaper on March 12, 2008.

  5           Isn't that what the Plaintiffs say in this lawsuit?

  6                  MR. ROCHE:   Object.          Outside the scope of his direct

  7     examination.

  8                  THE COURT:   Overruled.

  9                  COURT REPORTER:       Who is speaking?

 10                  MR. ROCHE:   This is Kyle.

 11                  THE COURT:   Mr. Roche, your objection is overruled.

 12                  You may continue.

 13     BY MR. RIVERO:

 14     Q.    Do you have the question in mind, sir, or should I repeat

 15     it?

 16     A.    Yes.    I don't know what Plaintiffs' counsel has claimed

 17     about the facts in this case.                I actually -- I'm here to

 18     testify about Bitcoin technology and explain it to the jury.

 19     I'm not aware of the facts of the case.                          And I have not been

 20     made aware of them.

 21     Q.    Sir, isn't it the case that the single document, the single

 22     document that you have been supplied by these gentlemen is this

 23     second amended complaint?            Isn't that right?

 24     A.    No.    That is not correct.

 25     Q.    So when Mr. -- are you aware that Mr. Roche said:

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  1     "Documents related to this litigation except for his -- the

  2     initial complaint, when we engaged Mr. Antonopoulos" -- I'm

  3     sorry -- "that Mr. Antonopoulos has not been provided any

  4     documents related to this litigation for his -- the complaint

  5     initially when we engaged Mr. Antonopoulos, and is not opining

  6     on any facts related to parties in this litigation"?

  7          And he said it in front of you.                    Do you remember that?

  8     A.   I don't.

  9     Q.   Okay.

 10                 MR. RIVERO:   Would you -- Mr. Shaw, would you show --

 11     I'd like to refresh your recollection.

 12                 Would you show just to the witness at this point AA1

 13     at Page 85, 16 to 21.

 14                 And I'm sorry, Judge.             I'm also, of course, asking

 15     that it be shown to Defense counsel, but not to the jury at

 16     this point.     If I may, it's to refresh recollection.

 17                 THE COURT:    Yes.      Of course.

 18                 MR. RIVERO:   And, Mr. Shaw, I don't know if you can --

 19                 Liz, I'm sorry.       Not to the jury, but -- and I

 20     apologize to the jury.        It's just the process.

 21     BY MR. RIVERO:

 22     Q.   All right.    Now, Mr. Antonopoulos, do you recall being

 23     deposed on January 7, 2020?

 24     A.   Yes.

 25     Q.   And you remember you were present at your deposition,

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  1     right?

  2     A.   Yes.    It was a couple years ago, almost, now.                   So yes.

  3     Q.   And you're not going to remember every detail from that?

  4     A.   Yes.

  5     Q.   Of course.

  6          But do you now, looking at what I'm showing you, that --

  7     remember that Mr. Roche said that you had not been shown any

  8     documents by the Plaintiffs' counsel in this case except for

  9     this amended -- I'm sorry -- this is your report -- this

 10     complaint, right?

 11     A.   Yes.    I see that.

 12     Q.   And you testified also that you reviewed this complaint,

 13     did you not, under oath?

 14     A.   Yes.

 15     Q.   Okay.    So sir, let me get back to my question.

 16          Can you recall that in that complaint that you reviewed

 17     under the section "Dave and Craig's early relationship," four

 18     paragraphs in, that what the Plaintiffs say is that in March

 19     2008, just a few months before Satoshi's paper on the Bitcoin

 20     protocol was published, Craig emailed Dave saying:                     "I need

 21     your help editing a paper," and so on?

 22          Do you remember that?

 23     A.   I do not.

 24     Q.   Okay, sir.    But you don't challenge that it's in the

 25     complaint that you reviewed?

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  1     A.   No, not at all.      It's just been a very long time since I

  2     read that.    And I wasn't really reading it that carefully to

  3     remember all these details.

  4     Q.   Now, sir, isn't it the case that --

  5                 MR. RIVERO:    Your Honor, may I have one moment?

  6                 THE COURT:    Certainly.

  7                 MR. RIVERO:    Thank you.

  8          (Pause in proceedings.)

  9     BY MR. RIVERO:

 10     Q.   Let me ask you, sir -- let me ask you, sir:                          You are aware,

 11     are you not, that before March of 2008, according to Satoshi --

 12     according to those communications you say are legitimate,

 13     Satoshi had been coding for least at least a year?                           Isn't that

 14     right?

 15     A.   I don't remember the exact time frame.                           But I do remember

 16     that Satoshi claimed that they had written the code before

 17     publishing the whitepaper to persuade themselves that it would

 18     actually work, yes.

 19     Q.   I want to make sure that we get this point clear,

 20     Mr. Antonopoulos --

 21     A.   Sure.

 22     Q.   -- because you are -- you certainly are holding yourself

 23     out as an expert on the history of the blockchain and Bitcoin,

 24     right?

 25     A.   Yes.

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  1     Q.   Okay.   And you have explained a lot of things, helpful

  2     things to the jury about how this thing works, right?

  3     A.   Yes.

  4     Q.   And what you pride yourself on is you know this history,

  5     right?

  6     A.   Yes.

  7     Q.   Well -- I'm sorry.       I'm going to digress for a second,

  8     Mr. Antonopoulos.

  9          Sir, you were asked if you have ever testified as an

 10     expert.

 11          Do you remember that?

 12     A.   Yes.

 13     Q.   You told the jury that you testified as an expert, but not

 14     in court.

 15     A.   Yes.

 16     Q.   You testified before some committee of the Canadian Senate,

 17     right?

 18     A.   I testified under oath at the Canadian Senate, yes.

 19     Q.   Yeah.   And you testified before some committee of the

 20     Australian Senate, right?

 21     A.   Yes.    Also under oath.

 22     Q.   Sir, this is the first time in your life that you appear as

 23     an expert in a federal district court in the United States;

 24     isn't that right?

 25     A.   Yes.    That's correct.

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  1     Q.   You were previously rejected as an expert by a federal

  2     district court in the United States; isn't that right?

  3     A.   No.

  4     Q.   Sir, are you telling this jury that you did not offer

  5     yourself as an expert witness for Ross Ulbricht, the Dread

  6     Pirate Roberts?     Are you saying you didn't offer yourself as an

  7     expert for the creator of Silk Road?

  8     A.   I was retained to -- by the defense of Ross Ulbricht, but I

  9     did not testify in that trial.

 10     Q.   And you didn't testify because a federal district judge

 11     found that you were not capacitated to testify in that case;

 12     isn't that true?

 13     A.   No, that's not my understanding.

 14     Q.   That's not what you understand.

 15          Is that what you're saying?

 16     A.   That's correct.

 17     Q.   Okay.   We'll see if we look at that, sir.

 18          But you didn't testify there, did you?

 19     A.   No, I did not.

 20     Q.   This is the first time you testify as an expert?

 21     A.   Yes.

 22     Q.   Okay.   Now let's go back to this history that you hold

 23     yourself out as being a leading expert about.

 24          Isn't it true that Satoshi said on satoshi@vistomail.com

 25     that he had started coding more than a year before the release

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  1     of the whitepaper?

  2     A.   Yes.    If I recall, that's more or less what I read.

  3     Q.   And a year is before Halloween of 2007, right?

  4     A.   Yes.

  5     Q.   Isn't it a fact that there are other messages that indicate

  6     it was a year and a half?

  7     A.   I don't recall those specific messages.

  8     Q.   You don't remember now.

  9     A.   Yes.

 10     Q.   Okay.    So certainly, by March of 2008, whether it was

 11     starting on Halloween day 2007 or whether it was starting

 12     earlier, a lot had been done.               Isn't that right, according to

 13     Satoshi?

 14     A.   Yes.    That's correct.

 15     Q.   And you have no opinion about whether Craig Wright or David

 16     Kleiman was involved in sending emails from

 17     satoshi@vistomail.com, do you?

 18     A.   I have no opinion on that.

 19                 MR. RIVERO:   Your Honor, may I have one more moment?

 20                 THE COURT:    Certainly.

 21          (Pause in proceedings.)

 22     BY MR. RIVERO:

 23     Q.   Mr. Antonopoulos, do you know anything about Satoshi

 24     sending materials to a site called Wei Dai in advance of the

 25     release of the whitepaper?

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  1     A.   I do not.

  2     Q.   You don't.    Okay.     All right.

  3          Sir, we'll come back to your history as an expert in a

  4     moment, but there's another subject that I want to talk with

  5     you about before I do that.

  6          You have said many, many, many times:                             "Hold your own

  7     keys."   Sir, you've said:           "Hold your own keys."                   Right?

  8     A.   Yes.   Words to that effect.

  9     Q.   And you say people should control their own Bitcoin keys,

 10     right?

 11     A.   Yes.

 12     Q.   And you agree that if somebody had the technical ability to

 13     maintain their own keys, they should.

 14     A.   Yes.

 15     Q.   And you've used the phrase repeatedly:                            "Not your keys, not

 16     your coin."    Right?

 17     A.   Yes.

 18     Q.   You put it on coffee mugs?

 19     A.   Got a coffee mug right there, yes.

 20     Q.   You put it on coffee mugs in Spanish, too, don't you?

 21     A.   Yes.

 22     Q.   You put it on T-shirts?

 23     A.   Yes.

 24     Q.   You put it on hoodies?

 25     A.   Once that phrase became popular --

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  1     Q.   That's not my question, sir.

  2          My question is:    Do you put it on hoodies?

  3     A.   Yes, I put it on hoodies.

  4     Q.   And sir, you put it on aprons?

  5     A.   I don't know.    I don't know the full range of products that

  6     are offered on my shop.         My team manages that.

  7     Q.   You have merch?

  8     A.   I have merch.

  9     Q.   We'll talk about your merch too.

 10     A.   Okay.

 11     Q.   "Merch" means merchandise, right?

 12     A.   That's correct.

 13     Q.   Yeah.   A private key is just a number and its essence is

 14     that you keep it private.

 15          This is its most important characteristic, is it not?

 16     A.   Yes.

 17     Q.   If I showed you my private key, it would no longer be a

 18     private key; isn't that right?

 19     A.   It would no longer be private.

 20     Q.   And by definition, it would not be a private key?

 21     A.   It would no longer be private.

 22     Q.   In fact, you call such a key -- if I were to take a Bitcoin

 23     key, if I have one, and I were to show it to you right now, you

 24     call that a compromised private key, do you not?

 25     A.   If you were to show it to me and we have no trust, yes.

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  1     Q.   In our case, it would be a compromised private key, would

  2     it not, sir?

  3     A.   Yes.

  4     Q.   The term "private key" expresses the most important aspect

  5     of that key is a number that is -- which is to keep it private;

  6     otherwise, it no longer functions as a private key.

  7          The function of a private key is to remain private so that

  8     you can exert control using it and no one else can.                    Those are

  9     your words.

 10     A.   I guess so.    Yes.     I don't know what you're reading from,

 11     but I would assume so.         That sounds like my words.

 12     Q.   Do you need your memory refreshed, sir?

 13     A.   No.    I'll take your word for it.

 14     Q.   And sir, when asked:          "Is there a word you would use to

 15     call these keys after they've been shared with somebody" --

 16     you've said:    "A compromised private key."

 17     A.   Yes.

 18     Q.   The designer of Bitcoin would have understood that to keep

 19     Bitcoin secure, one would -- one should maintain control of the

 20     Bitcoin keys, right?

 21     A.   Yes.

 22     Q.   Now, sir --

 23                 MR. RIVERO:    I'm just hoping that Mr. Kass has some

 24     exhibits for me.

 25                 Oh, thank you.

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  1          (Pause in proceedings.)

  2     BY MR. RIVERO:

  3     Q.   Sir, I'll come back to this subject.

  4          Let's talk about your prior expert experiences -- or your

  5     expert experiences up to now.

  6          You were hired in this case on November 6th, 2019, correct?

  7     A.   I don't recall the exact date.                    I signed the retainer.   But

  8     if you say so.     It was around that time, yes.

  9               MR. RIVERO:     Mr. Shaw, could you show what's been

 10     marked as Defendant's Exhibit 408 to the witness.

 11               Judge, I move the admission of the expert witness

 12     retention contract.     I don't believe this is in dispute.

 13               THE COURT:    Is there any objection?

 14               MR. ROCHE:    No objection.

 15               THE COURT:    Without objection, admitted into evidence.

 16          (Defendant's Exhibit 408 received into evidence.)

 17               MR. RIVERO:     Liz, if you would show that to the jury.

 18     BY MR. RIVERO:

 19     Q.   Now, the date of the expert retention contract is, I

 20     believe, sir -- I'm not sure -- it's reflected on the first

 21     page, so --

 22     A.   It's on the last page.

 23     Q.   It's on the last page?

 24     A.   Yeah.

 25     Q.   So it shows here that you signed it on November 6th, 2019,

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  1     right?

  2     A.   Yeah.    That's correct.

  3     Q.   And then it's signed by Mr. Roche on November 6th, 2019,

  4     right?

  5     A.   Yes.

  6     Q.   All right.    And you had not worked with Mr. Roche before

  7     November 6th, 2019, right?

  8     A.   Not -- inasmuch as negotiating this contract, but nothing

  9     else, yes.

 10     Q.   Okay.    So it was an arm's-length negotiation --

 11     A.   Yes.

 12     Q.   -- about a contract.         But you didn't work together about

 13     Bitcoin issues?

 14     A.   No.

 15     Q.   Right.    And what happened in this agreement was that

 16     Mr. Roche and the Freedman -- the Roche Freedman firm agreed to

 17     pay you $500 an hour for your work and your time and your

 18     testimony time here, right?

 19     A.   For my expertise and the work I would use.

 20     Q.   And they gave you a retainer also and a deposit against

 21     your work; isn't that right?

 22     A.   Yes.    Of 10 hours upfront.

 23     Q.   Okay.    And you didn't work with -- by the way, I noticed

 24     that there was a lot of first names going on, "Vel" and "Kyle."

 25          You guys, I assume, are on a first-name basis, right?

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  1     A.   Yes.    We are.

  2     Q.   Yeah.    Now -- but you hadn't worked with them before

  3     November of 2019?

  4     A.   I had not.

  5     Q.   Okay.    Now, you started working -- you didn't do any work

  6     in this case before the engagement letter of November 6th,

  7     2019, right?

  8     A.   No.

  9     Q.   And you started working on November 27, as reflected in

 10     your invoices, right?

 11     A.   Yes.

 12     Q.   And your first work was to talk with Kyle Roche, right?

 13     A.   Yes.    I think I was briefed for the first time by Kyle

 14     Roche.

 15     Q.   So November 27 was the first time that you actually got

 16     into talking about Bitcoin-related things with Kyle?

 17     A.   Yes.

 18     Q.   And then -- however, then you had a deposition on

 19     January 7th, so that was about -- call it six weeks later,

 20     right?

 21     A.   Yes.

 22     Q.   So then we saw Mr. Roche commenting on what you had

 23     reviewed during that depo, I showed it to you a little bit

 24     before, right?

 25     A.   Yes.

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  1     Q.   Now, interesting to me is that about three weeks after that

  2     depo, you gave a very nice -- a very nice -- how would I say

  3     it -- a very nice "endorsement" letter.                         I think that's the

  4     wrong word.     I'm looking for something else like a letter

  5     commenting on Mr. Roche's abilities, right?

  6     A.   Yes.

  7     Q.   Yeah.    But it wasn't just -- it wasn't just like some

  8     letter you would write for somebody applying for a job or

  9     anything.     It was for something more significant than that,

 10     right?

 11     A.   Well, it was a professional reference, which I do for jobs

 12     and other things all the time.

 13     Q.   Right.    And the reference that you gave in that, you said

 14     about Mr. Roche, who you had been working with for a little

 15     less than two months -- you wrote in a letter to a court saying

 16     that:    "Roche Freedman" -- that's Kyle Roche and Vel Freedman,

 17     and Mr. Roche more specifically -- "are highly qualified and

 18     capable in the context of the subject-matter case."

 19          You said those words, right?

 20     A.   Yes.    This was for another case in which I had been engaged

 21     and it was in the form of a professional reference for

 22     Mr. Roche.

 23     Q.   Yeah.    I'm going there.

 24          And we haven't heard about it yet, but thank you for

 25     bringing it up now, sir.

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  1          The second case that you get hired as an expert on is by

  2     these same gentlemen, right?

  3     A.   No.

  4     Q.   Oh, I'm sorry.    I'm sorry.             That's right, because I'm

  5     forgetting the first case you were rejected.

  6          I'm talking about the second and the third cases, right?

  7     A.   I was not rejected.        I was hired in the first case.        This

  8     was the third case, yes.

  9     Q.   Yeah.   So you didn't testify in the first case.

 10          We can agree on that?

 11     A.   No, I didn't testify, but --

 12     Q.   The judge didn't let you get on the stand, right?

 13     A.   The judge rejected the motion to include me because it was

 14     filed late, as far as I understand.

 15     Q.   Okay.   That's your explanation, sir?

 16          But you didn't testify; we agree about that?

 17     A.   I did not.

 18     Q.   This is your second one and you got on the stand today,

 19     right?

 20     A.   Yes.

 21     Q.   Okay.   The third case you get hired by -- is only two

 22     months after you start working with these gentlemen, right?

 23     A.   Yes.

 24     Q.   And you give them a glowing letter to get into the case,

 25     right?

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  1     A.   No.

  2     Q.   You didn't say --

  3     A.   I gave them --

  4     Q.   Highly qualified?

  5     A.   I gave them a glowing letter, but not to get into the case.

  6     Q.   Oh.

  7     A.   I believe I was already engaged for that case.                   I provided

  8     a professional reference for Mr. Roche because I had

  9     experienced his professional qualifications and work ethic.

 10     Q.   Wait.

 11          Mr. Antonopoulos, you were already engaged by January 27,

 12     2020 in the other case?

 13     A.   I believe so.

 14     Q.   I didn't know that.

 15          Is that what you're telling the jury?

 16     A.   I'm not sure.    I believe so.

 17     Q.   All right, sir.

 18          But something funny happened between November 6th and some

 19     date before January 27th, 2020, which is your rate went up

 20     significantly, didn't it?

 21     A.   I don't recall the exact rate.                    But, yes, for my second

 22     engagement with Mr. Freedman, I increased my rate.

 23     Q.   Your rate went up 50 percent, didn't it?

 24     A.   I don't remember the exact number.

 25     Q.   Sir, didn't you testify that your rate in the second matter

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  1     was 700 or $750 an hour?

  2     A.   If you say so, yes.         I don't recall.

  3     Q.   Sir, would you --

  4                 MR. RIVERO:    Mr. Shaw, show AA2, Depo 2, at Page 16,

  5     line 15.

  6     BY MR. RIVERO:

  7     Q.   Isn't it the case that you were asked:                            "What is your

  8     engagement rate" on that other case?                       Right?

  9                 COURTROOM DEPUTY:          Is this for everyone to see?

 10                 MR. RIVERO:    Your Honor, it's impeachment.                       So, yes,

 11     it would be.

 12                 THE COURT:    Go ahead and show the witness.

 13     BY MR. RIVERO:

 14     Q.   You were asked:      "What is your engagement rate?"

 15          And you said:    "I honestly don't recall.                         It's think

 16     somewhere in there" -- "I think" -- "700 or $750 per hour."

 17          Isn't that right?

 18     A.   Yeah, I say that.

 19     Q.   Now, sir, that's either 40 percent or 50 percent higher

 20     than your rate from weeks before.                    Isn't that true?

 21     A.   Yes.

 22     Q.   Okay.   And sir, then you gave them this endorsement to get

 23     into -- not into the case; I misspoke -- to get the role as

 24     lead counsel in a Plaintiff's class action claiming

 25     $466 billion; isn't that right?

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  1     A.   Yes.

  2     Q.   Do you know what percentage Plaintiff's class action

  3     counsel might get in such a case?                   Do you have any idea how

  4     many -- how much money we could be talking about?

  5     A.   I have no idea.      Expert witnesses don't get paid based on

  6     the outcomes of cases.

  7     Q.   Have you been hired again by these gentlemen, sir?

  8     A.   I don't believe so, no.

  9     Q.   Now, Mr. Antonopoulos, you are a very practiced public

 10     speaker, are you not?

 11     A.   Yes.

 12     Q.   You do hundreds of interviews a year?

 13     A.   Not hundreds of interviews a year.                       I would say I have done

 14     hundreds of interviews a year in some years.

 15                 MR. RIVERO:    Mr. Shaw, would you show the clip of AA1

 16     at 118 to 1 -- to 118 -- 15 to 16.

 17     BY MR. RIVERO:

 18     Q.   Okay.   Sir, I actually wanted to show it as a video, but

 19     that's okay.

 20          Sir, you do hundreds of interviews a year, don't you?

 21     A.   I have done.

 22     Q.   You are a frequent speaker at conferences, are you not?

 23     A.   Up to before pandemic, I was, yes.

 24     Q.   You have been interviewed by Bloomberg, CNN, CNBC, CBS,

 25     NBC, ABC, BBC Financial Times, and many other media

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  1     organizations, an Alphabet Soup; isn't that right, sir?

  2     A.   Yes.

  3     Q.   And you have told us you have testified before these

  4     legislative bodies in Australia and Canada, right?

  5     A.   Yes.

  6     Q.   But sir, regardless of what you say about your knowledge

  7     about Bitcoin, the truth of the matter is you yourself know,

  8     you're not even in the top one thousand people with knowledge

  9     about this Bitcoin area.           What you really are is you are more

 10     comfortable with mainstream audiences and you have practiced

 11     public speaking.

 12          Isn't that what your expertise is?

 13     A.   I'm very good at explaining this technology in simple

 14     terms.   And in terms of this industry, there are a lot of very

 15     smart people in this industry, and I wouldn't claim to be the

 16     smartest in this industry.

 17                 THE COURT:    Mr. Rivero, let us know when it might be a

 18     good time for us to take a comfort break.

 19                 MR. RIVERO:    Yes, Your Honor.

 20                 I would like to show that video clip, if we could, and

 21     then take a break, Your Honor.

 22                 THE COURT:    All right.             Certainly.

 23                 MR. RIVERO:    I'm sorry, and I'm talking about AA177 --

 24                 MR. ROCHE:    Your Honor, we would like to see the clip

 25     before it's shown to the jury.

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  1                MR. RIVERO:    It's been designated, Judge.                        I don't

  2     believe -- we have -- there's a process -- if there's an

  3     objection --

  4                THE COURT:    All right.             But what is the purpose.

  5                MR. RIVERO:    Judge, his answer was not consistent with

  6     his testimony.

  7                THE COURT:    All right.             Well, let's ask the question

  8     first so that the Court knows precisely how it is inconsistent.

  9                MR. RIVERO:    Yes.        Isn't it true you have said:                  "I'm

 10     not even in the top one thousand people who really understand

 11     Bitcoin.    I'm just comfortable with mainstream audiences and

 12     have practiced public speaking"?

 13                THE WITNESS:     Yes.

 14                MR. RIVERO:    Judge, that's a good time to take a

 15     break.

 16                THE COURT:    All right.             Ladies and Gentlemen, let's go

 17     ahead and take a 20-minute comfort break.                             We are going to take

 18     a lunch break at precisely 1:00.

 19                All right.    I'll see you back here in 20 minutes.

 20          (Jury not present, 11:34 a.m.)

 21                THE COURT:    All right.             We're on a 20-minute recess.

 22          (Recess from 11:34 a.m. to 11:52 a.m.)

 23                THE COURT:    All right.             Welcome back.             Go ahead and

 24     have a seat.

 25                Moving forward, I would like us to have a dedicated

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  1     schedule for comfort breaks and for lunch.                            I would suggest

  2     that given the schedule that we outlined and, of course, one of

  3     the jurors, as we know, will not be able to be here earlier

  4     than that time, we'll start precisely at 10:00.

  5               I'd like to take a break, depending upon where we are

  6     with the witness's testimony, at 11:30 for 20 minutes.                           We will

  7     take a one-hour recess for lunch at approximately 1:00.                           We're

  8     not held to that time.        And then, again, another recess for 20

  9     minutes at 3:30.

 10               Is that acceptable to both sides?

 11               MR. RIVERO:     It is to the Defense, Judge.

 12               MR. ROCHE:    It is for Plaintiffs as well.

 13               Your Honor, before we begin -- just with Mr. Rivero's

 14     cross-examination of Mr. Antonopoulos, there's been a number of

 15     times where he's attempting to impeach the witness and I think,

 16     going forward, he should be instructed to provide Plaintiffs'

 17     counsel with the impeachment documents he wishes to use before

 18     showing them to Mr. Antonopoulos or to the jury.

 19               MR. RIVERO:     Judge, if I may, my experience is that

 20     one is required to show the impeachment material after the

 21     witness has made the statement that is inconsistent with his

 22     past statement, not before.

 23               MR. ROCHE:    But, Your Honor --

 24               THE COURT:    My experience as officers of the court is

 25     before it's shown to the witness, it should be shown to

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  1     counsel.    So counsel can either pull out the deposition page or

  2     the appropriate document so counsel is ready to advise the

  3     Court whether there are other portions that need to be read to

  4     keep it in context.

  5                So I agree that on both sides the impeachment

  6     evidence -- or at least you can say page and line so that

  7     you're letting the attorney know before you proceed with the

  8     impeachment.

  9                MR. RIVERO:    Judge, I just want to make the record

 10     very clear that I have stated the pages and lines on each

 11     occasion beforehand.      Now, if I need to slow down for counsel,

 12     I understand.

 13                MR. ROCHE:    And Your Honor, with respect to the

 14     mentioning of other retentions and other litigations,

 15     specifically that retention of Mr. Antonopoulos in a class

 16     action my firm is involved with, I believe he borderlined on

 17     improper bias.     I would ask, again, for -- to the extent

 18     Mr. Rivero wishes to readdress those issues that he -- we have

 19     a sidebar.

 20                THE COURT:    Mr. Roche, if there's a legal objection,

 21     then you have an obligation to make it, sir.

 22                MR. ROCHE:    Okay.

 23                THE COURT:    All right.             Let's bring in the jury.

 24          (Before the Jury, 11:55 a.m.)

 25                THE COURT:    All right.             Welcome back, Ladies and

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  1     Gentlemen.     Before we continue -- go ahead and have a seat.

  2                 Before we continue with the cross-examination, I did

  3     advise the attorneys and the parties and let me advise you,

  4     that with regard to our breaks in the morning and afternoon, as

  5     you know, we will start precisely at 10:00.                           Our breaks will be

  6     approximately 11:30, it will be for 20 minutes; we'll have

  7     lunch at approximately 1:00 for one hour; and then our

  8     afternoon break will be at 3:30; and then, of course, we'll

  9     conclude for the day at 5:00 p.m., all right?

 10                 All right.    Let's continue.

 11     BY MR. RIVERO:

 12     Q.   Mr. Antonopoulos, I want to talk to you for a minute.

 13          You have studied carefully the history of the Bitcoin

 14     blockchain and of Satoshi Nakamoto, correct?

 15     A.   Yes.

 16     Q.   And you have written a very helpful book, right?

 17     A.   Yes.

 18     Q.   In fact, Mr. Antonopoulos, I hope you can see that I have

 19     tabbed your book and have read it.

 20     A.   Thank you so much, yes.

 21     Q.   All right.    Now, sir, I want to make sure we have some

 22     precision on --

 23          (Court reporter interruption.)

 24                 MR. RIVERO:   Oh, I'm sorry.

 25

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  1     BY MR. RIVERO:

  2     Q.   So Mr. Antonopoulos, just very briefly, the timeline is the

  3     whitepaper is released on October 31, 2008.                            And the blockchain

  4     goes operational on January 3rd, 2009.

  5          We agree on that, right?

  6     A.   On or after January 3rd, 2009.                     Yes.

  7     Q.   No earlier than?

  8     A.   Correct.

  9     Q.   All right.    Now, I think you agree with me that Satoshi

 10     made statements indicating that he had started working on the

 11     code at least in 2007, right?

 12     A.   Yes.

 13     Q.   Do you -- from right now, do you have any recollection of

 14     what more specific statements Satoshi made that indicated when

 15     the work started on the Bitcoin blockchain?

 16     A.   No.

 17     Q.   All right.

 18                 MR. RIVERO:    Judge, I want to show -- and so I'll

 19     indicate to counsel, I want to show the witness for purposes of

 20     refreshing recollection Defendant's 390.                           But obviously letting

 21     Defense know -- I'm sorry -- the Plaintiffs know.

 22                 MR. ROCHE:    Your Honor, can we see a --

 23                 THE COURT:    Oh.      It's Plaintiffs' Exhibit 390?

 24                 MR. RIVERO:    It's Defendant's 390.

 25                 THE COURT:    390, Defendant's.                    All right.

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  1                MR. ROCHE:    Can you scroll through the pages to the

  2     page that you're planning to show him?

  3                MR. RIVERO:    Pardon me one moment, Your Honor.                I just

  4     want to --

  5          (Pause in proceedings.)

  6                MR. RIVERO:    Judge, just a couple of points of order.

  7     One, again, our screen isn't working.

  8                I don't know why, Liz.

  9                COURTROOM DEPUTY:          Your specific one or all of them?

 10                MR. RIVERO:    I don't know.                 I know that Ms. McGovern

 11     can't see anything.

 12                MR. MESTRE:    It's only this one.

 13                THE COURT:    Alex, could we call IT and fix the

 14     monitor?    Thanks.

 15                MR. RIVERO:    Judge, we'll proceed and Ms. McGovern

 16     will look over at the other screen in the meantime.                    I think

 17     that's what we're doing.

 18                THE COURT:    All right.

 19                MR. RIVERO:    All right.              So I think Plaintiffs'

 20     counsel --

 21          (Crosstalk.)

 22                MR. ROCHE:    -- so that we have them, so we can see the

 23     whole exhibit before?

 24                THE COURT:    Certainly.

 25                MR. ROCHE:    Could you just give me -- yeah.

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  1                 Thank you.    We have the exhibit up.

  2                 THE COURT:    All right.

  3     BY MR. RIVERO:

  4     Q.   All right.    Now, sir, do you see it in front of you?

  5     A.   Yes, I do.

  6     Q.   Do you see this is satoshi@gmx.com?

  7          My question is:      Does this refresh your recollection that

  8     Satoshi said he had been developing a project for two years

  9     before the release of the whitepaper?

 10     A.   Yes.

 11     Q.   Okay.    So if that was two years, just to be clear, that

 12     would be Halloween 2006, right?

 13     A.   Yes.

 14     Q.   Okay.    And in other places, he said --

 15                 MR. RIVERO:    And I'll do the same thing.                 I'll show

 16     Plaintiffs' counsel 398, if we can.                      And I'll be referring to

 17     the last paragraph.

 18                 MR. ROCHE:    Which paragraph is it?

 19                 MR. RIVERO:    The last paragraph of 398.                  Defendant's

 20     398.

 21                 Can you see it, Mr. Antonopoulos?

 22                 THE WITNESS:     I can only see Page 1.

 23                 MR. RIVERO:    Can we show -- first of all, hearing no

 24     objection, Judge, if I may move the introduction of Defendant's

 25     398.

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  1                 THE COURT:    Well, is there an objection to that?

  2                 MR. ROCHE:    No objection.

  3                 MR. RIVERO:    All right.

  4                 THE COURT:    Without objection, Defendant's Exhibit 398

  5     admitted into evidence.

  6          (Defendant's Exhibit 398 received into evidence.)

  7     BY MR. RIVERO:

  8     Q.   398, Mr. Antonopoulos, is this from this

  9     satoshi@vistomail.com address --

 10     A.   Okay.

 11     Q.   -- or do you know?

 12     A.   The headers are not shown here.                     I would assume so.

 13     Q.   Okay.   And you have no reason to challenge the authenticity

 14     of this?

 15     A.   No.

 16     Q.   Okay.   So this is the -- we're talking about Satoshi

 17     Nakamoto, whoever that is, just to be clear, right?

 18     A.   Yes.

 19     Q.   And what he writes -- I'm sorry, he/they -- what Satoshi

 20     writes, if we look at the last paragraph is:                           "I believe I've

 21     worked through all those little details over the last year and

 22     a half while coding it."           Right?

 23     A.   Yes.

 24     Q.   Now, sir, if we look -- if we flip back to the first

 25     page -- and hopefully the jury can see the first page -- he's

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  1     writing that on November 17, 2008, right?

  2     A.   November 9th.

  3     Q.   Oh, thank you.

  4     A.   November 9th, 2008, yes.

  5     Q.   Well, just -- I mean, not to argue with you,

  6     Mr. Antonopoulos, but Page 1 of D398, I see 2008, 11/17, just

  7     to get the record clear, but maybe you're looking at something

  8     different?

  9     A.   I'm sorry.    On my screen it's showing 2008/11/09.

 10     Q.   Oh, I'm sorry.    Okay.        All right.              I'm sorry,

 11     Mr. Antonopoulos, I had that wrong.                     Yes, I see it now.

 12          Thank you, sir.      Thank you for the correction.

 13          November 9, 2008.

 14     A.   That's what I see, yeah.

 15     Q.   You would agree with me, a year and a half is in the --

 16     it's before the mid-year of 2007, right?

 17     A.   Yes.

 18     Q.   And on another occasion -- and we don't have to go through

 19     all this -- he said he had been working on this since at least

 20     2007?

 21     A.   Yes.

 22     Q.   All right.

 23                 MR. RIVERO:    Actually, and I'd like to -- Judge, I'd

 24     like to move the admission, if there's no objection.                     If we can

 25     show Plaintiffs' counsel D382.                I would like to move the

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  1     admission of that document, as well as D390.                          If there's no

  2     objection.

  3               THE COURT:    Hold on.            Let's take D382.

  4               Is there any objection?

  5               MR. ROCHE:    Your Honor, we object on the basis that

  6     Mr. Antonopoulos cannot authenticate the email being shown to

  7     him.

  8               THE COURT:    The objection is sustained.

  9               And the next exhibit that you're seeking to introduce?

 10               MR. RIVERO:     Defendant's 390.                    And Judge, I just --

 11     the expert's opinion has been -- he does not challenge the

 12     authenticity of any of these exhibits as being authentically

 13     from Satoshi Nakamoto.

 14               MR. ROCHE:    Your Honor, it's not a question --

 15               THE COURT:    Yeah.         I don't think that's the basis of

 16     the objection with regard to the authenticity.

 17               MR. RIVERO:     Judge, I'm saying -- I thought that was

 18     the objection.     I may have misunderstood, Your Honor.

 19               THE COURT:    Is this witness even aware of these

 20     emails?

 21               MR. RIVERO:     Judge, this witness has testified in his

 22     expert testimony that he knows which emails are valid Satoshi

 23     emails before December of 2010.

 24               THE COURT:    With regard to Exhibit 382, the exhibit is

 25     sustained.    If you want to establish a basis for the

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  1     introduction, you may.

  2                And what's the next exhibit?

  3                MR. RIVERO:    390.

  4                THE COURT:    Is there any objection with regard to 390?

  5                MR. ROCHE:    Same objection, Your Honor.

  6                THE COURT:    All right.             Then let's continue.

  7     BY MR. RIVERO:

  8     Q.   All right.    Sir, let me just ask you on 390:                   Do you have

  9     any reason to doubt that this is legitimately from Satoshi?

 10     A.   No.

 11     Q.   And sir, as to -- if we can show you 382.

 12          Do you have any reason to doubt that 382 is legitimately

 13     from Satoshi?

 14     A.   I can't see the email address that sent this because there

 15     are no headers.     So it's harder to say.

 16     Q.   Okay.

 17                MR. RIVERO:    Your Honor, I would, based on that

 18     testimony --

 19     BY MR. RIVERO:

 20     Q.   Sir, and part of your expert opinion is that you have the

 21     ability to look at emails prior to December of 2010 and

 22     determine whether or not they are legitimate Satoshi emails.

 23          Is that not right?

 24                MR. ROCHE:    Your Honor --

 25                THE WITNESS:     No, that is not right.

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  1     BY MR. RIVERO:

  2     Q.   You have testified that you do know which ones are

  3     legitimate, have you not?

  4     A.   No.

  5                 MR. RIVERO:    Okay.        Judge, I'll put this aside, at

  6     least for the moment.

  7     BY MR. RIVERO:

  8     Q.   Now, sir, let me just make sure that -- I want to make

  9     sure.   Based on what we've just seen about this timing that you

 10     have agreed to, if the coding started sometime in 2007 or as

 11     early as 2006, you would agree, I think you already said, that

 12     a lot of the work was done by the middle of 2000 -- before the

 13     middle of 2008, right?

 14     A.   I don't know what percentage of the work was done.

 15     Q.   Okay.    But you agree with me that it had to be -- the

 16     coding had to be done before you could start writing the

 17     whitepaper to describe the final product.

 18     A.   I believe that some of the coding had to be done before.

 19     And I believe that's what Satoshi said in that email.

 20     Q.   All right, sir.      And so let me just move this timeline.

 21          There's an invitation that we've talked about on March 12,

 22     2008, in the email we saw earlier, right?

 23     A.   Yes.

 24     Q.   Right.   Are you aware that the next data point, the next

 25     date that the Plaintiffs offer about David Kleiman's

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  1     involvement in Bitcoin during his life, is November 26th, 2009?

  2               MR. ROCHE:    Objection.              Outside the scope.

  3               THE COURT:    Overruled.

  4               THE WITNESS:      I'm not aware.

  5     BY MR. RIVERO:

  6     Q.   Sir, are you aware that that's what -- that the Plaintiffs

  7     have alleged in their second amended complaint that there is a

  8     personal conversation between David Kleiman and Ira Kleiman on

  9     November 26th, 2009?

 10     A.   I'm not aware of that.           I --

 11     Q.   Let me show you to refresh your recollection.                    I'm going to

 12     show you the second amended complaint that you have testified

 13     you did review.

 14               MR. RIVERO:     Mr. Shaw, if you could show the --

 15     Plaintiffs' counsel and the witness Exhibit -- the second

 16     amended complaint, sir, at Page 12, Paragraph 58.

 17               Judge, I believe I need to ask my team the number for

 18     that exhibit, if I may.

 19     BY MR. RIVERO:

 20     Q.   Okay.   So we're going to show you from the second amended

 21     complaint --

 22               THE COURT:    Hold on.            Is this an exhibit?

 23               MR. RIVERO:     Judge, I believe it's marked as an

 24     exhibit, but I'm refreshing recollection.

 25               THE COURT:    But I thought you went over to the table

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  1     to get the number of the exhibit.

  2                 MR. RIVERO:   Yes.        Thank you.

  3                 Can I get the exhibit number?

  4          (Pause in proceedings.)

  5                 MR. RIVERO:   404, Your Honor.

  6                 And what I'd ask is that Mr. Antonopoulos and

  7     Plaintiffs' counsel be shown Page 12, Paragraph 58.

  8     BY MR. RIVERO:

  9     Q.   Now, sir, you've seen this before and I'd ask you to read

 10     to yourself Paragraph 58 and ask -- you can continue -- yeah.

 11     Let's start with Paragraph 58 -- and ask you if that refreshes

 12     your recollection, that the next date that the Plaintiffs make

 13     reference to a fact during David Kleiman's life -- this is

 14     after the March 2008 email -- the next date that they refer to

 15     is the November 26th, 2009 Thanksgiving Day story.

 16     A.   Yes.    That's what I read here.

 17     Q.   Do you remember that now?

 18     A.   Now I do.

 19     Q.   Okay.    And sir, do you remember now that the story is that

 20     on that day -- Thanksgiving 2009 is a little bit less than 12

 21     years ago, right -- a little bit more than 12 years ago -- a

 22     little bit less -- I'm sorry -- a little bit less than 12 years

 23     ago, right?

 24     A.   Yes.

 25     Q.   Okay.    And that on that day, the allegation in the

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  1     complaint you've reviewed is that Ira Kleiman talks to David

  2     Kleiman and there's a conversation -- we don't need to go into

  3     the details -- but David Kleiman says:                        "I'm creating my own

  4     money."

  5     A.   Yes.    That's what I read here.

  6     Q.   And isn't it the case that he also says -- and I will

  7     direct your attention to 60 just to refresh your

  8     recollection -- that he was making digital money?

  9     A.   Yes.

 10     Q.   Now, I'm talking now about your expertise.                       You don't know

 11     anything about the Thanksgiving Day story, right, other than

 12     it's an allegation?

 13     A.   No.

 14     Q.   Yeah.   You weren't there?

 15     A.   I don't know anything about the facts of this case other

 16     than what I read here.

 17     Q.   Okay.   So -- but you understand that's what's been said

 18     by --

 19     A.   Yes.

 20     Q.   -- Ira Kleiman.

 21          Okay.   Now, sir, would you agree with me that on November

 22     26th, 2009, Bitcoin had been invented for more than a year,

 23     almost for 13 months?       Right?

 24     A.   Yes.

 25     Q.   And Bitcoin had been released and was operational by early

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  1     January 2009; isn't that right?

  2     A.   Yes.

  3     Q.   And sir, from your book, I was able to extract that a

  4     calculation -- that by November 26th, 2009 -- you would agree

  5     with me the Genesis Block was mined in the beginning of January

  6     2009, right?

  7     A.   On or after January 3rd of 2009.

  8     Q.   This digital money was already being obtained, right?

  9     A.   By November 26th, 2009, yes.

 10     Q.   By early January of 2009, it was being mined up?

 11     A.   Yes.

 12     Q.   Okay.    And do you know -- do you happen to know by November

 13     26th, 2009, how many hundreds and hundreds and hundreds and

 14     hundreds of thousands of Bitcoin had been mined up?

 15     A.   Not off the top of my head.                But, you know, that would

 16     require a calculator.

 17     Q.   Right.    We both know it's a pretty simple arithmetic

 18     calculation, right?

 19     A.   50 Bitcoin per block times the number of blocks between

 20     January 3rd and whatever date you pick.

 21     Q.   Every 10 minutes, approximately?

 22     A.   That's correct.

 23     Q.   I couldn't have said it better myself.                           You're the

 24     explainer-in-chief.

 25          It would be whatever the number of days are between, say,

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  1     January 3rd -- we can pick a date -- to November 26th, 2009,

  2     right?

  3     A.   It's the number of blocks.               Days and time are on average,

  4     but it's actually blocks, so --

  5     Q.   Do you know the number of blocks on November 26th, 2009?

  6     A.   I don't.    But it's recorded in the blockchain.

  7     Q.   Right.    So it's knowable.            You could know the number?

  8     A.   Absolutely.

  9     Q.   But you would agree with me another rough way we could get

 10     there is that you know that approximately the number of blocks

 11     is one every 10 minutes --

 12     A.   Uh-huh.

 13     Q.   -- right?

 14     A.   Yes.

 15     Q.   And at the beginning, you've explained to the jury, there's

 16     a higher award for the mining so it's about 50 Bitcoin -- it is

 17     50 Bitcoin per block?

 18     A.   Precisely.

 19     Q.   And then there are so many months, days, hours and minutes

 20     in that time period, right?

 21     A.   Yes.

 22     Q.   And we break it down and divide it, it's a little bit of

 23     arithmetic, and we can know pretty precisely how many Bitcoin

 24     were mined by that date.

 25     A.   Yeah.

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  1     Q.   In fact, the chart in your book -- I'm sorry -- in your

  2     expert report shows many, many hundreds of thousands of Bitcoin

  3     by that time, right?

  4     A.   Yes.

  5     Q.   Yeah.    Let me see if I -- I'm misplacing the calculation,

  6     sir, and I don't want to actually do it again.                        But we did it

  7     before and I'm just going to ask --

  8                 MR. RIVERO:   Thank you.              Thank you, Ms. McGovern.

  9     BY MR. RIVERO:

 10     Q.   Sir, we did a rough calculation.                     So isn't it true that if

 11     the Bitcoin were being mined every 10 minutes and if we --

 12     here's what I will do.        Assume with me for the moment that the

 13     start date was January 3, 2009.

 14          Can you do that?

 15     A.   Yes.    The Genesis Block was mined January 3rd, 2009.

 16     Q.   So that is the start date?

 17     A.   Yeah.

 18     Q.   Okay.    And the end date is knowable with the allegation;

 19     that's November 26th, 2009.             Are you with me?

 20     A.   Yes.

 21     Q.   Okay.    And if we take the -- if we take a rate of 10

 22     Bitcoin per minute, isn't it true that that would yield

 23     2,361,600 Bitcoin with a number of assumptions --

 24     A.   I -- sorry, you lost me there.                    You said:      "Bitcoin per

 25     minute"?

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  1     Q.   I said that wrong.       Let me correct that because the

  2     nomenclature is important.

  3          Assuming a block being mined every 10 minutes -- and thank

  4     you, Mr. Antonopoulos.        Obviously, you could explain this much

  5     better than I -- if a block is mined every 10 minutes, that's

  6     50 Bitcoin every 10 minutes, right?

  7     A.   Correct.

  8     Q.   So -- and I don't know if you have a phone with you or a

  9     calculator with you.      I'm glad to hand you mine.

 10     A.   I do not.

 11     Q.   But if we did the 10 minutes properly, it's just a matter

 12     of multiplying 50 Bitcoin by however many 10-minute time

 13     periods there are between January 3rd and November 26; isn't

 14     that right?

 15     A.   And that would be an approximation.                        But, yes.

 16     Q.   Yeah.   It could be up or down --

 17     A.   That's correct.

 18     Q.   -- but not 10 percent, right, if you did it right?

 19     A.   Probably not that much, not 10 percent.

 20     Q.   Okay.   If you'll assume with me for the moment that we did

 21     the math right and we came up with 2,361,600 -- another day

 22     I'll show it to the jury on paper -- but would you agree with

 23     me that that's more than 10 percent of all the Bitcoin that are

 24     ever going to be released under Satoshi's initial formulation

 25     of the blockchain?

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  1     A.    I wouldn't do the calculation that way.                         And the reason I

  2     wouldn't do the calculation -- so no, I wouldn't agree.                          I

  3     wouldn't do the calculation that way.

  4     Q.    But Mr. Antonopoulos, maybe -- I'm not asking about you

  5     about -- if you're going to correct me on the calculation, I'd

  6     like to talk to you about that.

  7           I'm just asking -- assume for the moment it's 2,361,600.

  8     Assume that as an expert.

  9     A.    Yes.    Okay.

 10     Q.    And if you assume that that -- we'll come back to the

 11     calculation.     I don't have any problem.

 12     A.    Okay.

 13     Q.    But I want you to answer -- this question that I'm asking

 14     is:    If it was 2,361,600 Bitcoin, that's more than 10 percent

 15     of all the Bitcoin that can ever or will ever be released under

 16     the original Satoshi Nakamoto conception of how this is

 17     supposed to work, right?

 18     A.    Yes.

 19     Q.    Okay.   Because Satoshi said only 20 million would be

 20     released ever, right?

 21     A.    Just a bit less than 21 million is written in the code,

 22     yes.

 23     Q.    Thank you, sir.

 24           That is immutable, right, that -- I assume you would agree

 25     with me that if anybody ever tried to change that, they would

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  1     be blowing up Satoshi's original intent?

  2     A.   They would create something that is not Bitcoin by

  3     anybody's understanding of Bitcoin.

  4     Q.   Okay.    So in other words, it's definitional.

  5     A.   It's definitional, yes.

  6     Q.   Okay.    And thank you for correcting me.                        It's not

  7     20 million and it's not exactly 21 million either.                          But it's

  8     somewhere close to 21 million?

  9     A.   We can calculate it precisely by counting blocks instead of

 10     minutes, but yes.

 11     Q.   Okay.    And in any event, 2.3 or 2.4 million Bitcoin would

 12     be more than 10 percent of either number?

 13     A.   Both of those numbers, yes.

 14     Q.   Now, sir, on the calculation, we did it just saying we

 15     tried to figure out the 10 minutes -- the 10-minute periods, a

 16     block is 50 Bitcoin, and tried to do it.                          It's a very rough

 17     way, but I understand you don't agree that that's the right way

 18     to do it?

 19     A.   That's not the way I would do it because it lacks

 20     precision.

 21     Q.   Can you suggest, though -- because I might want to use your

 22     way -- how would you do it?

 23     A.   I would look at the blockchain and find the first block

 24     that had a timestamp in universal time of the date I wanted to

 25     measure.     For example, November 26th, 2009, I believe you said?

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  1     Q.   Yeah.

  2     A.   And I would look at what block number that was and I would

  3     have a precise number at that point of the number of blocks

  4     issued on the first minute of that day, if you like.                     And I

  5     would then multiply that number by 50 and I would get a precise

  6     answer rather than an approximation.

  7     Q.   So, thank you, Mr. Antonopoulos.                     I think you've just given

  8     me the key to this.

  9          The -- assuming I can find out what time Thanksgiving

 10     dinner was at the Kleiman household on November 26th, 2009, I

 11     can actually find precisely what the last block was and where

 12     that would put us in terms of the total Bitcoin mined by that

 13     moment; isn't that right?

 14     A.   Yes.    That information is recorded in the blockchain.

 15     Q.   So we did a rough calculation that you say could be, you

 16     know, off something less than 10 percent, but there's a way to

 17     know, right?

 18     A.   Yes.

 19     Q.   In any event, would you agree with me that Satoshi would

 20     not have said on a day that 10 percent, approximately, or more

 21     than 10 percent of the coin had been released and a day where

 22     the code had already been announced in the whitepaper, had

 23     already been put in operation and had already been debugged --

 24     Satoshi would never have said that he was inventing Bitcoin on

 25     that day, would he?

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  1                 MR. ROCHE:   Objection.             He's asking Mr. Antonopoulos

  2     to --

  3                 THE COURT:   What's the legal basis, please?

  4                 MR. ROCHE:   Speculation.

  5                 THE COURT:   Sustained.

  6     BY MR. RIVERO:

  7     Q.   All right.    Sir, you're an expert, you hold yourself out as

  8     the foremost expert in the world about Bitcoin, correct?

  9     A.   I'm an expert in Bitcoin, yes.

 10     Q.   You say your book is the most cited book?

 11     A.   Yes.

 12     Q.   And you have come to the Court to say that you know

 13     which -- you can say which emails are Satoshi's, right?

 14     A.   I know which email addresses were used by Satoshi, yes.               I

 15     haven't forensically evaluated the emails, no.

 16     Q.   All right.    But you weren't present on November 26th to

 17     help us out to know if the words were said or what the

 18     intention was, right?

 19     A.   No.

 20     Q.   Okay.   Now, let me turn to another subject, sir.

 21          You gave some testimony about how mining worked at

 22     different times, right?

 23     A.   Yes.

 24     Q.   And you told this jury something based on a chart in your

 25     expert report about what kind of machine was used when, right?

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  1     A.   What types of machines were used in two distinct eras of

  2     Bitcoin, yes.

  3     Q.   Okay.    Now, but the case is that you have written that by

  4     2010, an individual named Jing.

  5          Am I pronouncing that right, Mr. Antonopoulos?

  6     A.   Yes.

  7     Q.   Okay.    Is that Mr. or Ms. Jing?

  8     A.   I have no idea.    It's a fictional character in my book to

  9     provide some name to use in the stories.

 10     Q.   Okay.    So -- but you're illustrating in your book what's

 11     happening at different time periods in terms of mining, right?

 12     A.   Yes.

 13     Q.   And so you make up this character Jing, and you have -- in

 14     2010, you have Jing starting to use much more sophisticated

 15     devices to mine, correct?

 16     A.   I don't recall exactly what I wrote in the book.

 17     Q.   Well, do you remember saying that Jing and other miners

 18     upgraded to more specialized hardware such as high-end

 19     dedicated graphical processing units --

 20     A.   Yes.    Yes, I did.

 21     Q.   -- in 2010?

 22     A.   Yes.    These are graphics cards, as you can find in any

 23     gaming computer that people have at home.

 24     Q.   Okay.    And then as the difficulty went up, they shifted

 25     over time to an Application-Specific Integrated Circuits,

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  1     right?

  2     A.   That didn't happen until 2013, late 2013.

  3     Q.   You didn't say that in your book, did you?

  4     A.   I don't know if I said that in my book.                          I have a section

  5     on ASICs in my book, which I believe I describe the dates.

  6     Q.   Well, I'll make sure to look at it as we can here as we're

  7     talking.

  8     A.   Okay.

  9     Q.   But certainly in your description of Jing, you date when

 10     the GPUs came into effect, this -- this high-end dedicated GPU

 11     as 2010, right?

 12     A.   Yes.

 13     Q.   Is that a fact?

 14     A.   Yes.

 15     Q.   Okay.   But you -- as you sit here today, you don't remember

 16     that you didn't date the use of the ASIC, the Applied-Specific

 17     Integrated Circuits?      You don't date that?

 18     A.   ASICs didn't exist before 2013.                    And it's a completely

 19     different class of computing.

 20     Q.   All right.    Now, what I want to --

 21     A.   Bitcoin did not exist.

 22     Q.   Let me make this simple.

 23          What an ASICs is is basically you take the computer itself

 24     and you strip out everything else that we would use, like the

 25     screen and all of the functions, so that it's just aimed at one

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  1     function, which is mining, right?

  2     A.   No.   That's not correct.

  3     Q.   That's oversimplified?

  4          Okay.    So do you agree it's a specialized machine for the

  5     mining of Bitcoin?

  6     A.   It's a specialized integrated circuit.                           It's not just a

  7     machine.     It's a chip that has been printed in a semiconductor

  8     facility that only has the ability to do the Bitcoin mining

  9     hash function on it.      So it doesn't do general-purpose

 10     computing.     It only does --

 11     Q.   Everything else is taken out --

 12                MR. ROCHE:    Your Honor, please let the witness -- Mr.

 13     Rivero, let --

 14                THE COURT:    If you'll let the witness finish his

 15     answer, please.

 16                MR. RIVERO:    Sorry, Judge.

 17     BY MR. RIVERO:

 18     Q.   It can't do other things?

 19     A.   It can't do other things because general-purpose computers

 20     have -- are designed to do general-purpose computing.                           An

 21     Application-Specific Integrated Circuit is designed to only

 22     implement one algorithm and I wouldn't characterize that is

 23     "stripping down."

 24          It's purpose built for that function only.                          Many

 25     general-purpose computers don't even have special hardware to

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  1     do hashing functions.

  2     Q.   Thank you, sir.

  3          Okay, sir.    Would you agree with me -- I think you said

  4     this in your initial testimony -- at the beginning, Satoshi --

  5     he she, they -- when other people hadn't started adopting, had

  6     to get computers in to start mining because people didn't

  7     really know about it, right?

  8     A.   Had to use computers that were applied to the mining

  9     purpose, yes.

 10     Q.   And that would be multiple computers, right?

 11     A.   We have no way of knowing how many computers or what types.

 12     Q.   Have you ever heard the estimate that it had to be 32 or 64

 13     computers to get it going because of the spread with the nodes?

 14     A.   I've heard many estimates.               I wouldn't necessarily put

 15     credence to any one of those.

 16     Q.   It had to be several, though, to have any validity because

 17     of this checking function, right?

 18     A.   No.   A single computer powerful enough to do the mining

 19     would be enough.     Several computers could be used of different

 20     power levels.     You can mix and match different types and

 21     different -- more powerful, less powerful computers that you

 22     have to do that.

 23     Q.   I think you explained that the concept of the way that the

 24     Bitcoin blockchain is set up is to incentivize or motivate

 25     people to jump in because even though they have to spend with

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  1     electricity, they could earn blocks.                      So the idea is to get

  2     more people doing it, right?

  3     A.   Once people believe that the Bitcoin has value, yes.

  4     Q.   And Satoshi, of course, to make this thing work, would want

  5     people to get in, right?

  6     A.   Yes.

  7     Q.   And he would -- in fact, he would need people to get in

  8     because if they didn't and it stayed at one, that would go

  9     nowhere and that would be the end of it, right?

 10     A.   Yes.

 11     Q.   Now, do you have any personal knowledge -- you do not have

 12     any personal knowledge that David Kleiman ever asked a soul to

 13     mine, do you?

 14     A.   I do not.

 15     Q.   You don't know whether David Kleiman asked his brother, Ira

 16     Kleiman, to mine, do you?

 17     A.   No.

 18     Q.   You don't know whether David Kleiman asked his very close

 19     friend, Kimon Andreou, to mine, do you?

 20     A.   No.

 21     Q.   You don't know whether David Kleiman asked his close

 22     friend, Patrick Paige, to mine, do you?

 23     A.   No.

 24     Q.   You don't know whether David Kleiman asked Patrick Paige --

 25     pardon me -- Carter Conrad, his close friend and business

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  1     partner, to mine, do you?

  2     A.   No.

  3     Q.   Sir, you don't -- and you don't know one way or the other

  4     whether Craig Wright asked anybody to mine, do you?

  5     A.   No.

  6     Q.   And you don't know whether David Kleiman was mining?

  7     A.   No.

  8     Q.   But you did tell the jury that you could mine from a

  9     desktop, right?

 10          You told them on your direct, right?

 11     A.   Yes.

 12     Q.   In the beginning, you could mine from a desktop?

 13     A.   That's correct.

 14     Q.   And you could mine from a wheelchair.

 15     A.   I --

 16     Q.   You testified you could mine from a wheelchair.

 17          You remember that?

 18     A.   I believe I said you could mine if you were paralyzed from

 19     the waist down or something to that effect.                           I don't remember a

 20     wheelchair being mentioned, but yes.

 21     Q.   But it's the same, right?              You could mine from your house?

 22     A.   Yes.

 23     Q.   You could mine with a mouse?

 24     A.   No, you can't mine with a mouse.                     You need software running

 25     on a computer.

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  1     Q.   Okay.    But you had a problem mining, didn't you?

  2     A.   I had a problem mining?

  3     Q.   Yeah.    You never -- you've never successfully mined a

  4     single block in your life?

  5     A.   I have mined.    I've mined --

  6     Q.   I'm sorry.    You have to answer --

  7                 MR. ROCHE:   Your Honor, let him finish his previous

  8     answer.

  9                 THE COURT:   Has the witness completed his answer?

 10                 THE WITNESS:     I haven't mined Bitcoin; I've mined

 11     other blockchains.

 12     BY MR. RIVERO:

 13     Q.   So you have never -- you're testifying to the jury about

 14     this, about mining.      You, sir, have never successfully mined

 15     any Bitcoin, right?

 16     A.   I have not mined Bitcoin, no.

 17     Q.   No, you didn't try until 2013?

 18     A.   I -- no, I didn't.

 19     Q.   And when you did, you didn't use an ASIC in 2013, did you?

 20     A.   No.    Someone gifted me a little USB crypto miner and I

 21     played with that for a bit.

 22     Q.   Okay.    It's 2013, right?

 23     A.   (No verbal response.)

 24     Q.   Right?

 25     A.   Yes.

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  1     Q.   And you want to learn this stuff, right?

  2     A.   Yes.

  3     Q.   In 2013.

  4          I take it that trying to mine would be helpful to learning

  5     it, right?

  6     A.   Yes.

  7     Q.   And what you chose to use was a -- I'm sorry that I can't

  8     describe the little thing that -- you just held up your hand.

  9     You used what?

 10     A.   It was a USB.    I think that was 2013 -- but I don't

 11     remember the exact date -- I was gifted a USB device that was

 12     specialized for mining.

 13     Q.   Okay.   And I assume, sir -- you have -- I believe you have

 14     a master's degree, if I'm not mistaken; isn't that right?

 15     A.   Yes.

 16     Q.   And you teach at the University of Nicosia, right?

 17     A.   I do.

 18     Q.   Where is that located?

 19     A.   In Nicosia in Cyprus.

 20     Q.   And you teach, right?

 21     A.   I'm sorry?

 22     Q.   You teach?

 23     A.   I teach, yeah.

 24     Q.   So I assume that when you tried to mine, that you intended

 25     to mine; isn't that right?

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  1     A.   I intended to use the software, but I didn't do it in order

  2     to earn a block report.

  3     Q.   Okay.    Let me see if I understand this.

  4          You didn't want to mine a -- you don't want to mine a

  5     block?

  6     A.   No.   I did it for the educational value, not for -- you

  7     know, not as a profit-seeking job.

  8     Q.   What do you do for profit -- sir, for a profit-seeking job,

  9     your sell merchandise, don't you?

 10     A.   No.   I teach people how to understand the technology of

 11     Bitcoin.

 12     Q.   Well, sir -- okay.       I'm going to assume, sir, that you draw

 13     a salary from the University of Nicosia?

 14     A.   I did after a point, yes.              Not a salary.             I get paid for

 15     the course I teach.

 16     Q.   But you don't get paid for your podcasts, right?

 17     A.   No.   I do that voluntarily, free.

 18     Q.   Right.    You don't get paid for your media interviews, do

 19     you?

 20     A.   No.

 21     Q.   You don't get paid when you come -- well, you get paid to

 22     testify, right?

 23     A.   I get paid for my expertise here, yes.

 24     Q.   Yeah.    But you also get paid because you sell merchandise

 25     on your website, right?

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  1     A.   Yes.

  2     Q.   And you also get paid through something called -- I may

  3     mispronounce it -- Patreon?

  4     A.   Patreon, yes.

  5     Q.   And sir, I'm not sure that I understand it, but is it

  6     something where -- let me see if I know the story.

  7          In 2013, you had bought some Bitcoin, right?

  8     A.   I had bought --

  9                 MR. ROCHE:   Objection.             Relevance.

 10                 THE COURT:   Sustained.

 11     BY MR. RIVERO:

 12     Q.   Oh, okay.   Sir, in this Patreon thing, though, you --

 13     because you had -- because you did not have funds, you sought

 14     to have people contribute Bitcoin to your Patreon account,

 15     right?

 16                 MR. ROCHE:   Objection.             Relevance.

 17                 THE COURT:   Sustained.

 18     BY MR. RIVERO:

 19     Q.   Now, Mr. Antonopoulos, you testified about certain prices

 20     on certain dates for Bitcoin, right?

 21     A.   Yes.

 22     Q.   And I didn't see on your chart -- did you use -- on the

 23     chart, did you use the source for that information?

 24     A.   Yes.   The source is CoinCap, which is a price aggregator

 25     service.

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  1     Q.   Right.    Okay.   So you do cite CoinCap?

  2                 MR. RIVERO:   If we could show Page 23 of the

  3     Plaintiffs' demonstrative, Mr. Shaw.

  4     BY MR. RIVERO:

  5     Q.   The citation is you used, the little symbol at the top,

  6     that's CoinCap, right?

  7     A.   Yes.

  8     Q.   Now, you told the jury about what -- what one would do to

  9     try to figure out prices on a certain day, did you not?

 10     A.   Yes.

 11     Q.   And as I understand, you said what one would do is you

 12     would take different indices or reports of market price and you

 13     would weight-average those reports from different sources,

 14     right?

 15     A.   It's a bit more complicated than that.                           I describe that for

 16     reasons of simplicity in those terms.                       But, in essence, yes.

 17     Q.   Okay.    So -- okay.

 18          So you're saying it's a more complex process than what I

 19     just described, right?

 20     A.   Yes.    For example, at the Chicago Mercantile Exchange,

 21     where I'm a member of the oversight committee, we have a whole

 22     set of criteria and processes for how the average is calculated

 23     and --

 24     Q.   But you're on an oversight board.                      You don't do that

 25     calculation at the Chicago Mercantile Exchange, right?

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  1     A.   No.    The calculation is done automatically by software.

  2     Q.   Right.    You didn't write the software?

  3     A.   No.

  4     Q.   You know the criteria?

  5     A.   Yes.

  6     Q.   Okay.    Now, you didn't do whatever that somewhat more

  7     complex process is to weight-average and do -- and apply other

  8     criteria to determine a BTC spot price on a given day.                           You

  9     didn't do that personally, right?

 10     A.   No.

 11     Q.   What you did was you went to a website called CoinCap and

 12     you looked at what the number is that's reported on CoinCap as

 13     the BTC price for that date, right?

 14     A.   No.

 15     Q.   Well, sir, this didn't come from -- this didn't come from

 16     the CoinCap website?

 17     A.   It came from the CoinCap application programming interface,

 18     meaning that I didn't click on the website.                           I accessed the

 19     historical data that is provided from their database

 20     programmatically.

 21          It's simply instead of looking at the website, I have a

 22     program go out and pull the data for specific dates and

 23     specific coins.

 24     Q.   Does it have any practical difference?                           I'm not sure --

 25     now, I'm frankly confused.

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  1          One is -- what is it, you have to like make like a query

  2     into their data?

  3     A.   That's correct.

  4     Q.   Okay.   So you just ask for the date?

  5     A.   You ask for a specific date, a specific price point, which

  6     is the daily average, and ask specific coin.                          This information

  7     is not presented as easily on the website to retrieve like

  8     that.

  9     Q.   So you have to put which coin -- well, I'm sorry.                        I

 10     shouldn't should say -- not "coin," which cryptocurrency or

 11     however we refer to these monies.                   You have to put that, you

 12     have to put a date and then you draw it out of the database of

 13     this website, right?

 14     A.   Yes.

 15     Q.   Okay.   All right.     That's what you did to get these

 16     numbers, right?

 17     A.   Yes.

 18     Q.   Now, you're not on the oversight board of CoinCap, right?

 19     A.   No.

 20     Q.   Okay.   And you don't have a hand in developing the criteria

 21     for CoinCap's determination of this data, right?

 22     A.   No.

 23     Q.   And, in fact, your testimony is that you don't know exactly

 24     what quality control CoinCap has for the determination of daily

 25     price; isn't that right?

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  1     A.   Yes.

  2     Q.   And, in fact, the dates that were picked here, sir, April

  3     26th, 2013 -- first of all, did you pick them or did

  4     Plaintiffs' counsel pick them?

  5     A.   Plaintiffs' counsel asked me to retrieve prices for

  6     specific dates.

  7     Q.   Okay.    So it wasn't Andreas Antonopoulos that decided to

  8     put these four dates in front of the jury, right?

  9     A.   No.

 10     Q.   Okay.    So it was these gentlemen?

 11     A.   Yes.

 12     Q.   It was these gentlemen?

 13     A.   Right.

 14     Q.   I assume -- do you know why -- I assume you were -- I don't

 15     know if you know.

 16          Do you know if you were asked April 26th, 2013, because

 17     that's the day that David Kleiman died?

 18     A.   If you say so.    Yes.       Now I know.

 19     Q.   Because you don't actually -- because you don't know the

 20     details of the case or Mr. Kleiman's life; you don't know if

 21     that's the day he died?

 22     A.   Yes.    I haven't studied the facts of the case.

 23     Q.   That's fine, sir.

 24     A.   So I'm not here to testify on that.

 25     Q.   Do you know any reason in the world that February 14, 2018

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   1    should be chosen?

   2    A.   I don't know.     As I said, I was asked to provide prices for

   3    specific dates.

   4    Q.   I'm going to ask the same question, sir.

   5         Was there a -- is there a reason that October 20th, 2021

   6    was picked other than what you told the jury, that that's the

   7    single highest price ever listed on CoinCap for Bitcoin?

   8         Is there any other reason or is that the reason?                 I don't

   9    even know.

  10    A.   I believe that's the reason.

  11    Q.   Okay.    Were you asked to do October 20th or were you asked

  12    to include in your report the single highest day ever?

  13    A.   I was asked to include the date of the highest price for

  14    that one.

  15    Q.   And then I assume you were asked October 30th because it

  16    was the day -- the last business day before the trial started

  17    or do you know?

  18    A.   (No verbal response.)

  19    Q.   Do you know?

  20    A.   That was the Saturday.           I was -- I pulled the most recent

  21    information I could in time for the trial.

  22    Q.   I got it.

  23         And does this report for Sundays?

  24    A.   Sorry?

  25    Q.   Does this CoinCap thing report for Sundays?

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   1    A.   Yes.    Markets in Bitcoin run 24 hours a day, 365 days a

   2    year.

   3    Q.   Okay.    But the ones that was practical to pull was the

   4    Saturday?

   5    A.   Yes.

   6    Q.   Okay.    All right.

   7                MR. RIVERO:    Judge, may I have one --

   8                THE COURT:    Certainly.

   9                MR. RIVERO:    And Judge, I'm aware of the time so would

  10    you like me to continue or --

  11                THE COURT:    Yes.

  12         (Pause in proceedings.)

  13    BY MR. RIVERO:

  14    Q.   Mr. Antonopoulos, now, just not to belabor it, but you came

  15    to talk to the jury about these prices, but prices are not

  16    values.

  17         You agree with me on that, right?

  18    A.   I'm sorry.    I don't understand the question.

  19    Q.   All right.    And Mr. Antonopoulos, I want to make sure that

  20    you and I understand each other.

  21         You are not a trained economist, right?

  22    A.   That's correct, I'm not.

  23    Q.   You've told -- I think what you said in your deposition was

  24    that you took a high school class on economics, one.                   And you

  25    took a college class on economics, one; isn't that right?

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   1    A.    Yes.

   2    Q.    You do not hold yourself out as an expert economist, do

   3    you?

   4    A.    No.

   5    Q.    So let me go back to the question because I think you did

   6    study enough economics to get this distinction.

   7          There's a difference, do you agree with me, between the

   8    price of something and the value of something?                         Right?

   9    A.    I'm not sure I could give you a good definition because I

  10    do not have an economics background.

  11    Q.    Okay.

  12    A.    I do know that the information I presented was the market

  13    price on those dates.

  14    Q.    Well, first of all, sir -- hold on.                        Hold on.   Let's back

  15    up.    Number one --

  16                 MR. RIVERO:   Can we show Page 23 to Mr. Antonopoulos?

  17    BY MR. RIVERO:

  18    Q.    Mr. Antonopoulos, I understand that you've said that you

  19    came here as a neutral, right?

  20    A.    I'm sorry?

  21    Q.    You have testified that you came here as a neutral to

  22    explain things to the jury, right?

  23    A.    Yes.    I see my job as explaining the technology to the

  24    jury, yes.

  25    Q.    Right.    And you came here as an expert on the things that

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   1    you're an expert on, right?

   2    A.   Yes.

   3    Q.   Okay.    So now I want to talk about economics.

   4         Are you with me?

   5    A.   If you want --

   6    Q.   You're not an expert on economics, are you?

   7    A.   I'm not.

   8    Q.   Okay.    When we look -- and I hope it's in front of the

   9    jury -- it's Plaintiffs' demonstrative at Page 23.

  10         When we look at what you said on Page 23, you did not say

  11    market price, did you, sir?

  12    A.   (No verbal response.)

  13    Q.   You did not say market price, did you, sir?

  14    A.   I don't know if I said that during my speech.                           But, yes,

  15    this is the market price.

  16    Q.   No.    No, sir.   I've got a document --

  17                MS. MCGOVERN:     Andres.

  18                MR. RIVERO:   Yes.

  19                Your Honor, I'd like to publish.                          I request that

  20    Page 23 of Plaintiffs' demonstrative that has previously been

  21    shown to the jury be shown to the jury.

  22                THE COURT:    All right.            Certainly you may.             Page 23 of

  23    the demonstrative exhibit.

  24                MR. RIVERO:   Judge, I thought when I was asking these

  25    questions that the jury could see what I was talking about.

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   1                THE COURT:    Well, unless you request it, it won't be

   2    done.

   3                MR. RIVERO:   I apologize.                  I didn't understand.

   4    BY MR. RIVERO:

   5    Q.   All right.    Sir, when you wrote your -- you wrote your

   6    report, right?

   7    A.   Yes.

   8    Q.   Okay.   And you prepared the charts, I assume?

   9    A.   Yes.

  10    Q.   Okay.   You didn't put market price on your chart, did you?

  11    A.   For the purposes of explaining to the jury, the word

  12    "price" encompasses what I'm trying to say.

  13    Q.   Sir, it's such a simple question.                       You didn't write "market

  14    price," did you?

  15    A.   I did not.

  16    Q.   Okay.   And sir, what you wrote was "price," right?

  17    A.   Yes.

  18    Q.   Now, you're not an economist, but even with your limited

  19    economic training, you know that there's a difference between a

  20    market value and a price.            Don't you?

  21    A.   (No verbal response.)

  22    Q.   Mr. Antonopoulos, I want a million dollars for this pair of

  23    glasses.

  24         Would you pay it to me?

  25    A.   No.

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   1    Q.   My price is not necessarily the value in the market; isn't

   2    that right, sir?

   3    A.   I wouldn't consider it's a price until supply has met

   4    demand in a market, which is as I described it to the jury.

   5         So your offer would not be accepted and, therefore, that

   6    would not be recorded as the price.

   7    Q.   Sir, but you know very well because you've testified that

   8    these prices that you're showing to the jury, they are not what

   9    even you would say is a realizable value; isn't that right?

  10    A.   These are the prices that were realized on that day.

  11    Q.   No.    No.   I said you know that you have testified -- you

  12    don't know if these are realizable values.

  13         You've said that, haven't you?

  14    A.   Yes.

  15    Q.   And the point is, somebody may have sold a Bitcoin or five

  16    Bitcoins or add it up, whatever number, but these don't say

  17    that, for example, if I have 10,000 Bitcoin, that I can go on

  18    that market and sell it for that price.                         That's not what that

  19    means, right?

  20    A.   No.

  21    Q.   Because if, for example, somebody went today to try to sell

  22    a million Bitcoin, you don't even know that that could be sold

  23    in a single day, right?

  24    A.   That's correct.

  25    Q.   In fact, the truth is it couldn't be sold in a single day;

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   1    isn't that right?

   2    A.   Probably not.

   3    Q.   You know because you've studied the history of these

   4    markets.     You know there's never been that much trading in this

   5    stuff; isn't that right?

   6    A.   Yes.

   7    Q.   Okay.    So this is a price.             This is a compilation of prices

   8    done by somebody, not you?

   9    A.   Yes.

  10    Q.   Okay.    Now, I want to go back to one thing.                    I misstated it

  11    before.     I asked you incorrectly.

  12         You may or may not know this.                  But do you know that Satoshi

  13    sent the whitepaper to individuals?                     I said it wrong before.

  14    One named -- I think it's a Chinese individual named Wei Dai.

  15         Do you know that happened before the release of the paper?

  16    A.   I have heard that.

  17    Q.   So you're not sure?

  18    A.   I don't remember where I read it.                      And I don't know the

  19    credibility of that statement, but that's what I've heard.

  20    Q.   You can't give that -- you don't know as an expert opinion

  21    that fact, though?

  22    A.   I would have to ask Mr. Wei Dai.

  23    Q.   Do you know if it was released to an individual named -- I

  24    think it was Adam Beck or Adam Back?

  25    A.   Adam Back.

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   1    Q.   Adam Back.    Can you confirm that one?                           Do you know?

   2    A.   Again, you would have to ask Mr. Adam Back.

   3    Q.   Okay.    But you can't give an expert opinion on that?

   4    A.   No.

   5    Q.   No.    So -- but if either were true, sir, if either were

   6    true that the whitepaper was released to these individuals

   7    before publication, then it was done even before Halloween

   8    2008, right?

   9    A.   Under that assumption, yes.

  10    Q.   Okay.    All right.

  11         Now --

  12                MR. RIVERO:    Judge, I want to make sure that I'm

  13    covering everything.       If I could just have a moment.                        I may be

  14    able to finish.

  15                THE COURT:    Certainly.

  16                MR. RIVERO:    Let me see if I have any other subjects,

  17    Judge.

  18         (Pause in proceedings.)

  19    BY MR. RIVERO:

  20    Q.   And Mr. Antonopoulos, this stuff does get a little

  21    complicated sometimes.         I think you would agree?

  22    A.   Yes.

  23    Q.   Okay.    Now, let me just talk about the forks for a minute.

  24    You brought that up to the jury.

  25         And the bottom line of what I think you're giving testimony

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   1    about is that if somebody controls a coin, it's not just

   2    whatever the value is of the Bitcoin, but there's other

   3    cryptocurrencies that are also attached to the same private

   4    key, right?

   5    A.   Yes.

   6    Q.   Okay.    So there's other values there.

   7         Isn't that the point of what you're talking about?

   8    A.   If you control funds before the fork, then you also control

   9    those same funds in all of the chains that emerge from the fork

  10    under their different names and whatever prices they exist on

  11    for the markets.

  12    Q.   Okay.

  13                MR. RIVERO:   So if we could show the jury Page 26 of

  14    the demonstrative that the Plaintiffs have used.

  15    BY MR. RIVERO:

  16    Q.   Now, I just want to start by pointing out that, again, you

  17    did not use "market price" when you talked about these Bitcoin

  18    forks.    Did you use the word "price" -- right?

  19    A.   Yes.

  20    Q.   Yes.    And it's the same source and the same methodology

  21    with this CoinCap, right?

  22    A.   Yes.

  23    Q.   Now, sir, what's interesting to me is there were no forks

  24    as of April 26th, 2013, right?

  25    A.   Yes.

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   1    Q.   And there were -- well, and I know there's 40 different

   2    forks or more, right?       You picked three here, right?

   3    A.   Yes.

   4    Q.   Did you pick them or did Plaintiffs' counsel pick them?

   5    A.   I was asked to do the four largest by market price -- by

   6    market capitalization, sorry.

   7    Q.   Okay.    But I only see -- number one, I only see three.

   8    A.   Bitcoin from the previous slide.                     Those are all part of the

   9    same exercise.

  10    Q.   Got it.    Got it.

  11         So what you were asked to do was by numbers, pick the four

  12    highest and Bitcoin was already done.

  13    A.   The four largest market capitalization Bitcoin forks, which

  14    included Bitcoin, Bitcoin Gold, Bitcoin Cash and Bitcoin SV.

  15    Q.   Okay.    And you have the initials for them here, right?

  16    A.   Yes.

  17    Q.   Now, on April 26th, 2013, none of these existed yet, right?

  18    A.   Bitcoin existed.

  19    Q.   Right.    In other words, the forks?

  20    A.   Yes.

  21    Q.   Okay.    And nothing had forked by April 26th, 2014, a year

  22    later, right?

  23    A.   No.

  24    Q.   And, in fact -- let's pick a date.                       Now I'll pick dates,

  25    sir.

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   1         If we say a year after Craig Wright contacts the Kleimans,

   2    assume with me that Craig Wright contacts the Kleimans in

   3    February of 2014 and tells them David Kleiman may have had

   4    Bitcoin -- if you'll make that assumption.                             There's no fork by

   5    that date in February of 2014, right?

   6    A.   No.

   7    Q.   And there's no fork by February of 2015, is there?                           A year

   8    later?

   9    A.   No.

  10    Q.   No?

  11    A.   No.

  12    Q.   And in fact, there's no fork.                   We would have to go all the

  13    way into 2017 to find a fork, right?

  14    A.   August 1st, 2017.

  15    Q.   Thank you for the date.

  16         So that would be more than four years after Mr. Kleiman's

  17    death?

  18    A.   Yes.

  19                MR. RIVERO:    Your Honor, I have no further questions.

  20                THE COURT:    All right.

  21                Any redirect?

  22                MR. ROCHE:    Your Honor, should we take lunch or --

  23                THE COURT:    Let's proceed with the redirect, please.

  24                MR. ROCHE:    Okay.

  25

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   1                              REDIRECT EXAMINATION

   2    BY MR. ROCHE:

   3    Q.   Mr. Antonopoulos, yesterday, when we discussed your

   4    credentials in providing your expert testimony, you discussed

   5    that you were affiliated with the Chicago Mercantile Exchange?

   6    A.   Yes.

   7                MR. RIVERO:    Objection, Judge.                    Asked and answered.

   8                THE COURT:    Overruled, at this point.

   9    BY MR. ROCHE:

  10    Q.   Can you explain -- and as part of that experience with the

  11    CME, that's for the Chicago Mercantile Exchange, do you have --

  12    are you involved in determining any sort of benchmarks for

  13    pricing in Bitcoin?

  14    A.   I'm not quite sure I understand what you mean by

  15    "benchmarks."

  16    Q.   Are you familiar with BRR?

  17    A.   Yes.    That's -- BRR stands for the Bitcoin Reference Rate.

  18    And the rules that determine how different exchanges apply and

  19    are part of the calculation for the Bitcoin Reference Rates are

  20    determined by the oversight committee that I am on.

  21    Q.   You're involved with helping the oversight committee set

  22    the Bitcoin Reference Rate?

  23    A.   Sets the Bitcoin Reference Rate and then monitor the

  24    implementation of the Bitcoin Reference Rate to produce it.

  25    Q.   Okay.

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   1               MR. ROCHE:    And if we could go back to Slide 23 of

   2    Mr. Antonopoulos' demonstrative.

   3    BY MR. ROCHE:

   4    Q.   And I think I -- so February 14th, 2018, can somebody buy

   5    Bitcoin for $9,000 -- $9,025.88?

   6               MR. RIVERO:    Objection.

   7               THE COURT:    The basis?

   8               MR. RIVERO:    Speculation.                 Lack of expertise.    Outside

   9    the scope of his expert testimony.                     This is all beyond the

  10    scope of his expert opinion, Judge.

  11               THE COURT:    Overruled at this point.

  12               You may continue.

  13               THE WITNESS:     Well, if you understand how this price

  14    emerged, I would argue that someone did buy Bitcoin for 9,025

  15    or thereabouts on average on that day.                        That's why we have that

  16    price.

  17               It is the action of buying and selling, the meeting of

  18    supply and demand, that gives us the price.

  19    BY MR. ROCHE:

  20    Q.   Got it.

  21         And on October 20th, 2021, could somebody have bought

  22    Bitcoin for approximately $64,947.44?

  23               MR. RIVERO:    Objection.

  24               THE COURT:    Sustained.

  25               MR. ROCHE:    Moving on.

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   1    BY MR. ROCHE:

   2    Q.   So if someone had 1.1 million Bitcoin, would they need to

   3    sell it all on one day?

   4    A.   No.

   5    Q.   Could they sell it over time?

   6    A.   Yes.

   7    Q.   I believe you were discussing ASIC minings with Mr. Rivero

   8    before.

   9         When exactly did ASIC mining come into existence?

  10    A.   It depends what we mean by "come into existence."                The

  11    concept of using Application-Specific Integrated Circuits

  12    existed long before Bitcoin.              The use of that technology as an

  13    idea to apply it to Bitcoin happened shortly before 2013,

  14    although it had been discussed previously in 2013.

  15         I don't remember the exact date the first ASICs were

  16    designed and manufactured.            And shortly after they were

  17    manufactured, they were put online and applied to the problem

  18    of Bitcoin mining.

  19    Q.   So in 2009, could you mine Bitcoin with a desktop PC?

  20    A.   Yes.

  21    Q.   In 2010?

  22    A.   Yes.

  23    Q.   2011?

  24    A.   Yes.

  25    Q.   2012?

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   1    A.   Yes.

   2    Q.   Now, Mr. Rivero was discussing some other representations

   3    that you were engaged in as an expert witness.                        The first one

   4    he brought up was you were retained by the defense in the Ross

   5    Ulbricht litigation.      And did you testify in that case?

   6    A.   I did not.

   7    Q.   Why didn't you testify in that case?

   8    A.   My understanding is that the motion to include me as an

   9    expert witness was delivered very late in the case and wasn't

  10    sufficiently documented.          And as a result, the judge did not

  11    accept the defense motion to include me as an expert witness.

  12    Q.   Because the defense lawyers submitted the motion late?

  13    A.   Yes.

  14                MR. RIVERO:   Objection, Judge.

  15                THE COURT:    The basis?

  16                MR. RIVERO:   Leading.

  17                THE COURT:    Sustained.

  18    BY MR. ROCHE:

  19    Q.   What was the basis for -- what was your basis for not

  20    testifying in that litigation?

  21    A.   They submitted me as an expert too late.

  22    Q.   Okay.   And what were you retained to testify about in that

  23    litigation?

  24    A.   I was retained to explain the technology of Bitcoin, to

  25    explain the history of Bitcoin, to explain the component

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   1    technologies, keys, addresses, transactions, very much what

   2    I've been retained to do here.

   3         That case involved evidence which was about Bitcoin

   4    transactions.     And in order to understand that evidence, the

   5    jury needed to understand the technology basics and my job was

   6    to help explain and educate on those topics.

   7    Q.   And did you have an economic interest in the outcome of

   8    that case?

   9    A.   No.

  10    Q.   And then I think there was one other case.                       Mr. Rivero

  11    discussed a litigation involving tether?

  12    A.   Yes.

  13    Q.   And in that litigation, do you have an economic interest in

  14    the outcome of that litigation?

  15    A.   No.

  16    Q.   Okay.   And in this case, what were you asked to do?

  17    A.   The same thing.     I was asked to explain the technology, to

  18    talk about the history, and explain all of the bits that make

  19    Bitcoin work in a way that will allow the jury to be able to

  20    evaluate the evidence.

  21    Q.   And do you have an economic interest in the outcome of this

  22    case?

  23    A.   No.

  24    Q.   You charge by the hour?

  25    A.   I charge by the hour for my time and my expertise

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   1    regardless of the outcome.

   2    Q.   Do you have an economic interest in any of the cases that

   3    you're retained as an expert?

   4    A.   Absolutely not.     I'm a neutral expert.                        My job is to

   5    explain the technology.         And that's all.

   6    Q.   Okay.   I think -- I don't know if it's this cup.                         Oh,

   7    there's water in here.        I think Mr. Rivero was showing you

   8    merchandise earlier where you coined the phrase:                           "Not your

   9    keys, not your coin"?

  10    A.   Yes.

  11    Q.   Do you recall that?

  12         And if I -- can you explain what that phrase means?

  13    A.   Well, again, it's a rule of thumb and it's a kind of quick

  14    and catchy way to help people understand that it's really

  15    important to control your own keys so that you don't lose your

  16    money.

  17         And because people have lost money by entrusting their

  18    funds to exchanges -- a lot of people have.                           And it was

  19    directly in -- it was directly in response to the fact that

  20    people had lost money by entrusting their money to exchanges

  21    that control the keys, that I coined that phrase to kind of

  22    hammer the point:      If it's your keys, you control the coins,

  23    it's your coins.     If it's not your keys, not your coins.

  24         And it's designed to be catchy so that people remember it

  25    and I think it's actually helped a lot of people avoid getting

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   1    defrauded or losing their money because they remember that

   2    catchy phrase.

   3    Q.   Can you share keys with somebody you trust?

   4    A.   Absolutely.

   5    Q.   And --

   6    A.   In fact, I -- I have done so.

   7    Q.   Oh.

   8    A.   I handled my mother's retirement and my mother wanted to

   9    invest in Bitcoin.      She had no idea how to do that.               And so I

  10    helped her manage her retirement investment in Bitcoin and

  11    that's a good example of shared keys.

  12         Obviously, my mother had a copy of the keys on a device

  13    that I gave her.     Didn't really know how to use them.               I had a

  14    copy of the keys.      There was a lot of trust involved there.

  15    And my mother had to trust that I was going to take care of her

  16    funds.

  17    Q.   You shared your keys with your mom because you trust your

  18    mom?

  19    A.   Exactly.

  20               MR. ROCHE:    Thank you, Your Honor.

  21               No further questions.

  22               MR. RIVERO:    Judge --

  23               THE COURT:    Ladies and Gentlemen, before --

  24               MR. RIVERO:    Judge, I have one question.

  25               THE COURT:    The request for recross is denied.

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   1               MR. RIVERO:    Thank you, Judge.

   2               THE COURT:    Ladies and Gentlemen, as we discussed

   3    yesterday, you have the opportunity to submit questions to this

   4    witness, since the lawyers have concluded their questioning.

   5               As I stated previously, I am going to require that

   6    questions be written, that you provide them to the court

   7    security officer, and then I will review the questions with the

   8    attorneys.

   9               Is there anyone that has a question for the witness?

  10               If so, please raise your hand, so that we can give you

  11    the opportunity to write out your question.

  12               Is there anyone that has a question for

  13    Mr. Antonopoulos?

  14               THE COURT:    All right.

  15               Seeing no hands raised, there are no questions.

  16               Is Mr. Antonopoulos excused, Mr. Roche?

  17               MR. ROCHE:    Mr. Antonopoulos is excused.

  18               THE COURT:    Mr. Rivero?

  19               MR. RIVERO:    Yes, Your Honor.

  20               THE COURT:    All right.             Thank you, sir.

  21               You are excused.

  22               THE WITNESS:     Thank you, Your Honor.

  23         (Witness excused.)

  24               THE COURT:    Members of the Jury, as I stated

  25    previously, we are going to take a one-hour recess for lunch.

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   1    As you can see, it's 1:05.            I'll see you back here at 2:05.

   2               Have a pleasant lunch.

   3        (Jury not present, 1:04 p.m.)

   4               THE COURT:    Mr. Roche, will you have your next witness

   5    ready to go at 2:05, sir?

   6               MR. FREEDMAN:      Yes, Your Honor.

   7               THE COURT:    All right.             Is there anything further we

   8    need to address before we recess for lunch?

   9               MR. RIVERO:    Not from the Defense, Your Honor.

  10               MR. FREEDMAN:      Not from the Plaintiffs, Your Honor.

  11               THE COURT:    All right.             Have a pleasant lunch.         I'll

  12    see you at 2:05.

  13         (Recess from 1:05 p.m. to 2:05 p.m.)

  14         (Jury not present, 2:03 p.m.)

  15               THE COURT:    Hi.      Welcome back.                 Please be seated.

  16               I trust everyone had a nice lunch and ready to get

  17    back to work.

  18               COURT SECURITY OFFICER:                All the jurors are here,

  19    Judge.

  20               THE COURT:    All right.             Are we ready to proceed?

  21               MR. FREEDMAN:      For the Plaintiffs we are, Your Honor.

  22               MR. RIVERO:    Yes, Your Honor.

  23               THE COURT:    All right.             Let's bring in the jury.

  24         (Before the Jury, 2:03 p.m.)

  25               THE COURT:    Welcome back, Members of the Jury.

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   1               Please be seated.

   2               I trust you had a pleasant lunch on this very soggy

   3    day and ready to get back to work.

   4               And we will continue with the Plaintiffs' case.

   5               MR. FREEDMAN:      Thank you, Your Honor.

   6               Plaintiffs will call Robert Radvanovsky via video

   7    deposition that was taken on December 12th, 2019.

   8               THE COURT:    I just want to ensure that the court

   9    reporter does not need to take down the testimony, since it's

  10    already recorded in a transcript.                   Is that correct?

  11               MR. FREEDMAN:      That's right, Your Honor.

  12               THE COURT:    All right.             Ladies and Gentlemen, before

  13    we proceed, let me advise you that a deposition is a witness's

  14    sworn testimony that is taken before a trial.                         During the

  15    deposition, the witness is under oath and swears to tell the

  16    truth and the lawyers for each party may ask questions.

  17               A court reporter is present and records the questions

  18    and answers.     The deposition is now to be presented.

  19               And the date of this deposition?

  20               MR. FREEDMAN:      December 12th, 2019.

  21               THE COURT:    Deposition testimony is entitled to the

  22    same consideration as live testimony and you must evaluate and

  23    judge the testimony as if the witness were testifying in court.

  24         (Video played, 2:06 p.m. - 2:17 p.m.)

  25               MR. FREEDMAN:      Your Honor, the Plaintiffs will call

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   1    the next witness.

   2               THE COURT:    All right.             Mr. Freedman, I just want to

   3    make sure that the -- have we played all portions that the

   4    Defendant sought to designate and introduce?

   5               MR. RIVERO:    Yes, Your Honor.

   6               THE COURT:    All right.             Thank you.

   7               The Plaintiffs' next witness.

   8               MR. FREEDMAN:      We just have to bring him in, Your

   9    Honor, because the Rule's been invoked.                         So ...

  10               THE COURT:    All right.             Thank you.

  11         (Pause in proceedings.)

  12               THE COURT:    Let me state, while that witness makes his

  13    way in, as the parties have invoked the Rule, let me advise the

  14    parties that you are to advise your respective witnesses

  15    they're not to speak about any aspect of the case.                       They are

  16    not to speak to anyone regarding their anticipated testimony

  17    and they must stay outside of the courtroom until their name is

  18    called.

  19               This is Plaintiffs' next witness?

  20               MR. FREEDMAN:      Yes, Your Honor.

  21               THE COURT:    Good afternoon, sir.

  22               Sir, if you'll remain standing, raise your right hand,

  23    please.

  24         PATRICK PAIGE, PLAINTIFF WITNESS, SWORN

  25               COURTROOM DEPUTY:          Thank you.

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   1               Can you please state your full name and spell it for

   2    the record.

   3               THE WITNESS:     Patrick, last name Paige, P-A-I-G-E.

   4               THE COURT:    Mr. Paige, let me advise you that we are

   5    following CDC guidelines and to the extent that you are fully

   6    vaccinated and you feel comfortable, you are permitted to take

   7    your mask off while you are testifying.

   8               We do have a disposable microphone cover.                  I would

   9    just ask that you discard of the cover after your testimony is

  10    concluded.

  11                               DIRECT EXAMINATION

  12    BY MR. FREEDMAN:

  13    Q.   Good afternoon, Mr. Paige.

  14    A.   Good afternoon.

  15    Q.   Do you mind reintroducing yourself to the jury, please.

  16    A.   Yeah.   My name is Patrick Paige, P-A-I-G-E.

  17    Q.   And can you please tell the jury a little bit about your

  18    background.

  19    A.   About what now?

  20    Q.   Your background.

  21    A.   Twenty-six years in law enforcement, retired, from Palm

  22    Beach County Sheriff's Office, working as a computer forensics

  23    expert.

  24    Q.   And so you first were in law enforcement and then later

  25    became a computer forensics expert?

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   1    A.   Yes.    While I was in law enforcement, I worked in computer

   2    crimes.     And for the last 10 years of my employment at the

   3    sheriff's office, I worked computer forensics.

   4    Q.   Are you still employed by the sheriff's office now?

   5    A.   No.

   6    Q.   When did you stop working for the sheriff's office?

   7    A.   In 2011.

   8    Q.   And since 2011 to the present date, what have you been

   9    employed with?

  10    A.   I'm employed with Computer Forensics.                            I'm part owner of

  11    Computer Forensics, LLC.

  12    Q.   And did there come a time when you met Dave Kleiman?

  13    A.   Yes.

  14    Q.   Can you tell the jury a little bit about how and when you

  15    first met Dave.

  16    A.   I met Dave -- I believe it was in the early '90s, probably

  17    around 1994.     I was a field training officer with the Palm

  18    Beach County Sheriff's office and he was a new recruit,

  19    assigned to me for training.

  20    Q.   And did you, in fact, train Mr. Kleiman?

  21    A.   Yes.

  22    Q.   And did Dave then go on to enter the force?

  23    A.   Yes.

  24    Q.   And what did he do at the force?

  25    A.   He was a road patrol officer.

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   1    Q.   And were you his direct supervisor there?

   2    A.   No.

   3    Q.   How long were you in the force together?

   4    A.   Up until his accident.           He was involved in a motorcycle

   5    accident that left him paralyzed.

   6    Q.   And did you develop a relationship with Dave Kleiman beyond

   7    just as associates in the police force?

   8    A.   Yes.   He was my best friend.

   9    Q.   How quickly did you guys become friends after he joined the

  10    force?

  11    A.   Right away.    While he was my training officer -- or excuse

  12    me -- while I was training him as a police officer.

  13    Q.   And after his accident, did you guys stay friends?

  14    A.   Yes.

  15    Q.   And what did he do professionally after his accident?

  16    A.   Anything involving computers, computer forensics, that type

  17    of thing.

  18    Q.   Was he into computers before the accident?

  19    A.   Yes.   He knew a lot about computers.                        He's the one that got

  20    me involved in learning a lot more about computers back in the

  21    early '90s.

  22    Q.   So tell me about that.

  23         How did he get you into computers in the early '90s?

  24    A.   It was -- Windows basically was starting and he would -- as

  25    a training officer, he would meet me at my house and he would

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   1    set up a computer for me and my family with my small child at

   2    the time, who was about 2 years old.

   3         And I knew little about computers and he basically got my

   4    interest involved in starting to get -- learning more about

   5    computers and that type of thing.

   6    Q.   So in the '90s, when he first came to teach you about

   7    computers, did you know anything at all about computers?

   8    A.   Very limited.     Very limited experience with computers at

   9    the time.

  10    Q.   And you are now a computer forensics expert?

  11    A.   Yes.

  12    Q.   And was that because of Dave?

  13    A.   Yeah, I would attribute that to Dave.

  14    Q.   Did he help train you to become a computer forensics

  15    expert?

  16    A.   He was my go-to person on just about any case I had that

  17    involved some sort of question that I could not answer for

  18    myself involving computer forensics.

  19         He also assisted when I was working on the computer crimes

  20    unit at the sheriff's office.               He would assist myself and other

  21    detectives in cases involving computers and forensics.

  22    Q.   So you say:    "Computers and forensics."

  23         So did his computer expertise extend just beyond forensics?

  24    A.   No.    I meant computer forensics.

  25    Q.   And did he -- was he good with computers generally?

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   1    A.   Yes, he was.

   2    Q.   At some point, you and Dave went into business together?

   3    A.   Yes.

   4    Q.   And what kind of business was that?

   5    A.   Computer forensics business.

   6    Q.   And what was the name of that business?

   7    A.   Computer Forensics, LLC.

   8    Q.   So if it's all right, I'd like to shift our focus a little

   9    bit from talking specifically about your relationship with Dave

  10    and just tell the jury a little bit about Dave himself.

  11         So tell us a little bit about his background.                        You had

  12    mentioned computer forensics, but what did he do before he

  13    joined the force?

  14    A.   I don't know much about what he did.                         I know he was in the

  15    nightclub industry.      You know, he was involved in -- I think

  16    computers basically all his life.                   Anything he did, it was

  17    involving computers, though, prior to even meeting me.

  18    Q.   And was Dave a veteran?

  19    A.   He worked in the -- he was in the military, United States

  20    Army.

  21    Q.   And was Dave proud of his time in the military?

  22    A.   Yes.

  23    Q.   And did he receive any rewards or accolades in the

  24    military?

  25    A.   Yeah.   He constantly reminded us that he made -- he was a

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   1    US Army Officer of the Year at one time.

   2    Q.   And after he left the military service, was that still a

   3    big part of his life?

   4    A.   Yes.    He worked with the disabled -- I mean, even up until

   5    the time of his death, he was real big into the Paralyzed

   6    Veterans Association, that type of thing.

   7    Q.   Was he into military memorabilia or military-type things?

   8    A.   I don't know about military-type things. I mean, he always

   9    liked guns.     You know, I don't know if that attributed to his

  10    law enforcement, but probably also military.

  11    Q.   Did he like special ops things?

  12    A.   Yes.

  13    Q.   And would it surprise you to learn that Dave Kleiman bought

  14    military-grade flash drives?

  15    A.   No.

  16    Q.   Why?

  17    A.   He always liked the best of the best, something that was

  18    indestructible, so to speak, something that was really good

  19    that could withstand military-type specifications.

  20    Q.   And did he ever comment to you about military grade devices

  21    and --

  22    A.   Not specifically.

  23    Q.   Okay.    And then after the military, we covered that he went

  24    into the sheriff's office, right?

  25    A.   I don't know if it was directly after the military, but,

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   1    yeah, sometime he had made his way into the police academy and

   2    eventually the sheriff's office.

   3    Q.   And then after his accident, did he retire from the police

   4    force?

   5    A.   He continued to work at the sheriff's office working,

   6    again, with computers directly with the sheriff, implementing

   7    different protocols involving computers, but he worked in

   8    the -- he worked with computers while he was in rehab and that

   9    type of stuff, when he could work, when he got out of the

  10    hospital.

  11    Q.   Did there come a time when he stopped working for the

  12    police department?

  13    A.   Yes.

  14    Q.   And after that, what did he do?

  15    A.   He worked as a computer forensics expert.                        You would hire

  16    him as a computer consultant, anything to do with computers and

  17    forensics.

  18    Q.   Did there come a time after his retirement from the police

  19    office that he, again, worked with the sheriff's office?

  20    A.   I don't recall.

  21    Q.   Was --

  22    A.   He was involved in -- like I said, when I worked in the

  23    computer crimes unit, he worked -- we almost considered him

  24    like as a reserve police officer.

  25         We would consult with him on computer-related issues that

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   1    sometimes were above our pay grade as far as our knowledge in

   2    computers at the time.

   3         He would be involved in some more intensive-type computer

   4    forensic investigation-type cases.

   5    Q.   So he was an honorary police officer?

   6    A.   In our eyes, he was.

   7    Q.   How would you describe Dave's knowledge with respect to

   8    computers and computer forensics?

   9    A.   Like I said, he was someone that I always went to when I

  10    had a question and couldn't answer.                     He seemed to always -- if

  11    he didn't know the answer, he'd know who to call to get the

  12    answer.     So he was always my go-to person.

  13    Q.   Was he a nationally known expert in computer forensics?

  14    A.   Yes.

  15    Q.   Was he a nationally known expert in network administration?

  16    A.   Yes.

  17    Q.   Did he have extensive knowledge in all kinds of aspects of

  18    security involving computers?

  19    A.   I believe he did.

  20    Q.   What about data encryption?                Was Dave an expert in data

  21    encryption?

  22    A.   I would consider him to be.

  23    Q.   Tell the jury a little bit about what it was like to see

  24    Dave behind a computer keyboard.

  25    A.   He was just a whiz when it came to -- when you would work a

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   1    case and you had a question, he always seemed to know the

   2    answer or he knew where to get it.

   3         He was always someone that you could count on, that you

   4    felt comfortable when you went into a situation or a case that

   5    he was there to back you up.

   6         And if he wasn't, he was there -- either a phone call

   7    away -- when he was in the hospital, he could remote in on a

   8    case, if he needed to.

   9         But he was definitely our go-to person when it came to

  10    questions about -- that may arise in the cases that we worked.

  11    Q.   And did you call on him to work on cases while he was in

  12    the hospital?

  13    A.   Yes.

  14    Q.   And did he remote in and work on those cases from the

  15    hospital?

  16    A.   Yeah.   While he was -- when he formed the company, Computer

  17    Forensics, LLC, he was a -- you know, he worked.                        He would just

  18    work from his bedside.        If calls would come in for service, we

  19    would sort of be his legs in the field.                         We would go to the

  20    scene and if we needed assistance, he could remote in or we

  21    can -- he was always a phone call away if we needed him.

  22    Q.   Was Dave a computer genius?

  23    A.   In my opinion, yes.

  24    Q.   Was Dave self-taught?

  25    A.   Yes.    I believe he was.          A lot -- throughout the years of

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   1    questioning him and, you know, in his early years of computers,

   2    of building them and learning them, I mean, a lot of it was

   3    self-taught.     There wasn't a whole lot of computer classes back

   4    when he began learning about computers, I believe.

   5    Q.   So he would build computers with his bare hands?

   6    A.   Yeah.

   7    Q.   And did he have any extensive undergraduate training in

   8    computers?

   9    A.   I don't know if there was any formal training that I can

  10    recall off the top of my head.

  11    Q.   Were you aware of any extensive post-graduate training in

  12    computers?

  13    A.   I don't recall any.        I know that he often taught computer

  14    forensics to various organizations and people.

  15         So I don't really recall any specific classes he may have

  16    taken.

  17    Q.   Are you aware of Dave ever being rejected as a computer

  18    teacher because he didn't have formal credentials in computer

  19    knowledge?

  20    A.   No.

  21    Q.   Did Dave speak nationally on nationally televised networks

  22    about computers and computer expertise?

  23    A.   Yes.

  24    Q.   And are you aware of any expert -- and -- sorry.                 Strike

  25    that.

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   1         Are you aware of any computer -- TV -- national TV networks

   2    rejecting Dave as an expert because he didn't have formal

   3    credentials?

   4    A.   No.

   5    Q.   Dave did have a ton of certifications, though, right?

   6    A.   Yes.

   7    Q.   Was there a nickname you guys used to give Dave because of

   8    that?

   9    A.   Yeah.    Mr. Alphabet.       Because he would have all these

  10    acronyms after his name, all these different letters signifying

  11    the different certifications he may have had, or, you know,

  12    Microsoft Most Valuable Person.

  13         I mean, as a matter of fact, I still have awards from when

  14    he passed away that were left at our office, his Microsoft

  15    awards.

  16    Q.   Did you ever refer to him as Dave Mississippi for a similar

  17    reason?

  18    A.   Yeah.    People called him that, also.

  19    Q.   And all because of the computer forensic certifications and

  20    computer certifications that would appear after his name?

  21    A.   Yes.

  22    Q.   So like I'm a lawyer, so I have like Esquire or JD after my

  23    name and he'd have just a string of letters after him?

  24    A.   Yes.    He probably had like eight or nine different acronyms

  25    that I didn't even know what half of them were on some of them,

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   1    but they were in his signature line when he would send an email

   2    or he would post something or, you know, that type of stuff.

   3    Q.   He's got me beat by seven characters, then.

   4    A.   Yeah.

   5    Q.   What was it like working with Dave?

   6    A.   Well, he was my best friend.                 So it was someone that was,

   7    for me, a huge loss to this day.                  It's a huge loss.

   8    Q.   Did you -- did you find him to be trustworthy?

   9    A.   Yes.

  10    Q.   Did he honor the agreements that you had with him?

  11    A.   Yes.

  12    Q.   Was Dave obsessed with computer security?

  13    A.   I would say he was, yes.

  14    Q.   Why?    Why would you say that?

  15    A.   I recall sometimes going over to his house working on a

  16    case, and he would have his network so secure that I had a hard

  17    time even getting on the network, let alone browsing to a

  18    website, because certain ports were blocked that you couldn't

  19    see certain advertisements and the page wouldn't load right

  20    because he would have custom firmware installed on his router,

  21    on his computer.

  22         You know, he was just very security oriented when it came

  23    to stuff like that.      You know, he wrote books involving -- in

  24    the perfect password.       So, I mean, he's done a lot in that

  25    field, so he was very security oriented.

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   1    Q.   He's an expert in computer security?

   2    A.   I would call him that, yes.

   3    Q.   And throughout his career as a computer expert, did Dave

   4    work for clients?

   5    A.   Yes.

   6    Q.   And was he careful to protect the information that belonged

   7    to those clients?

   8    A.   Yes.

   9    Q.   How would he protect the information that belonged to those

  10    clients?

  11    A.   Using the latest encryption tools.

  12    Q.   And would he just encrypt the information once, then?

  13    A.   Sometimes he would encrypt stuff twice, in a sense that the

  14    drive would be encrypted, and then once you got on the drive,

  15    there was encrypted virtual volumes inside the operating

  16    system.

  17    Q.   Would you consider Dave to be a private person?

  18    A.   Yes.

  19    Q.   And did Dave ever mention Dr. Craig Wright to you?

  20    A.   I remember him mentioning him in reference to a paper they

  21    wrote together that he had spoken about involving the deletion

  22    of data and attempts to recover the data.

  23    Q.   Beyond that one paper collaboration, did Dave ever talk

  24    about Craig Wright to you?

  25    A.   That's all I can recall.

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   1    Q.   Did there come a time later that you learned he had a close

   2    relationship with Craig Wright?

   3    A.   Yes.

   4    Q.   And did Dr. Wright come to tell you that?

   5    A.   Yes.

   6    Q.   What about W&K Info Defense Research?                            Did Dave ever talk

   7    to you about a company called W&K Info Defense Research, LLC?

   8    A.   No.

   9    Q.   Did there come a time to learn -- did there come a time

  10    when you learned that he, in fact, had a company called W&K

  11    Info Defense Research, LLC?

  12    A.   Yes.

  13    Q.   And did Dr. Wright come to tell you that?

  14    A.   No.

  15    Q.   How did you learn about W&K?

  16    A.   We receive company mail through the same -- he received his

  17    personal mail, as well as company mail, through a UPS store

  18    mailbox that we had at the time, and there was a letter in the

  19    mail involving -- I think it was from the government, the

  20    Australian government involving that company name.

  21    Q.   Did you know anything about it at that time?

  22    A.   No.

  23    Q.   And Dave never told you anything about it?

  24    A.   No.

  25    Q.   And did you come to learn more information about W&K later

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   1    on?

   2    A.    Other than it was a company involving Dave.

   3    Q.    Did Dr. Wright ever mention W&K to you?

   4    A.    Not that I know, no.

   5    Q.    At the end of Dave's life, he was ill, right?

   6    A.    Yes.

   7    Q.    Did he spend a lot of time in the hospital?

   8    A.    Yes.

   9    Q.    Did he have a cell phone with him there?

  10    A.    Yes, he did.

  11    Q.    And did you communicate with him frequently while he was

  12    there?

  13    A.    Yes.

  14    Q.    Both personally and on work-related issues?

  15    A.    Yes.

  16    Q.    Did he have a computer with him in the hospital?

  17    A.    Yes, he did.

  18    Q.    Did he continue to work from the hospital?

  19    A.    Yes.    He assisted us in cases for calls for service within

  20    our company.

  21    Q.    Were there times he wasn't feeling well or he couldn't go

  22    out and so he'd ask you to do that work?

  23    A.    Yeah.    He was confined to the hospital.                       There was, you

  24    know, attempts by him to try to get the doctors to approve him

  25    to leave the hospital and he did, in fact, leave on a few

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   1    occasions.

   2         But for the most part, he was at the hospital.

   3    Q.   But overall, did Dave work consistently even while in the

   4    hospital up until the day he died?

   5    A.   Yes.

   6    Q.   Mr. Paige, when Dave passed away, did you have a cell phone

   7    that belonged to him in your possession?

   8                MR. FREEDMAN:     Can we put up -- Dorian, do you mind

   9    grabbing P125 and showing it to the witness, please, and

  10    counsel.

  11    BY MR. FREEDMAN:

  12    Q.   Mr. Paige --

  13                MR. FREEDMAN:     Dorian, can you bring us to the first

  14    page of that document, please.

  15                MS. MCGOVERN:     Your Honor, we have objected to this

  16    exhibit on hearsay and relevance grounds.

  17                MR. FREEDMAN:     Your Honor, I haven't yet offered it

  18    into evidence, though I will in a moment.

  19                THE COURT:   Did you want to respond if you are going

  20    to be admitting this into evidence?

  21                MR. FREEDMAN:     The emails are directly from Mr. Paige

  22    and the back-and-forth is otherwise there for context.                The

  23    email's being admitted for the purposes of Mr. Paige's

  24    statements.

  25                THE COURT:   So you're conceding that it is hearsay.

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   1               MR. FREEDMAN:      For now.            You know, there may come a

   2    time when Ira Kleiman testifies about the other portions of the

   3    email, but --

   4               THE COURT:    The objection is sustained at this point.

   5               MR. FREEDMAN:      Your Honor, actually, can I -- I just

   6    want to clarify.     I'm not conceding it's hearsay.                   I'm just

   7    saying that if we were offering the portions for Mr. Kleiman

   8    for the truth of the matter asserted, they would be hearsay.

   9               That's not what we're doing at the moment.

  10               THE COURT:    All right.             Well, let us continue and

  11    we'll see the purpose it is offered.

  12               MR. FREEDMAN:      And I'm just trying to find my paper

  13    copy of that.

  14               Here we go.    Okay.

  15         (Pause in proceedings.)

  16               MR. FREEDMAN:      All right.               Dorian, could you -- not to

  17    the jury, please, but just, again, could we put up P125 for a

  18    moment.

  19    BY MR. FREEDMAN:

  20    Q.   Mr. Paige, do you recognize this email as an email that you

  21    sent?    And I'm looking at the first one on that page right

  22    there at the top of the page -- an email that you sent?

  23    A.   It appears to be.

  24    Q.   And if we scroll down below that.                      On February 18th, 2014,

  25    there's another email that you sent.

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   1         Do you see that?

   2    A.   On Tuesday?

   3    Q.   Yeah.

   4    A.   Yeah.   It appears to be.            That's my signature line.

   5    Q.   Is that an email that you sent?

   6    A.   It appears to be.

   7    Q.   And then if you go to the next page.

   8               MR. FREEDMAN:      Dorian, can you bring us to where it

   9    says Monday, February 17th.             Right at the top, Dorian.

  10    BY MR. FREEDMAN:

  11    Q.   Is that an email that you sent, Mr. Paige?

  12    A.   Yeah.   It appears to be.

  13    Q.   And then if we go to Sunday, February 16th.                      And is that an

  14    email that you sent -- is that an email that you sent,

  15    Mr. Paige?

  16    A.   Yeah.   It appears to be also.

  17    Q.   Do you recall this exchange, Mr. Paige?

  18    A.   No.

  19    Q.   Okay.   Do you have any reason to doubt the authenticity of

  20    this email exchange?

  21    A.   No.

  22               MR. FREEDMAN:      Dorian, could you go to the bottom of

  23    the first page.

  24    BY MR. FREEDMAN:

  25    Q.   Do you see the bottom, the Bates label on the bottom page?

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   1         Do you recall producing documents to Plaintiffs in this

   2    case?

   3    A.   I don't.

   4    Q.   Do you have any reason to doubt you produced documents to

   5    us pursuant to a subpoena?

   6    A.   I have no doubt that I did.

   7               MR. FREEDMAN:      Your Honor, we would like to move the

   8    email into evidence for just Mr. Paige's statements in the

   9    email.

  10               THE COURT:    Well, he's already stated that he doesn't

  11    recall.

  12               MR. FREEDMAN:      Your Honor, this was produced to us

  13    pursuant to a subpoena from Mr. Paige.                        He's not denying it's

  14    not an email from him.        And in fact, it is an email from him.

  15    It was received from him.

  16               So I mean, I don't think he's doubting the

  17    authenticity of the email.

  18               THE COURT:    Is there an objection?

  19               MS. MCGOVERN:      Your Honor, we object on authentication

  20    and hearsay grounds, Your Honor.

  21               THE COURT:    What's the purpose that you're offering

  22    this for?

  23               MR. FREEDMAN:      The purpose is just to talk about the

  24    phone drive that he mentions right at the top.

  25               THE COURT:    Sustained.

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   1                MR. FREEDMAN:     Okay.

   2    BY MR. FREEDMAN:

   3    Q.   Mr. Paige, did there come a time when Ira filed a lawsuit

   4    against you?

   5    A.   Yes.

   6    Q.   In his capacity as the personal representative of the

   7    estate of Dave Kleiman?

   8    A.   Yes.

   9    Q.   And that lawsuit sought the return of a cell phone from

  10    Dave Kleiman?

  11                MS. MCGOVERN:     Objection.               Leading.

  12                THE COURT:   I'm sorry.             The basis of the objection?

  13                MS. MCGOVERN:     Leading.

  14                THE COURT:   Sustained.

  15                Rephrase, please.

  16    BY MR. FREEDMAN:

  17    Q.   Did the lawsuit seek the return of a -- what did the

  18    lawsuit seek the return of?

  19    A.   I believe it was mentioned a cell phone and domains,

  20    computer -- website domains.

  21                MR. FREEDMAN:     Dorian, can you bring up D005.

  22         (Pause in proceedings.)

  23                MR. FREEDMAN:     While we're figuring out the technical

  24    difficulties, let me bring you somewhere -- actually, I need

  25    that same exhibit.

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   1               Your Honor, if we could just have a moment to figure

   2    out the technical --

   3               THE COURT:    Yes.       Of course.

   4         (Pause in proceedings.)

   5               MR. FREEDMAN:      Okay.         Found it.             Sorry about that.

   6    BY MR. FREEDMAN:

   7    Q.   Mr. Paige, we were talking about there came a time that Ira

   8    Kleiman, as the personal representative of Dave's estate, filed

   9    a lawsuit against you.

  10         I'd like -- once D005 comes up, if you can let us know if

  11    this is a copy of the complaint?

  12               MR. FREEDMAN:      Dorian, can you zoom out, please, and

  13    if you just give Mr. Paige a moment to look at it.                         And if he

  14    wants to flip through it --

  15    BY MR. FREEDMAN:

  16    Q.   Mr. Paige, let me know if you would like to go to the next

  17    page.

  18    A.   You can go to the next page, please.

  19         It appears to be.      I haven't seen this document in a while.

  20               MR. FREEDMAN:      Can you go through all the way to the

  21    end, Dorian, just quickly.

  22    BY MR. FREEDMAN:

  23    Q.   Does that help refresh your memory there that this is the

  24    lawsuit that he filed against you?

  25    A.   Yeah.   I have no doubt that it probably is.                       I just haven't

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   1    seen this document in a long time.

   2               MR. FREEDMAN:      Okay.         Your Honor, we would like to

   3    move it into evidence.

   4               THE COURT:    This is the Defendant's Exhibit --

   5               MR. FREEDMAN:      5.

   6               THE COURT:    All right.             Is there any objection?

   7               MS. MCGOVERN:      No objection, Your Honor.

   8               THE COURT:    Admitted into evidence.

   9          (Defendant's Exhibit 005 received into evidence.)

  10               MR. FREEDMAN:      Dorian, could you bring us to

  11    Paragraph 32.

  12               Thank you.

  13               And then have we published the exhibit to the jury,

  14    Your Honor?

  15               COURTROOM DEPUTY:          Yes.        Once it's been admitted.

  16               THE COURT:    Ladies and Gentlemen, is everyone's screen

  17    on?

  18          (Pause in proceedings.)

  19               THE COURT:    Thank you.

  20               MR. FREEDMAN:      And Dorian, can you highlight the first

  21    sentence of this paragraph up until the words "Certain

  22    websites."

  23               And then, again, from the third line, "Identified as"

  24    until the end of "davidkleiman.com."

  25

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   1    BY MR. FREEDMAN:

   2    Q.   Mr. Paige, if you don't mind reading it, while Dorian is

   3    highlighting it.

   4    A.   "As the course of its dealings with" --

   5    Q.   Sorry, Mr. Paige.      Just so you are familiar with it.

   6         You know what?     Go ahead.           Can you read the highlighted

   7    part for the record?

   8    A.   Oh, I thought you wanted me to read it out loud.

   9    Q.   Go ahead.    You could read it for the record, Mr. Paige.

  10    You were doing it right.          I should have just let you --

  11    A.   "As the course of its dealings with David Kleiman,

  12    Defendant Computer Forensics has taken illegal possession of

  13    property of Dave Kleiman, namely, certain websites identified

  14    as davidakleiman.com and davidkleiman.com."

  15               MR. FREEDMAN:      And then, Dorian, can you highlight the

  16    final sentence of that paragraph starting from the word.

  17    "Further" and "Mr. Paige," please.

  18               THE WITNESS:     "Further, upon information and belief,

  19    Dave Kleiman created and maintained Bitcoin wallets, which were

  20    in his possession during -- which were in his personal property

  21    during the time as a member of Computer Forensics."

  22    BY MR. FREEDMAN:

  23    Q.   So in the first part of this sentence, Mr. Paige, did you

  24    understand the lawsuit to be saying that Computer Forensics had

  25    certain websites that the estate thought belonged to it?

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   1    A.   Yes.

   2    Q.   And that was davidakleiman.com and davekleiman.com?

   3    A.   Yes.

   4    Q.   And in the final sentence, did you understand the statement

   5    to be that Dave Kleiman created Bitcoin wallets that were part

   6    of his property?

   7    A.   Yeah.    That's what it says.

   8    Q.   Okay.    There is no allegation -- is there an allegation in

   9    the paragraph that you, in fact, have those Bitcoin wallets?

  10    A.   Not from what I read here.

  11    Q.   Okay.    And let's go to Paragraph 35.

  12                MR. FREEDMAN:     Dorian, if you could, just 35 without

  13    the wherefore clause.

  14                Thank you.

  15                And Dorian, can you highlight from the words "to the

  16    extent that" until the end of the paragraph.

  17                Thank you.

  18    BY MR. FREEDMAN:

  19    Q.   Mr. Paige, do you see on the screen where it says:               "To the

  20    extent that Computer Forensics, Paige, or Conrad have retained

  21    any Bitcoin wallets that were the personal property of Dave

  22    Kleiman, Computer Forensics, should be enjoined from

  23    monetizing, transferring, or otherwise converting such Bitcoin

  24    to its use of -- the use of its principals or third parties"?

  25    A.   Yes.

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   1    Q.   And did you understand that to be saying if you, in fact,

   2    have Bitcoin, you can't use them?

   3    A.   Yes.

   4    Q.   All right.    Did you, in fact, have any Bitcoin that

   5    belonged to the estate?

   6    A.   No.

   7    Q.   Did you have any Bitcoin wallets that belonged to the

   8    estate?

   9    A.   No.

  10    Q.   Did you understand that Ira Kleiman filed this lawsuit

  11    because Craig Wright told him that there were Bitcoin on Dave's

  12    devices?

  13                MS. MCGOVERN:      Objection.               Foundation.

  14                THE WITNESS:     I really don't know why he --

  15                THE COURT:   Overruled.              I'll allow it.

  16    BY MR. FREEDMAN:

  17    Q.   All right.    Go ahead.

  18    A.   I don't know why he filed it.

  19    Q.   Okay.   Eventually, did you tell Ira that you had no Bitcoin

  20    in your possession?

  21    A.   Yes.

  22    Q.   And eventually, did you return -- transfer the websites at

  23    issue in the complaint to the estate?

  24    A.   Yes.

  25    Q.   And then Ira dismissed the lawsuit?

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   1    A.   Yes.

   2                MR. FREEDMAN:      We can take that down now, Dorian.

   3                Thank you.

   4    BY MR. FREEDMAN:

   5    Q.   We mentioned previously the Computer Forensics, LLC

   6    operating agreement -- I'm sorry -- the Computer Forensics, LLC

   7    company that you, Dave, and Carter Conrad started.

   8         Do you recall that?

   9    A.   Yes.

  10    Q.   I'd like to show you an exhibit which I believe is the

  11    Computer Forensics, LLC operating agreement.

  12                MR. FREEDMAN:      Dorian, can you bring back up 2005, but

  13    go to PDF page 16.       It's an attachment to the complaint.

  14    BY MR. FREEDMAN:

  15    Q.   It's not the greatest copy, but do you recognize this as --

  16                MR. FREEDMAN:      Dorian, actually, can you zoom out,

  17    please.

  18    BY MR. FREEDMAN:

  19    Q.   Do you recognize this as the operating agreement for

  20    Computer Forensics, LLC?

  21    A.   Yes.

  22    Q.   And is that your signature at the bottom?

  23    A.   Yes, it is.

  24                MR. FREEDMAN:      Your Honor, we'd like to -- or sorry,

  25    Your Honor.     It's already into evidence.                        My apologies.

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   1                Now, Dorian, can you please go ahead and zoom in on

   2    that bottom half of the document.

   3    BY MR. FREEDMAN:

   4    Q.   That middle signature right in the middle, it says:                         "Dave

   5    Kleiman" right underneath it, do you recognize that as Dave

   6    Kleiman's signature?

   7    A.   Yes.

   8    Q.   And this is -- this was Dave Kleiman -- his digital

   9    signature?

  10    A.   Yes.

  11    Q.   This is how he signed electronic documents?

  12    A.   Yes.

  13    Q.   And you see it says:         "Digitally signed by Dave Kleiman

  14    right at the top?

  15    A.   Yes, I do.

  16    Q.   And then do you see where it says:                       "Reason" -- well,

  17    sorry.    See where it shows:           "Email equals

  18    dave@davekleiman.com"?

  19    A.   Yes.

  20    Q.   And then underneath, it says:                  "Reason.          I agree to the

  21    terms defined by the placement of my signature on this

  22    document."

  23    A.   Yes.

  24    Q.   And then it gives the location of where it was signed.

  25    A.   Yes.

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   1    Q.   Miami, Florida.

   2         And it gives the date on when it was signed?

   3    A.   Yes.

   4    Q.   Mr. Paige, Dave passed away in April of 2013, right?

   5    A.   Yes.

   6    Q.   Around that time, did you and Carter Conrad send out an

   7    email announcing that Dave had passed away?

   8    A.   Yes.   I believe my partner, Carter, did.

   9    Q.   And did Craig respond to that email?

  10    A.   I believe he did.

  11                MR. FREEDMAN:     Dorian, can you bring up D042.

  12    BY MR. FREEDMAN:

  13    Q.   Mr. Paige, do you recognize the email on the bottom of the

  14    page that came from Mr. Conrad?

  15    A.   Yes.

  16    Q.   And you're on the "To" line.                 You received it?

  17    A.   Yes.

  18    Q.   And it seems to be a joint communication from you and

  19    Carter because it says:         "Patrick and I"?

  20    A.   Yes.

  21                MR. FREEDMAN:     And Dorian, can you zoom out, please,

  22    for a minute.     And at the top -- the top email, Dorian, can you

  23    zoom in on that one.

  24    BY MR. FREEDMAN:

  25    Q.   This is an email from Craig Wright to yourself and Carter.

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   1         Do you see that?

   2    A.   Yes, I do.

   3    Q.   And it's dated April 29th, 2013?

   4    A.   Yes.

   5    Q.   Do you remember receiving this email?

   6    A.   Yeah.    I do recall receiving this.

   7                MR. FREEDMAN:     Your Honor, we would like to enter

   8    D0 -- 042 into evidence.

   9                THE COURT:   Any objection?

  10                MS. MCGOVERN:     No objection.

  11                THE COURT:   Admitted into evidence.

  12         (Defendant's Exhibit 042 received into evidence.)

  13                MR. FREEDMAN:     And it's now -- you-all can see it on

  14    the screens?

  15                Thank you.

  16                Dorian, can you zoom out for a minute again and let's

  17    go down to that bottom email from Carter.

  18    BY MR. FREEDMAN:

  19    Q.   So this is April 30th, 2013, Mr. Paige?

  20    A.   Yes, it is.

  21    Q.   And I know it's hard to talk about, but do you remember the

  22    date Dave was found passed away in his home?

  23    A.   I don't recall.

  24    Q.   It's April 26th.     It's not a test.

  25         Sorry.    I can phrase it differently.

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   1         Do you recall Dave being found passed -- dead in his home

   2    on April 26th?

   3    A.   Yes.

   4    Q.   This was about four days after?

   5    A.   Yes.

   6    Q.   And can you go ahead and read Carter's email to the jury,

   7    please?

   8    A.   "As a close friend -- as close friends of Dave, Patrick and

   9    I want to let you know in advance of any general posting that

  10    we have lost a dear friend and colleague.                              As most of you are

  11    aware, Dave was battling an infection from 2010 and he had

  12    never fully recovered in the two and a half plus years that

  13    followed.    Dave died in his home in Palm Beach Gardens of what

  14    we're being told is natural causes.                      At this time, no further

  15    details are available, although there are some plans for a

  16    memorial and these will be passed on as they become available."

  17    Q.   And that's sent from Carter, CC'd to yourself, and then --

  18                MR. FREEDMAN:      Dorian, do you mind, right at the end

  19    of line 1 and the beginning of line 2, can you highlight just

  20    "Craig S. Wright" there, right at the end of the line.

  21                There it is.

  22                Okay.   Thank you.

  23    BY MR. FREEDMAN:

  24    Q.   Mr. Paige, this was sent to Craig Wright?

  25    A.   Yes.

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   1                MR. FREEDMAN:     Dorian, can you zoom out again and then

   2    let's go ahead and look at Dr. Wright's response.

   3                Can you zoom in on that, please.

   4    BY MR. FREEDMAN:

   5    Q.   And this is sent from Dr. Wright.                      It says April 29th, but

   6    that's because -- Australia.

   7         So there's a time convention issue, right?

   8    A.   Yes.

   9    Q.   And it's to you and Carter Conrad, right?

  10    A.   Yes.

  11    Q.   And can you go ahead and read Dr. Wright's response to the

  12    jury.

  13    A.   "Dave will be missed.          He was a good friend.                He would

  14    always talk and was always there.                   Dave made the world a little

  15    brighter."

  16    Q.   And then he signs it:          "In sorrow."                Right?

  17    A.   Yes.

  18    Q.   At this time, when you got this email from Dr. Wright, did

  19    he mention anything to you at all about Dave being the creator

  20    of Bitcoin?

  21    A.   No.

  22    Q.   At this time, did Craig mention anything to you at all

  23    about Dave mining Bitcoin with Craig?

  24    A.   No.

  25    Q.   At this time, did Craig Wright mention anything to you at

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   1    all about helping the estate find its assets?

   2    A.   No.

   3    Q.   But there is a time when he finally does reach out to you,

   4    Mr. Paige, right?

   5    A.   Yes.

   6    Q.   And what does he say when he -- do you recall the time

   7    frame when that is?

   8    A.   It was sometime after this.                I don't know how many months

   9    after this announcement that he reached out to me.

  10    Q.   I'm going to show you an email in a minute.

  11         But when he does reach out to you, what does he say?

  12    A.   I spoke to him via email and I also spoke to him on the

  13    phone.     He had called me.        I think I spoke to him a few times

  14    on the phone.

  15    Q.   And what's the sum -- and we'll go through some of the

  16    emails in a minute.      It's not a memory test.

  17         But what's the sum and substance of what Dr. Wright tells

  18    you?

  19    A.   Well, essentially, that he wanted to make sure that if Dave

  20    had any equipment or any computers or hard drives, that we save

  21    them, that he potentially could have Bitcoin wallets on them.

  22    Q.   Does he tell you why?

  23    A.   I don't believe he told me during our first conversation.

  24    It wasn't till after that that he had mentioned that Dave was

  25    involved in the creation of Bitcoin.

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   1                MR. FREEDMAN:     Dorian, can you bring up P122, please.

   2    BY MR. FREEDMAN:

   3    Q.   And Mr. Paige, do you recall receiving an email from Craig

   4    Wright about Dave's involvement in Bitcoin sometime after Dave

   5    died?

   6    A.   Yes.

   7                MR. FREEDMAN:     Dorian, can you go to PDF Page 1.

   8    PDF -- let's go to Page 4, sorry.

   9                Thank you.

  10                You can just leave it like -- okay.                       That works.

  11    BY MR. FREEDMAN:

  12    Q.   Mr. Paige, do you see an email from Craig Wright to

  13    yourself on February 12th, 2014?

  14    A.   Yes.

  15    Q.   And the email that went out -- is this the first email

  16    that -- well, sorry.      Let me back up there.

  17         Do you recall receiving this email?

  18    A.   Yes.

  19                MR. FREEDMAN:     And Dorian, can you zoom out, please.

  20                And can you show Mr. Paige the email chain that comes

  21    after this.

  22    BY MR. FREEDMAN:

  23    Q.   Mr. Paige, can you just scan it over to make sure you're

  24    familiar with it.

  25                MR. FREEDMAN:     And the next page, Dorian.

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   1                No.   No.   You went backwards, Dorian.                    The other way.

   2                And one more time.

   3    BY MR. FREEDMAN:

   4    Q.   Do you recognize this as an email exchange between you and

   5    Dr. Wright?

   6    A.   Yes.

   7                MR. FREEDMAN:      Your Honor, we would like to move P122

   8    into evidence.

   9                THE COURT:    Is there any objection?

  10                MS. MCGOVERN:      No objection, Your Honor.

  11                THE COURT:    Admitted into evidence.

  12         (Plaintiffs' Exhibit 122 received into evidence.)

  13                MR. FREEDMAN:      Dorian, can you go back to PDF Page 4,

  14    please.

  15    BY MR. FREEDMAN:

  16    Q.   Mr. Paige, let's --

  17                MR. FREEDMAN:      Dorian, let's zoom in on the whole

  18    email, please.

  19                There we go.     Thank you.

  20    BY MR. FREEDMAN:

  21    Q.   And this is an email from Craig Wright to yourself on

  22    February 12th, 2014.

  23         Do you see that?

  24    A.   On February 12th?

  25    Q.   2014?

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   1    A.   Yes.

   2    Q.   And the email we looked at announcing Dave's death, that

   3    was April 30th of 2013, right?

   4    A.   Yes.

   5    Q.   So I'm horrible at math.             So why I became a lawyer.

   6         That's about nine months, a little over nine months?

   7    A.   Approximately, yes.

   8    Q.   Is this the first time Dr. Wright mentions anything to you

   9    about Bitcoin?

  10    A.   I believe so.

  11                MR. FREEDMAN:     Dorian, can you highlight the second

  12    sentence, not counting "hello, yeah," the one that starts with

  13    "Dave," and ends in "secret."

  14                And can you highlight the first sentence of the second

  15    paragraph, and then the very first sentence of that last

  16    paragraph there on the screen.

  17    BY MR. FREEDMAN:

  18    Q.   Mr. Paige, Craig reaches out to you for the -- very first

  19    time nine and a half months after Dave dies and he says to you:

  20    "Dave and I had a project in the US.                      He ran it there.   We kept

  21    what we did secret."

  22         Did you see that?

  23    A.   Yes.

  24    Q.   Did Dave ever tell you about this?

  25    A.   No.

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   1    Q.   So Dave did keep it a secret?

   2    A.   Yes.

   3    Q.   And then Dr. Wright tells you:                     "The company he ran there

   4    mined Bitcoin."

   5         Do you see that?

   6    A.   Yes.

   7    Q.   And then on the very last paragraph on the screen, you see:

   8    "The amount Dave Kleiman mined is far too large to email."

   9         Do you see that?

  10    A.   Yes.

  11    Q.   What did you understand that to mean?

  12    A.   At the time, I really didn't -- I didn't really get it in

  13    the sense that, you know, you mine Bitcoins.                           I don't know what

  14    it really had to do with email.

  15         But I didn't know what he was referring to at that time.

  16    Q.   How did you understand -- did you understand it to mean

  17    that it's such a big number, he's not comfortable saying it on

  18    email?

  19                MS. MCGOVERN:      Objection.               Leading.

  20                THE WITNESS:     Yeah.         Basically.

  21                THE COURT:   Sustained.

  22    BY MR. FREEDMAN:

  23    Q.   Did you understand the email to be telling you that there

  24    was a joint business between David Kleiman and Craig Wright?

  25                MS. MCGOVERN:      Objection.               Leading.

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   1                THE COURT:   Sustained.

   2    BY MR. FREEDMAN:

   3    Q.   Did you understand the email to be telling you anything

   4    about the relationship between Dave Kleiman and Craig Wright?

   5    A.   Other than basically what it says here, that they had a

   6    joint -- they had a project together.

   7    Q.   And what did that project do?

   8    A.   Mined Bitcoins.

   9    Q.   And was it successful in mining Bitcoin?

  10    A.   I don't know.

  11    Q.   Based on the email, does it appear to be successful at --

  12                MS. MCGOVERN:     Objection.               Foundation.

  13                THE COURT:   Overruled.             It's in evidence.

  14    BY MR. FREEDMAN:

  15    Q.   Based on the email, does it appear that it was successful?

  16    A.   Yes.

  17    Q.   After you received this email from Dr. Wright, did you ever

  18    speak to Dr. Wright by phone?

  19    A.   Yes.

  20    Q.   And what did he tell you on those phone conversations --

  21    well, let me back up.

  22         Did Dr. Wright talk to you about Dave on those phone calls?

  23    A.   Yes.

  24    Q.   And did Dr. Wright talk to you about Bitcoin on those phone

  25    calls?

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   1    A.   Yes.

   2    Q.   And what -- did he talk about the creator of Bitcoin or the

   3    creators of Bitcoin on those phone calls?

   4    A.   That he was involved in the creation of Bitcoin.

   5    Q.   "He," meaning Dave Kleiman?

   6    A.   Yes.

   7    Q.   Did Dr. Wright tell you that Dave Kleiman was one of the

   8    creators of Bitcoin?

   9    A.   Yes.

  10                MR. FREEDMAN:     Dorian, can you bring up JE045.

  11                And can you go to the last page of the PDF, so the

  12    very first email in the chain.

  13                You could just leave it like that, Dorian, for now.

  14    BY MR. FREEDMAN:

  15    Q.   Mr. Paige, do you recognize this as an email that you

  16    received from Kimon Andreou?

  17    A.   Yeah.    It's an email from Kimon.

  18    Q.   Kimon.

  19                MR. FREEDMAN:     And then can you go to the next page,

  20    Dorian.

  21    BY MR. FREEDMAN:

  22    Q.   And then your response on December 9th, 2015?

  23    A.   Yes.

  24    Q.   And then Kimon responds to you and then you respond again

  25    on December 9th, 2015?

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   1    A.   Yes.

   2                MR. FREEDMAN:     Your Honor, we would like to move

   3    JE045 into evidence.

   4                MS. MCGOVERN:     Objection, Your Honor.                   Hearsay.

   5                MR. FREEDMAN:     Your Honor, it's on our joint exhibit

   6    list.

   7                THE COURT:   Wasn't there an agreement with regard to

   8    these exhibits?

   9                MS. MCGOVERN:     Did we subsequently agree on this?                     I

  10    apologize.    Vel?   I didn't know.

  11                THE COURT:   Yeah.        This is on the joint exhibit --

  12                MS. MCGOVERN:     I apologize.                Withdrawn, Your Honor.

  13                THE COURT:   All right.             Admitted into evidence.

  14         (Joint Exhibit 045 received into evidence.)

  15    BY MR. FREEDMAN:

  16    Q.   So let's go to the very first email Dorian, please.

  17         And so this is an email from Kimon Andreou to you, and he

  18    says:    "Hi, Pat" -- you're Patrick Paige, you're Pat?

  19    A.   Yes.

  20    Q.   He says:    "I just came across this article on Gizmodo.

  21    This Australian says he and his dead friend invented BI.                          What

  22    the hell.    Is it true?"

  23         Did you click on that link when you got the message -- when

  24    you got the email?

  25    A.   I don't recall whether I did or not.                         I'm aware of the

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   1    Gizmodo, though.

   2    Q.   And what does the Gizmodo article say?

   3    A.   It's an article about Bitcoin and the invention of Bitcoin

   4    and who was involved in it.

   5    Q.   And who does it say invented Bitcoin or was involved in it?

   6    A.   I don't recall the exact verbiage of the article.                It's

   7    been a long time since I've seen that.

   8    Q.   Just the idea.

   9         Was it talking about Craig Wright and Dave Kleiman and the

  10    invention of Bitcoin?

  11    A.   Yes.

  12    Q.   And did it say that the Australian man, Craig Wright, and

  13    his dead friend, Dave Kleiman, had invented Bitcoin?

  14                MS. MCGOVERN:     Objection.               Leading.

  15                THE COURT:   Sustained.

  16                Rephrase.

  17    BY MR. FREEDMAN:

  18    Q.   Can you tell the jury in sum or substance what the article

  19    was saying?

  20    A.   Yeah.   It involved the creation of Bitcoin involving Dave

  21    Kleiman and Craig Wright.

  22    Q.   Okay.   Thank you.

  23                MR. FREEDMAN:     And Dorian, can you move to Mr. Paige's

  24    response.

  25

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   1    BY MR. FREEDMAN:

   2    Q.   So you respond on December 9th and you say:                      "Looks that

   3    way.   We've been sitting on this since last year after Dave's

   4    death."

   5         And this is December 2015 and you were notified about this

   6    from Dr. Wright in 2014, right?

   7    A.   Yes.

   8    Q.   And you say --

   9                MR. FREEDMAN:     Can you highlight that next sentence

  10    for me, Dorian.

  11    BY MR. FREEDMAN:

  12    Q.   "Didn't have enough proof until someone hacked Wright's

  13    email."

  14         Do you see that?

  15    A.   Yes.

  16    Q.   Do you have any personal knowledge of Dr. Wright's emails

  17    actually being hacked?

  18    A.   No.

  19    Q.   Why did you write here that his emails were hacked?

  20    A.   I don't recall offhand, other than the fact it was probably

  21    mentioned in the story.

  22    Q.   Could Dr. Wright have leaked his emails on purpose?

  23    A.   Anything's possible, yes.

  24                MR. FREEDMAN:     And then, Dorian, can you come back up.

  25

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   1    BY MR. FREEDMAN:

   2    Q.   And then Kimon says in the next email:                           "I'm still trying

   3    to process the information that Dave, my best friend, was the

   4    mastermind behind Bitcoin."

   5         Do you see that?

   6    A.   Yes.

   7                MR. FREEDMAN:     And Dorian, one more time, let's go up

   8    to Mr. Paige's response.

   9    BY MR. FREEDMAN:

  10    Q.   And you say here:      "I can't.             I thought the same thing last

  11    year when Craig called me and told me himself."

  12         What did Craig tell you himself?

  13    A.   That Dave was involved in the creation of Bitcoins.

  14                MR. FREEDMAN:     Okay.         And then can you -- Dorian, can

  15    you highlight that last sentence.

  16    BY MR. FREEDMAN:

  17    Q.   And you write:     "I think Craig Wright is the mastermind and

  18    Dave was helping him."

  19         Is that what Craig Wright told you on the phone?

  20    A.   No.

  21    Q.   So he just told you Dave was one of the co-creators of

  22    Bitcoin?

  23    A.   Yes.

  24    Q.   And so does this sentence from you represent anything other

  25    than your pure speculation?

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   1                MS. MCGOVERN:     Objection.               Leading.

   2                Objection.   Leading, Your Honor.

   3                THE COURT:   Rephrase.

   4                Sustained.

   5    BY MR. FREEDMAN:

   6    Q.   So what does this sentence represent, Mr. Paige?

   7    A.   It's just my pure speculation.

   8    Q.   So we talked about a phone call between Craig Wright and

   9    yourself where he says Dave Kleiman is the co-creator of

  10    Bitcoin.

  11         After that, does he write you an email that confirms that

  12    for you?

  13    A.   Yes.

  14    Q.   I'm going to show you an email exchange between you and

  15    Craig from March of 2014.

  16                MR. FREEDMAN:     Dorian, can you please bring up P717.

  17    BY MR. FREEDMAN:

  18    Q.   And do you recognize this as your email from March 18th,

  19    2014?    It's produced -- it's got that Australian -- that

  20    European convention on the dates.                   That's why the 18 comes

  21    first.    Do you recognize that email from you to Craig Wright?

  22    A.   Yes.

  23    Q.   And then Craig Wright's response on top?

  24    A.   Yes.

  25                MR. FREEDMAN:     Your Honor, I'd like to move P717 into

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   1    evidence.

   2                MS. MCGOVERN:      One -- bear with me one second, Your

   3    Honor.

   4         (Pause in proceedings.)

   5                THE COURT:   Is there any objection?

   6                MS. MCGOVERN:      No objection, Your Honor.

   7                THE COURT:   Admitted into evidence.

   8         (Plaintiffs' Exhibit 717 received into evidence.)

   9                MR. FREEDMAN:      One second, Your Honor.

  10         (Pause in proceedings.)

  11                MR. FREEDMAN:      Sorry, Dorian.                  Can you go back to the

  12    email, the Joint Exhibit 045.                I think it was -- one last

  13    second.

  14    BY MR. FREEDMAN:

  15    Q.   Just so we're clear, the part of the email that you said

  16    was speculation, that was the part about Craig being the

  17    mastermind and Dave was helping him, right?

  18    A.   Yes.

  19    Q.   Okay.    Thank you.

  20                MR. FREEDMAN:      Dorian, can you pull back up P717 that

  21    we just admitted into evidence.

  22                Can we make sure the jury sees it, also.

  23                Thank you.

  24    BY MR. FREEDMAN:

  25    Q.   So this is March 18th, 2014.

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   1         So it's -- Craig told you about this in February 2014,

   2    right?    Told you about him and Dave creating Bitcoin in

   3    February of 2014, right?

   4    A.   I believe so, yes.

   5    Q.   So now we're in March of 2014 and you write to him:              "Hey,

   6    Craig.    Hope all's well.        In reading some recent articles from

   7    Newsweek, I see that the, quote/unquote, real creator of

   8    Bitcoin recently posted:          'I am not Dorian Nakamoto,' end

   9    quote.    How could this be if this was supposed to be Dave?"

  10         Do you see that there?

  11    A.   Yes.

  12    Q.   Do you recall the Dorian Nakamoto incident?

  13    A.   Yes.

  14    Q.   Not this Dorian.     Different Dorian.

  15         Could you tell the jury what Dorian Nakamoto -- what was

  16    that incident?

  17    A.   That was, I believe, the first person that was identified

  18    as being involved in the creation of Bitcoin early on.

  19    Q.   So the media pegged him as the person behind the alias

  20    Satoshi Nakamoto?

  21    A.   Yes.

  22    Q.   And then one of the old Satoshi Nakamoto accounts activated

  23    and says:    "I am not Dorian Nakamoto," and everybody leaves the

  24    poor old man alone?

  25                MS. MCGOVERN:     Objection.               Leading.

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   1               THE COURT:    Sustained.

   2    BY MR. FREEDMAN:

   3    Q.   Do you recall how that episode ended?

   4    A.   I do not.

   5    Q.   Okay.   What were you asking Dr. Wright in this email?

   6    A.   I believe at the time I was asking him -- I was trying to

   7    elicit more information on Dave's involvement in the creation

   8    of Bitcoin that he had mentioned to me.

   9    Q.   And you had -- and had you saw that the real creator of

  10    bitcoin's alias had posted something?

  11               MS. MCGOVERN:      Objection.               Leading.

  12               THE COURT:    Overruled.             I'll allow it.

  13               THE WITNESS:     I don't recall.

  14    BY MR. FREEDMAN:

  15    Q.   Okay.   Do you remember what you were asking him here?

  16    A.   (No verbal response.)

  17    Q.   What the specific question you were asking was?

  18    A.   Well, essentially, he had mentioned that Dave was involved

  19    in the creation of Bitcoin.             If that were the case, then why

  20    are they saying this guy is the creation of Bitcoin?

  21         So essentially trying to elicit more information from him

  22    as to what he meant by that.

  23    Q.   Okay.   So if Dave is the creator of Bitcoin, why are they

  24    saying he's the creator of Bitcoin.                     And Craig responds to

  25    you -- can you read Craig's response for the record?

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   1    A.   "Dave and," period.        "Not" -- "not one person."

   2    Q.   Do you understand him to be telling you that Dave and

   3    someone else was the creator of Bitcoin?

   4                MS. MCGOVERN:     Objection.               Leading.

   5                MR. FREEDMAN:     Sorry.          Withdrawn.

   6                THE COURT:   Sustained.

   7    BY MR. FREEDMAN:

   8    Q.   What did you understand him to be telling you?

   9    A.   That more people were involved in the creation other than

  10    Dave.

  11    Q.   Okay.   Did this confirm for you in writing that Dave, in

  12    fact, was one of the creators of Bitcoin?

  13    A.   According to him.

  14    Q.   "Him" being Craig Wright?

  15    A.   Yes.

  16    Q.   Okay.   And was that consistent with his email

  17    communications with you?

  18    A.   Yes.

  19    Q.   And his phone conversations with you?

  20    A.   Yes.

  21                MR. FREEDMAN:     Dorian, can you bring up P696.          And can

  22    you go to the first page of that so we can look at the very

  23    first email in the chain.

  24    BY MR. FREEDMAN:

  25    Q.   Mr. Paige, can you take a look at this email and then --

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   1               MR. FREEDMAN:      Dorian, let's show Mr. Paige the

   2    previous email, so he can confirm it's an email chain between

   3    him and Craig Wright.

   4               THE WITNESS:     Yes.        It appears to be.

   5               MR. FREEDMAN:      Okay.         Your Honor, we would like to

   6    move P696 into evidence.

   7               THE COURT:    Is there any objection?

   8               MS. MCGOVERN:      Objection.               Hearsay, Your Honor.

   9               THE COURT:    On grounds of hearsay?

  10               MS. MCGOVERN:      Yes.

  11               THE COURT:    Overruled.

  12               Admitted into evidence.

  13         (Plaintiffs' Exhibit 696 received into evidence.)

  14               MR. FREEDMAN:      Dorian, can you go with me to PDF

  15    Page 3.

  16    BY MR. FREEDMAN:

  17    Q.   And Patrick, do you see here -- can you read your email to

  18    Craig Wright to the jury, please?

  19    A.   "Hi, Craig.    How goes it?            Just wanted to touch base with

  20    you.   I got a call from a reporter who left a message asking

  21    about Dave and you.      I don't plan to call him back, but Carter

  22    and I were curious if something was going on."

  23               MR. FREEDMAN:      Okay.         Dorian, can you zoom back out

  24    and let's take a look at Dr. Wright's response.

  25    BY MR. FREEDMAN:

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   1    Q.   And so Dr. Wright says:            "Thanks for the heads-up.

   2    Reporters are always troubling.                 They ignored the stuff Dave

   3    and I did when he was alive."

   4         Do you see that --

   5    A.   Yes.

   6    Q.   -- in that first sentence?

   7                MR. FREEDMAN:     And then, Dorian, can you zoom out and

   8    make sure we grab that whole email.

   9                Oh, I see, it's broken over two pages.                      So let's zoom

  10    back down into there and then we will go to the next page.

  11    BY MR. FREEDMAN:

  12    Q.   So then Dr. Wright says:             "The computer we are running made

  13    the top 20 within the top 500 supercomputer list.                         So this may

  14    be new."

  15         Do you see that?

  16    A.   Yes.

  17                MR. FREEDMAN:     Dorian, let's go to the second half of

  18    that same email, please.

  19    BY MR. FREEDMAN:

  20    Q.   And he says:    "Dave helped design the first one and, you

  21    know, did a fair amount of research with me.                          Most yet to be

  22    completed and published."

  23         Do you see that?

  24    A.   Yes.

  25    Q.   What did you understand Dr. Wright to be telling you here?

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   1                MS. MCGOVERN:      Objection.               State of mind.

   2                THE COURT:   Sorry.          The basis?              State of mind?

   3                MS. MCGOVERN:      Yes.        I believe he asked what he

   4    believed Dr. Wright --

   5                THE COURT:   The objection is sustained.

   6    BY MR. FREEDMAN:

   7    Q.   Mr. Paige, how did you understand the email from

   8    Dr. Wright?

   9    A.   When he's referring to the fair amount of research with

  10    him, I believe he was referring to the hard drive paper that

  11    they wrote together, that type of research.

  12    Q.   Well, you tell Craig that you had received a call from

  13    reporters, he thanks you, right?

  14    A.   Yes.

  15    Q.   And then tells you that Dave built supercomputers with him

  16    and did a lot of research, which hasn't been published, right?

  17                MS. MCGOVERN:      Objection.               Leading.

  18                MR. FREEDMAN:      Your Honor, it's in evidence.

  19                THE COURT:   I'll allow it.

  20                Overruled.

  21                THE WITNESS:     Yeah.         That's what it says.

  22                MR. FREEDMAN:      All right.               Dorian, let's keep going

  23    through this email, if we can, please.

  24    BY MR. FREEDMAN:

  25    Q.   So can you go ahead and read your next email to Dr. Wright

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   1    to the jury, please?

   2    A.   "No problem.    I didn't -- I don't think it's about

   3    computers.    He mentioned Bitcoins on his message.                         Maybe

   4    they -- something about yours and Dave's Bitcoin involvement.

   5    You want me to return his call and to feel him out?                           Are you

   6    guys close to releasing any information on Dave's involvement

   7    in Bitcoin"?

   8                MR. FREEDMAN:     Okay.         And let's see Dr. Wright's

   9    response, Dorian.

  10    BY MR. FREEDMAN:

  11    Q.   Dr. Wright says:     "Not yet.             In the process of finalizing

  12    some of the research.       I was hoping we could be at a point of

  13    release before the reporters started sniffing."

  14         So you respond to Craig's email about:                           "Hey, this is about

  15    supercomputers" and saying:             "I don't think it's about

  16    supercomputers.     I think it's about Bitcoin," and ask:                        "Do you

  17    want me to call the reporter and find out?"

  18         And Craig can says:        "No."         Right?

  19    A.   Yes.

  20                MS. MCGOVERN:     Objection.               Leading.

  21                THE COURT:   Sustained.

  22    BY MR. FREEDMAN:

  23    Q.   Right.

  24                MR. FREEDMAN:     Dorian, can we zoom out and take a look

  25    at the last email.

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   1    BY MR. FREEDMAN:

   2    Q.    Can you read your next email to the jury, please,

   3    Mr. Paige?

   4    A.    "Okay.   That sounds good.            I think we both know Dave was a

   5    genius when it came to computers and I'm sure would like -- and

   6    I sure would like Dave to get recognition for his part of

   7    any -- if any" -- excuse me -- "his part, if any, in the

   8    development of Bitcoins.          I realize there's a lot of things to

   9    consider releasing this information, but my question is when."

  10    Q.    Can you say in your own words what you were concerned

  11    about?

  12    A.    He had mentioned in his calls with me that one of his goals

  13    was to give recognition to Dave and his involvement in the

  14    creation of Bitcoins.        And that was my understanding or my

  15    question to him, is that when was this going to be released.

  16    And, you know, I wanted to make sure that he was recognized for

  17    it.

  18    Q.    "He" meaning that Dave was recognized?

  19    A.    Dave, yes.

  20                 MR. FREEDMAN:    And Dorian, can we take a look at

  21    Craig's response.

  22    BY MR. FREEDMAN:

  23    Q.    So Dr. Wright tells you:            "When it all comes out, there is

  24    no way Dave will be left out."

  25    A.    Yes.

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   1    Q.   Mr. Paige, are you aware that in this lawsuit Dr. Wright is

   2    claiming that Dave wasn't a co-creator of Bitcoin?

   3               MS. MCGOVERN:      Objection.               Foundation.

   4               THE COURT:    If he's aware.

   5               Overruled.

   6               THE WITNESS:     Could you repeat the question?

   7    BY MR. FREEDMAN:

   8    Q.   Are you aware that in this lawsuit Craig Wright is claiming

   9    that Dave Kleiman was not a co-creator of Bitcoin?

  10    A.   No.

  11    Q.   Is that consistent with what he told you by phone?

  12    A.   No.

  13    Q.   Is that consistent with what he emailed you?

  14    A.   No.

  15    Q.   Is that consistent with his statement to you that there is

  16    no way Dave will be left out?

  17    A.   No.   It's not consistent.

  18               MR. FREEDMAN:      No further questions, Your Honor.

  19               THE COURT:    All right.             It might be a good time to

  20    take our recess now.      Why don't we take a recess until 3:45.

  21               All right.    I'll see you back here at 3:45.

  22         (Jury not present, 3:24 p.m.)

  23               THE COURT:    Mr. Paige, you are still testifying, sir,

  24    and the attorneys have not had the opportunity to complete

  25    their questioning of you.           So you are not to discuss your

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   1    testimony or any aspect of the case.                      All right, sir?

   2               THE WITNESS:     Yes.

   3               THE COURT:    And we'll see you back here at 3:45.

   4               THE WITNESS:     Leave this here?

   5               THE COURT:    Yes.       Go ahead and leave that there.

   6               All right.    I'll see everybody back at that time.

   7               MS. MCGOVERN:      Thank you, Your Honor.

   8         (Recess from 3:25 p.m. to 3:45 p.m.)

   9               THE COURT:    All right.             Welcome back.

  10               Mr. Paige, come on forward, sir.

  11               Both sides ready to proceed?

  12               MR. FREEDMAN:      Yes, Your Honor.

  13               MR. RIVERO:    Yes, Your Honor.

  14               THE COURT:    All right.

  15               Okay.   We can bring the jury in.

  16         (Before the Jury, 3:45 p.m.)

  17               THE COURT:    All right.             Welcome back, Members of the

  18    Jury.

  19               Please be seated.          And we'll begin with the

  20    cross-examination.

  21                                CROSS-EXAMINATION

  22    BY MR. MESTRE:

  23    Q.   Good afternoon, Mr. Paige.

  24    A.   Good afternoon.

  25    Q.   So Dave Kleiman was your friend?

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   1    A.   Yes.

   2    Q.   Your dear friend?

   3    A.   Yes.

   4    Q.   And when he passed, it must have been very hard for you?

   5    A.   Yes.

   6    Q.   You would talk to him a lot, wouldn't you?

   7    A.   Yes.

   8    Q.   Sometimes every morning.

   9         You were his business partner?

  10    A.   Yes, I was.

  11    Q.   And for weeks on end?

  12    A.   Yes.

  13    Q.   And you talked to him about a lot of different things?

  14    A.   Yes, we did.

  15    Q.   In fact, you visited him in the hospital?

  16    A.   Yes.

  17    Q.   Often?

  18    A.   Yes, we did.

  19    Q.   As any good friend would do.

  20         So what I want to talk to you about are the -- from the

  21    20 years after you met him and before --

  22    A.   Okay.

  23    Q.   -- he passed, for the moment.

  24         So during Dave Kleiman's lifetime, he never said to you

  25    that he had a business partnership with Dr. Wright to invent or

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   1    mine Bitcoin?

   2    A.   No.

   3    Q.   During his life, he never said anything negative about

   4    Dr. Kleiman -- or about Dr. Wright to you?

   5    A.   No.

   6    Q.   So let me -- just for one moment, I want to talk about the

   7    conversation you had with Dr. Wright, which, I think, was about

   8    seven years ago, right?

   9    A.   Okay.

  10    Q.   And I think you were asked about this before.

  11         Now, when -- when you spoke to Dr. Wright, what he actually

  12    told you was that Dave was involved in the creation of Bitcoin,

  13    right?

  14    A.   Correct.

  15    Q.   He said that -- what he said, that -- I'm sorry.                 That's

  16    what he said on the call, correct?

  17    A.   Yes.

  18    Q.   Now, Dave was -- Dave Kleiman was your business partner,

  19    correct?

  20    A.   Yes.

  21    Q.   And in your partnership with Dave Kleiman, you had an

  22    operating agreement, correct?

  23    A.   Yes, we did.

  24    Q.   And that operating agreement included a lot of the things

  25    that you would include when you have a business partnership

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   1    with someone, correct?

   2    A.   Yes.

   3    Q.   It defined who the managing member would be?

   4    A.   Correct.

   5    Q.   It talked about the percentage of ownership in the company,

   6    right?

   7    A.   Yes.

   8    Q.   How you would distribute revenues in the company?

   9    A.   Yes.

  10    Q.   It also talked about how you would pay expenses?

  11    A.   Yes.

  12    Q.   It talked about the ownership of intellectual property?

  13    A.   I believe so.

  14    Q.   So even though you were good friends, best friends, this

  15    was all documented, correct?

  16    A.   Yes.

  17    Q.   In a written agreement?

  18    A.   Yes.

  19    Q.   With David Kleiman?

  20    A.   Yes.

  21    Q.   And you had an accountant?

  22    A.   Yes, we did.

  23    Q.   And in fact, Dave Kleiman was responsible for finding the

  24    accountant?

  25    A.   Yes.

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   1    Q.   And he dealt with the accountant?

   2    A.   Yes.

   3    Q.   And you filed tax returns?

   4    A.   Yes.

   5    Q.   And in terms of Capital [sic] Forensics, was that your

   6    business with Mr. --

   7    A.   Computer Forensics.

   8    Q.   Computer Forensics.

   9         -- would you email with him about the business?

  10    A.   Yes.

  11    Q.   And would you email other people about the business,

  12    clients?

  13    A.   My other partner, Carter Conrad.

  14    Q.   And you wanted people to know about the business, because

  15    you wanted to get clients?

  16    A.   Yes.

  17    Q.   I'll talk to you about Bitcoin for a moment.

  18         So during David Kleiman's lifetime, despite all the

  19    conversations that you had with him, he never told you that he

  20    had Bitcoin, right?

  21    A.   Correct.

  22    Q.   In fact, during his lifetime, he didn't mention Bitcoin at

  23    all to you, right?

  24    A.   No, he never did.

  25    Q.   And during his lifetime, he never told you that he mined

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   1    Bitcoin, right?

   2    A.   No, he didn't.

   3    Q.   During his lifetime, he never told you that Dr. Wright

   4    stole from him?

   5    A.   No, he didn't.

   6    Q.   He wasn't a shy person, Mr. Kleiman, was he?

   7    A.   No, he wasn't.

   8    Q.   Timid?

   9    A.   No.

  10    Q.   So if someone had stolen from him, he would have told you?

  11    A.   Probably, yes.

  12    Q.   Now, he -- you did mention a paper that you were aware

  13    about that he worked on?

  14    A.   Yes.

  15    Q.   Okay.    That paper had to do with analyzing data on hard

  16    drives and whether or not they had been overwritten; is that

  17    right?

  18    A.   Yes.

  19    Q.   And it was referred to as a data-wipe fallacy paper; is

  20    that right?

  21    A.   I don't recall the name of it offhand.

  22    Q.   Does that sound familiar?

  23    A.   It sounds familiar.

  24    Q.   It was not a Bitcoin paper?

  25    A.   Correct.

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   1    Q.   I want to ask you a moment about Dave Kleiman's finances.

   2         So you knew about his financial situation, correct?

   3    A.   For the most part.

   4    Q.   He would talk to you about it?

   5    A.   Yes.

   6    Q.   Because you were close friends?

   7    A.   Yes, he was.

   8    Q.   Now, you knew he was having trouble paying his bills?

   9    A.   Yes.

  10    Q.   In fact, he was having trouble paying his cell phone bill?

  11    A.   Correct.

  12    Q.   You gave him money for that?

  13    A.   Yes.

  14    Q.   He didn't ask for it?

  15    A.   He would never ask for money.

  16    Q.   But you gave it to him?

  17    A.   Yes.

  18    Q.   Because you knew he needed it?

  19    A.   Yes.

  20    Q.   He was in dire financial straits?

  21    A.   Yes.

  22    Q.   You also knew that his home was being foreclosed upon?

  23    A.   Yes.

  24    Q.   And, in fact, you knew he was trying to refinance that

  25    house?

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   1    A.   I believe so, yes.

   2    Q.   Yet, he never said to you:               "If only I could get to my

   3    Bitcoin, none of this would be happening"?

   4    A.   No.    He never mentioned that.

   5    Q.   And is it fair to say that if he had had millions of

   6    dollars of Bitcoin, he would have used it to avoid foreclosure?

   7    A.   It's hard to say.      I would like to think he would.

   8    Q.   Or to pay his cell phone bill?

   9    A.   Well, I don't know about his cell phone bill, but, you

  10    know, for -- to keep his home, a place of living, you know, but

  11    his cell phone was definitely his lifeline.

  12         So, I mean, I guess you include that also as something that

  13    he would be worried about losing.

  14    Q.   Mr. Freedman mentioned a thumb drive.

  15    A.   Yes.

  16    Q.   Are you aware whether Dave Kleiman had a thumb drive that

  17    he kept with him?

  18    A.   Yes.

  19    Q.   In fact, it was indestructible?

  20    A.   Yes.   He liked to boast about that.

  21    Q.   CORSAIR, silver?

  22    A.   Yes.

  23    Q.   Round?

  24    A.   Yes.

  25    Q.   Screw on the top?

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   1    A.   Yes.

   2    Q.   He never went anywhere without it?

   3    A.   Correct.

   4    Q.   Okay.    I'd like to show you Defendant's 425.

   5                MR. MESTRE:    If you can pull that up on the screen.

   6                I'd like to ask for the admission of this exhibit.

   7                THE COURT:    Is there any objection?

   8                MR. BRENNER:     No objection, Your Honor.

   9                THE COURT:    Without objection, admitted into evidence.

  10         (Defendant's Exhibit 425 received into evidence.)

  11                MR. MESTRE:    May I publish to the jury, Your Honor?

  12                THE COURT:    You may.

  13                MR. MESTRE:    Thank you.

  14                In fact, if you could bring me that poster board.

  15                It's exactly the exhibit.

  16    BY MR. MESTRE:

  17    Q.   Was that the device?

  18    A.   Yes.    The ones on the left.

  19    Q.   He always had it with him?

  20    A.   He would always carry a silver CORSAIR thumb drive.

  21    Q.   You never had any of David Kleiman's Bitcoin, did you?

  22    A.   No.

  23    Q.   Yet, Ira Kleiman sued you about it?

  24    A.   Correct.

  25    Q.   And, in fact, Mr. Freedman showed you the complaint, but

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   1    what Paragraph 45 actually asks for is to enjoin you personally

   2    from using any Bitcoin that was the property of David Kleiman;

   3    isn't that right?

   4    A.   Yes.

   5    Q.   Did you know Mr. Kleiman before he sued you?

   6    A.   I was aware he had a brother.

   7    Q.   Do you recognize him here?

   8    A.   I don't believe he's here.

   9                MR. MESTRE:   Your Honor, may I have a moment to confer

  10    with my co-counsel?

  11                THE COURT:    Certainly.

  12         (Pause in proceedings.)

  13                THE COURT:    Mr. Mestre?

  14                MR. MESTRE:   Just a few more questions.                  Thank you,

  15    Your Honor.

  16    BY MR. MESTRE:

  17    Q.   Did David Kleiman ever ask you to mine Bitcoin?

  18    A.   No.

  19    Q.   So you knew David Kleiman for about 20 years.

  20    A.   Yeah.   I believe it was about 20 years.

  21    Q.   During that time, how many times did you hear of Ira

  22    Kleiman?

  23    A.   I can't really recall of any offhand, other than he had a

  24    brother.

  25    Q.   So Mr. Freedman asked you about this claim.                      Have you read

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   1    the complaint in this case?

   2    A.   No.

   3    Q.   Do you know anything about the facts alleged in the

   4    complaint in this case?

   5    A.   Not really.

   6               MR. MESTRE:    I have no further questions, Your Honor.

   7               THE COURT:    All right.             Any redirect?

   8                              REDIRECT EXAMINATION

   9    BY MR. FREEDMAN:

  10    Q.   Mr. Paige, who is the only person who ever told you there

  11    were Bitcoin on these devices?

  12    A.   What was the question again?

  13    Q.   Who is the only person who ever told you that there were

  14    Bitcoin on these devices?

  15               MS. MCGOVERN:      Objection.               Foundation.    Lack of

  16    foundation.

  17               THE COURT:    Overruled.

  18               THE WITNESS:     Craig Wright.

  19               MR. FREEDMAN:      No further questions, Your Honor.

  20               THE COURT:    All right.

  21               Ladies and Gentlemen, if you'll just raise your hand

  22    if you do have a question, so this way we can give you the time

  23    to write your question down.

  24               Is there anyone that has a question for the witness,

  25    Mr. Paige?

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   1               If you'll just raise your hand, so the Court knows

   2    that you'd like to write down your question.

   3               THE COURT:    All right.             Seeing no hands raised.

   4               All right.    Thank you, Mr. Paige.

   5               Is Mr. Paige excused?

   6               MR. FREEDMAN:      Yes, Your Honor.

   7               MR. RIVERO:    Yes, Your Honor.

   8               THE COURT:    Thank you, sir.                  You are excused.

   9         (Witness excused.)

  10               THE WITNESS:     Thank you.

  11               THE COURT:    And the Plaintiffs' next witness, please.

  12               MR. FREEDMAN:      Your Honor, Plaintiffs will call

  13    Mr. Gavin Andresen via deposition from February 26th, 2020, I

  14    believe.

  15         (Video played 4:00 p.m. - 4:55 p.m.)

  16               MR. FREEDMAN:      I think it's really over this time,

  17    Your Honor.

  18               We don't have another witness queued up for this

  19    minute.    So if the Court would like us to, we can try.

  20               THE COURT:    We have five minutes.

  21               Would this be a good time to adjourn for the evening?

  22               MR. FREEDMAN:      I think so, Your Honor.

  23               THE COURT:    All right, then.

  24               Mr. Rivero, are you in agreement?

  25               MR. RIVERO:    Yes, Your Honor.

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   1               THE COURT:    All right, then.

   2               Ladies and Gentlemen, we will adjourn for the evening.

   3               Please remember you are not to discuss this case with

   4    anyone.    You're not to permit anyone to discuss the case with

   5    you.   Everything you learn about the case is within this

   6    courtroom.

   7               I would ask that if you did take notes if you'll place

   8    your juror notebook in the jury room.                       It will be secure.

   9               Tomorrow morning, the door will be open for you.                      Let

  10    me ask that you be here at 9:45 a.m. so that we're ready to

  11    come right into the courtroom at 10:00 tomorrow morning.

  12               All right.    Have a pleasant evening and I'll see you

  13    tomorrow morning.

  14         (Jury not present, 4:56 p.m.)

  15               THE COURT:    All right.             Go ahead and have a seat for

  16    just a moment.

  17               Referencing the motion this morning that was filed,

  18    the sealed Exhibits A and B have also been filed.                      I would like

  19    the attorneys to review it and perhaps tomorrow morning we can

  20    address that.     What I'd like to do is schedule that at 9:45.

  21               Would that be acceptable?

  22               MR. FREEDMAN:      That's fine for Plaintiffs, Your Honor.

  23               MR. RIVERO:    Yes, Your Honor.

  24               THE COURT:    All right.             Is there anything that we need

  25    to address at this time?

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   1               MR. BRENNER:     Judge, just a few housekeeping matters.

   2               One:   Is there any way the courtroom could be a little

   3    cooler?    It gets really hot here.

   4               THE COURT:    Yes.       I apologize.                I actually did send a

   5    message to the courtroom deputy that -- unfortunately, they

   6    must have turned off the air-conditioning at 4:30, and I did

   7    request that we keep the air-conditioning on.                         I think that GSA

   8    now knows that we're here and that it needs to be on throughout

   9    the day.

  10               So I do apologize.           I know that it was hot.

  11               MR. BRENNER:     Just wanted to make you aware --

  12               THE COURT:    I was aware.

  13               MR. BRENNER:     The second thing is I'm pretty sure I

  14    ended up in an elevator today with one of the jurors.                        And I

  15    just -- can you give them an instruction that says if we see

  16    them in the hallway and we're not friendly and don't talk to

  17    them, that it's -- we're not being rude; it's just we're

  18    following the Court's rules?

  19               THE COURT:    I have not.              But I will tomorrow morning.

  20               MR. BRENNER:     I just -- I stepped around and I stepped

  21    in the elevator, and I'm, like, whoa.

  22               So obviously, I didn't mean to do that, but if you

  23    could give that instruction, that would be great.

  24               The third thing I was just thinking about, I thought

  25    one of the jurors said they had to leave early tomorrow, and I

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   1    thought Your Honor said you were going to follow up.                            I'm just

   2    trying to make sure we fill the Court's time.

   3               THE COURT:    I think Liz was --

   4               COURTROOM DEPUTY:          She hasn't -- I'm sorry.                  She

   5    hasn't mentioned anything to me.                  I did tell her to call me and

   6    to let me know if she does.             She was going to make arrangements

   7    for her child to be picked up.                I told her again to tell me if

   8    she needed to be let out early tomorrow.                          She didn't mention

   9    anything to me, again.

  10               I can confirm with her one last time now before she

  11    leaves.    I know she's still back there, but she has not

  12    mentioned to me again as of this morning.                             That's actually

  13    Ms. Coffie.

  14               THE COURT:    All right.

  15               Mr. Rivero?

  16               MR. RIVERO:    Judge -- and we haven't run into a juror

  17    yet, but I think it's a very good idea.                         And I know the Court's

  18    going to do it.

  19               Judge, one other matter that -- I'll take it up with

  20    Mr. Brenner right now -- is I have a concern from where I'm

  21    sitting that the juror on the closest seat -- and I've sat in

  22    that seat prior to trial -- was looking over Mr. Freedman

  23    towards the screens.      Ms. Coffie.

  24               The way the courtroom is set up, Judge, that juror is

  25    very, very close to this end of the table.                            And so I'm going to

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   1    discuss it with Mr. Brenner and see if we can reach an

   2    agreement.    Perhaps their tech person could just sit around the

   3    corner.    Because I'm concerned the juror may be able to see

   4    what's on the screen --

   5               THE COURT:    Mr. Rivero, I invite you to sit in that

   6    chair.    And I would guarantee that in sitting in that chair, I

   7    do not believe that there is any ability to view what's on

   8    counsel table.

   9               You're speaking of the --

  10               MR. RIVERO:    Judge, I have.

  11               THE COURT:    This seat right here, the blue seat?

  12               MR. RIVERO:    The last one.

  13               THE COURT:    Oh, the one up top?

  14               MR. RIVERO:    The one up top in the back.                   Judge, I've

  15    done it.    You can see very clearly, actually, Judge.

  16               THE COURT:    That's a different story.                    And you're

  17    referring to the screen at the end?

  18               MR. RIVERO:    No.       No.       What I'm saying -- if I may,

  19    Judge.    And --

  20               THE COURT:    Yes.       But are you referring to the screen

  21    on counsel table?

  22               MR. RIVERO:    Yes.

  23               MR. BRENNER:     Just the one by Ms. Vela there?

  24               MR. RIVERO:    Which has been turned sideways.                   But it's

  25    been playing, which is fine.              I don't have any --

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   1               THE COURT:    Isn't that exactly the documents and the

   2    items that we are each seeing on our screens?

   3               MR. RIVERO:    No, Judge.              Because before things are

   4    shown to the jury, they're shown on the screens.                      And

   5    sometimes --

   6               THE COURT:    Ah.      All right.

   7               MR. RIVERO:    I'll take it up with Mr. Brenner.                 But

   8    I --

   9               THE COURT:    Not a problem.                 And I certainly respect

  10    that if, in fact, that screen -- although I'm seeing it's

  11    turned around.     But maybe we could turn it around a little bit

  12    more, just so there's not an issue with regard to that juror.

  13               MR. BRENNER:     Sure.         Yeah.         No problem.

  14               THE COURT:    Thank you.

  15               MR. RIVERO:    Thank you, Your Honor.

  16               THE COURT:    Any other items?

  17               All right.    If I may bring up one item that occurred

  18    with regard to Mr. Paige.           And that is that there are many

  19    skilled and talented attorneys that are here in the courtroom,

  20    and I encourage each of you to actively participate in this

  21    trial.

  22               However, I would require that the individual that is

  23    going to be either directing or crossing the individual, that

  24    that is the individual that is responsible for making

  25    objections.

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   1               I noted with regard to Mr. Paige that it was

   2    Ms. McGovern that was making all of the objections and then

   3    Mr. Mestre came up for the cross-examination.

   4               So I would request moving forward that one attorney be

   5    responsible.     And perhaps you can just let the Court know when

   6    the witness comes forward as to who's going to be directing or

   7    crossing that witness, so I can look to that person for any

   8    objections or perhaps the response to any objections that are

   9    made.    All right?

  10               MR. RIVERO:    We shall, Your Honor.

  11               THE COURT:    Okay.

  12               All right.    Is there anything further?

  13               THE COURT:    If not, have a pleasant evening.               Take

  14    your time to move your items and I'll see everyone here at

  15    9:45.

  16               And I understand that you have provided counsel with

  17    the lineup of tomorrow, but I want to be prepared.                    Are there

  18    any issues with regard to any of the witnesses tomorrow?

  19               MR. BRENNER:     Judge, tomorrow the only live witness

  20    will be Ira Kleiman.      And I'm not aware of any issues that need

  21    to be raised before --

  22               THE COURT:    All right.             And let me state that in a

  23    civil case, the party is not required to be present, unless

  24    that individual is expected to testify or in other respects

  25    participate.

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   1               I noted that Mr. Kleiman was not here today.                     Is he

   2    going to be joining us for the duration of the trial?

   3               MR. BRENNER:     Your Honor, if I could address that --

   4    and I spoke briefly with Mr. Rivero about this.                       He has a --

   5    I'm not sure how to explain it -- he has a medical condition

   6    that makes it hard for him to sit anywhere, including a

   7    courtroom, for long periods of time.

   8               And -- I'm not saying there's anything wrong with

   9    it -- the Defense has made a point of pointing out that he's

  10    not here, and it's obviously unusual.                       As Your Honor is saying,

  11    it's not required, but it is unusual.

  12               And I've asked him -- I've tried to see if we could

  13    share a little bit more about that, so it would make sense and

  14    maybe even make sense to the jurors.

  15               Is that something he can testify to, as to -- because

  16    it's also going to effect how long he's going to sit on the

  17    stand.    He may need to take more frequent breaks.

  18               THE COURT:    That's fine.               With regard to eliciting the

  19    reason why he's not here, I'll certainly permit it since, you

  20    know, there was a reference to him not being present today.

  21    But it's certainly not for the Court to advise the jury.

  22               MR. BRENNER:     No.       No.       I'll do it during his

  23    examination.     I'm not trying to -- I just wanted to clear it up

  24    because I didn't want to do anything improper.                        But I'll do it

  25    in a way that I hope is tasteful and respectful and we'll get

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   1    through it.

   2               THE COURT:    Okay, then.

   3               All right.    With regard to the witnesses tomorrow, it

   4    would be Ira Kleiman and then the rest would be by video

   5    deposition?

   6               MR. BRENNER:     There is one read.                        There's one depo

   7    that wasn't videotaped.         So we're just trying to work with the

   8    time, fit those in where we can.                  But the only live witness

   9    will be Mr. Kleiman.

  10               THE COURT:    Okay.        And any issues with any of the

  11    witnesses that will be testifying tomorrow?

  12               MR. RIVERO:    Judge, from what I understand -- and

  13    Mr. Brenner and I talked briefly -- I understand there will be

  14    some video before Mr. Kleiman.

  15               MR. BRENNER:     I'm not sure of the order.                       Probably we

  16    will start with that.       I think we are almost all caught up with

  17    each other on -- we just took your designations -- took your

  18    rulings and made sure that we made clipboards and sent it to

  19    them and made sure that -- I think we're all caught up.                            So I

  20    don't think there's any issues.

  21               THE COURT:    Okay.        And I just want to make sure moving

  22    forward -- because I can use the evening to prepare for any

  23    issue that we would be addressing -- I want to take the time

  24    necessary, so that we don't take the time once the jury is here

  25    to resolve any issues that you anticipate.

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   1               MR. BRENNER:     Right.

   2               MR. RIVERO:    Mr. Brenner and I haven't had any

   3    problems, and we'll talk about it, but I did understand there

   4    would be some other reading or video before Mr. Kleiman in the

   5    morning.

   6               MR. BRENNER:     My best guess is we will start with a

   7    25-minute video, which is Jamie Wilson, is my best guess,

   8    without having conferred with my colleagues to make it

   9    definite.    And part of it was going to be dictated, frankly,

  10    Your Honor, by what time we were finishing tomorrow because I'm

  11    trying to have Mr. Kleiman --

  12               THE COURT:    I think we may have some more information.

  13               COURTROOM DEPUTY:          I just spoke to the juror.                She

  14    said she made arrangements for her children to be picked up, so

  15    she's free.

  16               MR. BRENNER:     Great.

  17               THE COURT:    Then we'll conclude by 5:00 p.m.

  18               MR. BRENNER:     We'll figure it out now I know the full

  19    time schedule.     So we're going till 5:00.

  20               THE COURT:    Okay.        All right.              Have a pleasant

  21    evening.

  22               MR. FREEDMAN:      Your Honor, one more --

  23               THE COURT:    Yes.       Mr. Freedman?

  24               MR. FREEDMAN:      -- which is in opening statements --

  25    and maybe I misunderstood, but it appeared to me that

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   1    Defendants implied that after Ira Kleiman testifies in our

   2    case-in-chief, they intend to call him back for their case.

   3    And we would object to that.              We think that Ira should come

   4    once.

   5               We also understand from the motion that Your Honor

   6    denied as moot because we hadn't made the request that they

   7    also intend to call Craig Wright twice.                         And, you know, we're

   8    just -- there's a limited amount of time.                             We want to get

   9    through and we think that Mr. Kleiman should be called, asked,

  10    crossed, and then he should be done.

  11               THE COURT:    Mr. Rivero -- Ms. McGovern?

  12               MS. MCGOVERN:      Your Honor, we don't have any intention

  13    of calling Ira Kleiman in our case.                     I think that's just a

  14    misunderstanding.

  15               The only issue that came up was our -- we were going

  16    to be calling Dr. Wright in our case.

  17               So, no, we understand and agree.

  18               MR. FREEDMAN:      Thank you.

  19               THE COURT:    All right.             Not an issue.             Have a nice

  20    evening.

  21         (Proceedings adjourned at 5:06 p.m.)

  22

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  24

  25

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   1    UNITED STATES OF AMERICA                  )

   2    ss:

   3    SOUTHERN DISTRICT OF FLORIDA              )

   4                             C E R T I F I C A T E

   5                I, Yvette Hernandez, Certified Shorthand Reporter in

   6    and for the United States District Court for the Southern

   7    District of Florida, do hereby certify that I was present at

   8    and reported in machine shorthand the proceedings had the 2nd

   9    day of November, 2021, in the above-mentioned court; and that

  10    the foregoing transcript is a true, correct, and complete

  11    transcript of my stenographic notes.

  12                I further certify that this transcript contains pages

  13    1 - 197.

  14                IN WITNESS WHEREOF, I have hereunto set my hand at

  15    Miami, Florida this 11th day of November, 2021.

  16

  17                            /s/Yvette Hernandez
                                Yvette Hernandez, CSR, RPR, CLR, CRR, RMR
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   160/14 165/12      44/4 74/21 75/16                   1st [1] 110/14
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  1.1 million [1]    122 [3] 2/9 2/16                    2,361,600 [4]
   113/2              155/12                              80/23 81/21 82/7
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   13/4 13/5 15/8     155/22 155/24                      2.4 million [1]
   15/19 17/8 17/19  13 [3] 42/8 42/9                     83/11
   17/19 17/24 18/11  77/23                              20 [9] 18/10 63/19
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   26/12 55/22 78/21 143 [2] 2/15 2/15                    184/19 184/20
   79/11 80/11 80/21 14th [3] 29/16                      20 million [1]
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